                          Case 2:22-cv-06515-MWF-AGR                Document 187-2     Filed 06/10/25   Page 1 of 186 Page
                                                                         ID #:5942


                                      1   NEWELL LAW GROUP PC
                                      2   FELTON T. NEWELL (State Bar #201078)
                                          felton@newellpc.com
                                      3   CHRISTINE SAID (State Bar #344348)
                                      4   christine@newellpc.com
                                          1801 Century Park East, 24th Floor
                                      5
                                          Los Angeles, CA 90067
                                      6   Telephone: (310) 556-9663
                                      7
                                          Attorneys for Plaintiffs and Counterclaim
                                      8   Defendants
                                      9   HIDDEN EMPIRE HOLDINGS, LLC,
                                          HYPER ENGINE, LLC, AND DEON
                                     10   TAYLOR;
                                     11   And Third-Party Defendant
                                          ROXANNE TAYLOR
                                     12
1801 Century Park East, 24th Floor




                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067
         (310) 556-9663




                                     14
                                                             UNITED STATES DISTRICT COURT
                                     15
                                                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                     16
                                     17   HIDDEN EMPIRE HOLDINGS,               Case No. 2:22-cv-06515-MWF-AGR
                                     18   LLC; a Delaware limited liability
                                          company; HYPER ENGINE, LLC; a
                                     19   California limited liability company; The Hon. Michael W. Fitzgerald
                                          DEON TAYLOR, an individual,
                                     20                                         DECLARATION OF ROXANNE
                                                        Plaintiffs,
                                     21   vs.                                   TAYLOR IN SUPPORT OF
                                                                                PLAINTIFFS’ MOTION FOR
                                     22                                         SUMMARY JUDGMENT
                                          DARRICK ANGELONE, an
                                     23   individual; AONE CREATIVE LLC,
                                          formerly known as AONEE
                                     24   ENTERTAINMENT LLC, a Florida
                                          limited liability company; and ON     HEARING:
                                     25   CHAIN INNOVATIONS LLC, a              DATE:         July 7, 2025
                                          Florida limited liability company,
                                     26                                         TIME:         10:00 a.m.
                                                        Defendants.             LOCATION: Courtroom 5A
                                     27
                                     28   DARRICK ANGELONE, an
                                          individual; AONE CREATIVE LLC,
                                                                                   -1-
                                                   ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                 Document 187-2    Filed 06/10/25   Page 2 of 186 Page
                                                                          ID #:5943


                                      1   formerly known as AONE
                                      2   ENTERTAINMENT LLC, a Florida
                                          limited liability company; ON
                                      3   CHAIN INNOVATIONS LLC, a
                                      4   Florida limited liability company
                                      5
                                                          Counterclaimants,
                                      6
                                      7
                                          HIDDEN EMPIRE HOLDINGS,
                                      8   LLC; a Delaware limited liability
                                      9   company; HYPERENGINE, LLC; a
                                          California limited liability company,
                                     10   DEON TAYLOR, an individual,
                                     11
                                                          Counterclaim
                                     12
                                                          Defendants,
1801 Century Park East, 24th Floor




                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          DARRICK ANGELONE, an
         (310) 556-9663




                                     14
                                          individual; AONE CREATIVE LLC,
                                     15   formerly known as AONE
                                     16   ENTERTAINMENT LLC, a Florida
                                          limited liability company; ON
                                     17
                                          CHAIN INNOVATIONS LLC, a
                                     18   Florida limited liability company,
                                     19
                                                         Third-Party Plaintiffs
                                     20
                                     21           v.
                                     22   ROXANNE TAYLOR, an
                                     23   individual, Third-Party Defendant
                                     24
                                     25
                                     26
                                     27
                                     28

                                                                                   -2-
                                                   ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                  Document 187-2     Filed 06/10/25   Page 3 of 186 Page
                                                                           ID #:5944


                                      1                     DECLARATION OF ROXANNE TAYLOR
                                      2         I, Roxanne Taylor, declare as follows:
                                      3         1.      I am the co-founder, managing member and co-Chief Executive
                                      4   Officer of Hidden Empire Holdings, LLC. (“HEFG”). My husband, Deon Taylor,
                                      5
                                          is the other co-founder, managing member and co-Chief Executive Officer of
                                      6
                                          HEFG. HEFG is a successful independent film company that has produced
                                      7
                                          numerous films that have been distributed nationally and internationally including,
                                      8
                                          but not limited to, “Fatale,” a psychological thriller starring two-time Academy
                                      9
                                          Award winner Hillary Swank and Michael Ealy, “Black and Blue,” an action
                                     10
                                          thriller starring Academy Award nominee Naomie Harris, Tyrese Gibson and
                                     11
                                          Frank Grillo, “Intruder,” a psychological thriller starring Dennis Quaid, Michael
                                     12
1801 Century Park East, 24th Floor




                                          Ealy and Meghan Good, “Traffik,” a thriller starring Omar Epps and Paula Patton,
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          “Meet the Blacks,” a comedy-horror starring Mike Epps, Bresha Webb and Katt
         (310) 556-9663




                                     14
                                     15   Williams, “The House Next Door: Meet the Blacks 2,” a comedy-horror starring

                                     16   Mike Epps, Katt Williams and Lil Duval, and “Supremacy,” a thriller starring Joe

                                     17   Anderson, Danny Glover and Derek Luke. HEFG has also produced the film titled
                                     18   “Fear,” a horror starring Joseph Sikora, Andrew Bachelor and Anne Ilonzeh, which
                                     19   will be released early next year. I served as a producer on all of HEFG’s films.
                                     20   HEFG also produces “Black History in Two Minutes,” a series of brief episodes
                                     21   about the African-American experience narrated by Henry Louis Gates, Jr. and
                                     22   published on YouTube and Facebook.             HEFG also has initiatives called
                                     23   BeWoke.Vote which aims to encourage younger generations to vote and become
                                     24   educated about politics, Together We Will Save Lives, where we partner with the
                                     25   Conference of National Black Churches in philanthropic endeavors, and the “Black
                                     26
                                          Chair Show,” where Deon interviews other celebrities about empowerment
                                     27
                                          behaviors. HEFG also runs the CLIMB Organization, a non-profit that mentors
                                     28
                                          inner-city youth to help them excel and pursue their dreams. HEFG’s website
                                                                                     -3-
                                                     ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                   Document 187-2     Filed 06/10/25   Page 4 of 186 Page
                                                                            ID #:5945


                                      1   address is www.hiddenempirefilmgroup.com.            My duties at HEFG include
                                      2   executive management of all operations of HEFG including, but not limited to, all
                                      3   creative and marketing operations. Prior to filing this action, Hidden Empire Film
                                      4   Group, LLC assigned all of its rights and obligations in connection with the 2012
                                      5
                                          Agreement to HEFG.
                                      6
                                                 2.      My husband Deon is the founder of Hyper Engine, LLC (“Hyper
                                      7
                                          Engine”), a marketing and branding agency that specializes in reaching diverse
                                      8
                                          audiences. While Deon is the founder of HyperEngine, I manage its day-to-day
                                      9
                                          operations. Hyper Engine serves as the marketing agency for HEFG as well as its
                                     10
                                          films and initiatives.     HEFG, Deon and Hyper Engine hold all the rights to
                                     11
                                          prosecute the intellectual property claims discussed in this declaration.
                                     12
1801 Century Park East, 24th Floor




                                                 3.      The facts set forth in this declaration are based on my personal
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          knowledge, except where otherwise noted, and, if called to testify, I could and
         (310) 556-9663




                                     14
                                     15   would competently testify thereto.

                                     16                              Darrick Angelone And AOne

                                     17          4.      In or about 2012, I met Darrick Angelone. He is the founder and owner
                                     18   of AOne Entertainment LLC. All of the services discussed herein performed by
                                     19   AOne were performed by Darrick Angelone on behalf of AOne.                    It is my
                                     20   understanding that at some point after 2012, Mr. Angelone changed the name of
                                     21   AOne Entertainment LLC to AOne Creative LLC. AOne Entertainment LLC and
                                     22   AOne Creative LLC are collectively referred to herein as “AOne.” The AOne
                                     23   website is located at www.aone.la. According to its website, AOne is a digital
                                     24   creative media, marketing and distribution company that assists businesses and
                                     25   brands with their social networks, paid social media and digital marketing
                                     26
                                          strategies.
                                     27
                                                 5.      From 2012 through 2022, AOne has provided a variety of services to
                                     28
                                          HEFG and its films and initiatives, to Hyper Engine and to representatives of HEFG
                                                                                      -4-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                  Document 187-2     Filed 06/10/25   Page 5 of 186 Page
                                                                           ID #:5946


                                      1   and Deon. The types of services it provided have included the following: hosting
                                      2   the domains of HEFG and its related entities and Hyper Engine and making sure
                                      3   the domain registrations are current; design, development and maintenance of the
                                      4   HEFG and Hyper Engine websites; maintaining and renewing the registrations for
                                      5
                                          the HEFG Google workspace accounts used for HEFG emails, contacts, calendars,
                                      6
                                          etc.; maintaining the servers that host the HEFG websites; creating social profiles
                                      7
                                          for, posting content on and managing the social media accounts (Instagram,
                                      8
                                          Facebook, Twitter, Linkedin) of HEFG, the HEFG initiatives and the personal
                                      9
                                          accounts of certain HEFG personnel; publishing Hyper Engine content on
                                     10
                                          YouTube, Instagram and Facebook; copywriting; and managing paid digital media
                                     11
                                          campaigns.
                                     12
1801 Century Park East, 24th Floor




                                                6.      AOne has always served as an independent contractor for HEFG and
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          Hyper Engine. Mr. Angelone has never been an employee, member, investor or
         (310) 556-9663




                                     14
                                     15   owner of HEFG, its affiliated entities, or Hyper Engine.

                                     16                The HEFG Domain And The HEFG GoDaddy Account

                                     17         7.      In or about June 11, 2011 I, on behalf of HEFG, secured the domain
                                     18   hiddenempirefilmgroup.com (the “HEFG Domain”) through GoDaddy, a domain
                                     19   registrar and web hosting company. To secure that domain, I created HEFG’s log
                                     20   in credentials for a GoDaddy account (the “HEFG GoDaddy Account”). The HEFG
                                     21   Domain was hosted on the HEFG GoDaddy Account.
                                     22         8.      Since securing the HEFG Domain, HEFG has been the owner of it,
                                     23   and it has never agreed to sell, transfer or assign said domain to any other person
                                     24   or non-HEFG entity. Neither Mr. Angelone nor AOne have ever obtained an
                                     25   ownership interest in the HEFG Domain or the HEFG GoDaddy Account.
                                     26
                                                                     2012 Agreement With AOne
                                     27
                                                9.      HEFG’s predecessor, Hidden Empire Film Group, LLC, and AOne
                                     28
                                          entered into a written agreement dated as of April 26, 2012 (“2012 Agreement”).
                                                                                     -5-
                                                     ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                    Document 187-2    Filed 06/10/25    Page 6 of 186 Page
                                                                             ID #:5947


                                      1   Prior to the filing of this action, Hidden Empire Film Group, LLC, assigned all of
                                      2   its rights and obligations in the 2012 Agreement to HEFG. Both HEFG and Mr.
                                      3   Angelone, on behalf of AOne, executed the 2012 Agreement. A true and correct
                                      4   copy of said contract is attached hereto as Exhibit 1. The 2012 Agreement has not
                                      5
                                          been amended, modified or terminated. The key terms of the 2012 Agreement
                                      6
                                          relevant to this dispute are:
                                      7
                                                a.      AOne agreed to design and develop HEFG’s website using the
                                      8
                                          HEFG Domain which website would be found at
                                      9
                                          www.hiddenempirefilmgroup.com (the “HEFG Website”).
                                     10
                                                b.      AOne agreed that all of the Intellectual Property Rights (as that term
                                     11
                                          is defined in the contract) that may be conceived, developed, expressed or stated
                                     12
1801 Century Park East, 24th Floor




                                          by AOne, either alone or with others, shall be the sole property of HEFG; and
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          further AOne acknowledged that HEFG’s intellectual property remains the
         (310) 556-9663




                                     14
                                     15   exclusive property of HEFG.

                                     16         c.      AOne agreed that at no time shall it own or register for its own

                                     17   benefit or otherwise acquire any rights in the HEFG Domain, or any simulations
                                     18   or related domains thereto.
                                     19         d.      AOne agreed that to the extent AOne is provided access thereto or is
                                     20   designated as administrative or technical contact, it shall be for the benefit of
                                     21   HEFG and not for the benefit of AOne and any such designations shall be
                                     22   immediately returned or changed to such individuals or entities as are designated
                                     23   by HEFG upon HEFG making such demand.
                                     24         e.      AOne agreed that modifications of the terms of this contract must be
                                     25   written and authorized by both parties.
                                     26
                                                f.      AOne agreed that either party may terminate this Agreement by
                                     27
                                          giving 30 days written notice to the other of such termination.
                                     28

                                                                                     -6-
                                                     ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                  Document 187-2      Filed 06/10/25   Page 7 of 186 Page
                                                                           ID #:5948


                                      1         g.      AOne agreed that it and HEFG are independent parties and nothing
                                      2   in the contract shall constitute either party as the employer, principal or partner of
                                      3   or joint venture with the other party.
                                      4         All of the services provided by AOne outside of the scope of the 2012
                                      5
                                          Agreement over the years were agreed upon by the parties in each instance. The
                                      6
                                          amount or fee for those additional services was based on a rate card provided by
                                      7
                                          AOne. Any time services were provided by AOne, it would send an invoice to me
                                      8
                                          and/or other HEFG personnel. Each invoice typically set forth in detail the work
                                      9
                                          performed and the amount of the fee owed. HEFG has paid in full all of the
                                     10
                                          invoices it has received from AOne. It is my understanding that there are no
                                     11
                                          services AOne performed for HEFG, Deon or HyperEngine for which it has not
                                     12
1801 Century Park East, 24th Floor




                                          received payment in full from HEFG.
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                               Mr. Angelone Obtains Control of the HEFG Domain and the HEFG
         (310) 556-9663




                                     14
                                                               GoDaddy/Namecheap Account
                                     15         10. In connection with the 2012 Agreement, on December 3, 2012, Mr.
                                     16   Angelone sent an email to me and others on the HEFG team in which he stated:
                                     17         I need to access the hosting account for Hiddenempire domain so I can
                                     18         work on the website design I have for it. Everything you have set up
                                     19
                                                currently would stay as is, but I need to add an A record pointing to
                                     20
                                                my servers for the development.
                                     21
                                          Acknowledging that HEFG owns and controls that domain, Mr. Angelone further
                                     22
                                          stated to us by email:
                                     23
                                                “even if you can just change the password to something temporary
                                     24
                                                and then you can change back (sic) once I am done.”
                                     25
                                          In response, on December 3, 2012, a member of the HEFG team, Velma Sykes,
                                     26
                                          sent an email to Mr. Angelone with the login credentials he needed to access the
                                     27
                                          HEFG GoDaddy Account. A true and correct copy the foregoing email exchange
                                     28
                                          on December 3, 2012 is attached hereto as Exhibit 2.
                                                                                     -7-
                                                     ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                   Document 187-2     Filed 06/10/25   Page 8 of 186 Page
                                                                            ID #:5949


                                      1         11.      Since 2012, AOne has been in possession of the log in credentials to
                                      2   access and control the HEFG GoDaddy Account. At Mr. Angelone’s urging we
                                      3   later transferred our www.hiddenempirefilmgroup.com domain from GoDaddy to
                                      4   a company called Namecheap. Namecheap is another domain name registrar
                                      5
                                          providing domain name registration and web hosting. Unbeknownst to HEFG and
                                      6
                                          without     our   authorization,   Mr.   Angelone    and    AOne    registered   our
                                      7
                                          www.hiddenempirefilmgroup.com domain in AOne’s name and has refused to
                                      8
                                          provide the current credentials for the HEFG NamecheapAccount to me or anyone
                                      9
                                          else at HEFG. I, and other representatives of HEFG, have asked Mr. Angelone to
                                     10
                                          provide the current log in credentials for the HEFG Namecheap Account numerous
                                     11
                                          times, but he has refused to do so.           Since Mr. Angelone registered our
                                     12
1801 Century Park East, 24th Floor




                                          www.hiddenempirefilmgroup.com domain in AOne’s own name on Namecheap,
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          we are also unable to recover our credentials from Namecheap.
         (310) 556-9663




                                     14
                                     15      At the Direction of HEFG, Mr. Angelone Created The HEFG Website

                                     16                                      Owned By HEFG

                                     17         12.      After receiving the log in credentials to the HEFG GoDaddy Account,
                                     18   Mr. Angelone obtained access to the HEFG Domain which allowed him to design
                                     19   and develop the HEFG Website. He, through his company AOne, created the
                                     20   HEFG Website in or about 2012. Since creating the HEFG Website, Angelone has
                                     21   made further made changes and updates to the HEFG Website and AOne has been
                                     22   the only company managing said website.
                                     23         13.      HEFG’s ownership of the HEFG domain and the HEFG website has
                                     24   never been questioned by anyone, including by Mr. Angelone. For example, in an
                                     25   email exchange between me and Mr. Angelone on December 10-11, 2014, we were
                                     26
                                          communicating about my efforts to try to get access to the HEFG Website files so
                                     27
                                          I could make changes to the website myself. In an email dated December 10, 2014,
                                     28
                                          Mr. Angelone stated:
                                                                                      -8-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          Case 2:22-cv-06515-MWF-AGR                   Document 187-2     Filed 06/10/25   Page 9 of 186 Page
                                                                            ID #:5950


                                      1         “Either way the [website] files should still be on your godaddy accct
                                      2         (sic), but someone forwarded the DNS or domain from somewhere on
                                      3         yourside (sic).”
                                      4   [Emphasis added.] In a separate email dated December 10, 2014, Mr. Angelone
                                      5
                                          further stated: “The files should be on HEFG.com and hosted on that associated
                                      6
                                          godaddy acct.” A true and correct copy of said email exchange is attached hereto
                                      7
                                          as Exhibit 3.
                                      8
                                           Mr. Angelone Obtained Control Of The HEFG Google Account And Email
                                      9
                                                                                 System
                                     10
                                                14.      Several years ago, AOne set up HEFG’s corporate email system using
                                     11
                                          the HEFG Domain. Mr. Angelone set up the HEFG email system using Google
                                     12
1801 Century Park East, 24th Floor




                                          Workspace (formerly GSuite) by setting up an HEFG account (the “HEFG Google
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          Account”) on our behalf. As part of AOne setting up the HEFG Google Account,
         (310) 556-9663




                                     14
                                     15   Mr. Angelone obtained the credentials to our HEFG Google Account so he could

                                     16   complete the deployment of the HEFG Google Account on HEFG’s behalf.

                                     17   Thereafter, Mr. Angelone provided me with the HEFG Google Account
                                     18   administrator credentials.
                                     19         15.      After setting up the HEFG Google Account, individual email accounts
                                     20   for HEFG personnel were created. For example, my HEFG email is
                                     21   roxanne@hiddenempirefilmgroup.com                  and           Deon’s          is
                                     22   deon@hiddenempirefilmgroup.com. Similar emails using the HEFG Domain were
                                     23   created for other HEFG personnel and our support team. All of the HEFG emails
                                     24   are tied to the HEFG Domain and the HEFG Google Account.
                                     25         16.      After each individual HEFG email was created, each such email has
                                     26
                                          been regularly used by HEFG personnel to conduct HEFG business. Said email
                                     27
                                          accounts have served as the primary method of communicating amongst HEFG
                                     28
                                          personnel and with non-HEFG individuals and companies about HEFG business.
                                                                                      -9-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 10 of 186
                                                                           Page ID #:5951


                                      1   Most of the communications HEFG personnel engage in regarding HEFG business
                                      2   are conducted through use of an HEFG email account.           We also circulate our
                                      3   banking and financial information through our HEFG email accounts and store
                                      4   such records in our Google Account. Accordingly, HEFG’s business would be
                                      5
                                          greatly frustrated and damaged if HEFG personnel were unable to utilize the HEFG
                                      6
                                          email system.
                                      7
                                                17.      As stated above, at the time Mr. Angelone deployed our HEFG
                                      8
                                          Google account, he obtained the log in credentials in connection with the tech-
                                      9
                                          related services AOne was providing to HEFG. At some point unknown to me,
                                     10
                                          Mr. Angelone changed the log in credentials he provided me after setting up our
                                     11
                                          HEFG Google Account. AOne has not provided the current credentials for the
                                     12
1801 Century Park East, 24th Floor




                                          HEFG Google Account to me or anyone else at HEFG. I, and other representatives
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          of HEFG, have asked Mr. Angelone to provide the current credentials of the HEFG
         (310) 556-9663




                                     14
                                     15   Google Account numerous times, but he has refused to do so. We are also unable

                                     16   to obtain our credentials from Google because Angelone has changed the

                                     17   registration on our account from HEFG to AOne.
                                     18    Mr. Angelone Has “Locked Out” HEFG And Its Personnel From Being Able To
                                     19                                    Use The HEFG Email
                                     20         18.      On or about August 7, 2022, I discovered that Mr. Angelone “locked
                                     21   out” me and all of the other HEFG personnel from being able to access, send, or
                                     22   receive our respective HEFG emails or otherwise use our Google Account. We
                                     23   have been unable to read or write new emails, open any documents attached to
                                     24   those emails, or access any of our contracts or other information stored in our
                                     25   workspace. This has severely frustrated and damaged HEFG’s ability to conduct
                                     26
                                          its business. For example, we are in the middle of negotiating contract terms for
                                     27
                                          our upcoming “Freedom Ride” project with Participant Studios and I have received
                                     28
                                          inquries asking why we have not responded to emails from Participant Studios
                                                                                     -10-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 11 of 186
                                                                           Page ID #:5952


                                      1   surrounding the negotiations. I have also received inquiries from representatives
                                      2   of MGM asking why we have not responded to emails from the writer of our
                                      3   “Blacula” project and inquiries from representatives of BET asking why we have
                                      4   not responded to emails surrounding a contract proposal for a potential new project
                                      5
                                          with BET.
                                      6
                                                19.      Immediately upon learning that Mr. Angelone “locked out” me and
                                      7
                                          the other HEFG personnel from our emails, representatives of HEFG, including
                                      8
                                          Deon, contacted Mr. Angelone and demanded that he not only “unlock” the emails
                                      9
                                          so that HEFG personnel could access them, but also that he turn over to HEFG the
                                     10
                                          pertinent log in credentials for the HEFG Google Account that would allow for
                                     11
                                          HEFG to take over control of its email system. Despite repeated demands by
                                     12
1801 Century Park East, 24th Floor




                                          HEFG, Mr. Angelone has refused to provide any of the log in credentials to HEFG
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          or restore our email access.
         (310) 556-9663




                                     14
                                     15     Mr. Angelone Starts To Manage All Of The Domains Owned By HEFG,

                                     16                           Hyper Engine And HEFG Personnel

                                     17         20.      On December 10, 2014, Mr. Angelone sent an email to me in which
                                     18   he suggested that HEFG should allow AOne to manage all of the HEFG Domains
                                     19   and other domains. Specifically, Mr. Angelone stated:
                                     20         Going forward, you guys should have me manage all your domains
                                     21         etc.. I have my own servers and manage hundreds of domain
                                     22         registrations. $100 per host (you would only need one or two) per
                                     23         year and $15 for registrations. Fortunately Dumrobot is registered
                                     24         with me and hosted on our servers, so it can not be lost/hijacked.
                                     25   (Emphasis added.) A true and correct copy of said email is attached hereto as
                                     26
                                          Exhibit 3.
                                     27
                                                21.      In response to Mr. Angelone’s request, HEFG agreed to allow AOne
                                     28
                                          to manage all of the domains owned by HEFG, Hyper Engine and the other
                                                                                     -11-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 12 of 186
                                                                           Page ID #:5953


                                      1   domains of HEFG personnel.
                                      2         22.      Since 2014, AOne has been responsible for securing and/or managing
                                      3   on HEFG’s behalf various domains related to or using a variation of the HEFG
                                      4   name including the following domains:
                                      5
                                                a.       hiddenempirefilmgroup.com
                                      6
                                                b.       hiddenempirefilms.com
                                      7
                                                c.       hiddenempiremediagroup.com
                                      8
                                                d.       hiddenempiremedia.com
                                      9
                                                e.       hiddenempirereleasing.com
                                     10
                                                f.       hiddenempireproductions.com
                                     11
                                                g.       hiddenempire.productions
                                     12
1801 Century Park East, 24th Floor




                                                h.       hiddenempire.media
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                                i.       hiddenempiremedia.group
         (310) 556-9663




                                     14
                                     15         j.       hiddenempire.studio

                                     16         k.       hiddenempire.org

                                     17         l.       hiddenempireentertainment.com
                                     18         n.       hiddenempirestudios.com
                                     19         o.       hefg.com
                                     20         p.       hiddenempire.productions
                                     21         q.       foreveryoungfabrics.com
                                     22   AOne has been responsible for managing numerous domains related to HEFG
                                     23   films. Those HEFG films and the corresponding domains are as follows:
                                     24         a.       “Fatale” – fatale.movie
                                     25         b.       “Intruder” - theintruder.movie
                                     26
                                                c.       “Traffik” – traffik.movie and traffikmovie.com
                                     27
                                                d.       “Meet the Blacks” – meettheblacksmovie.com and
                                     28
                                                meettheblacksthemovie.com
                                                                                     -12-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2     Filed 06/10/25   Page 13 of 186
                                                                           Page ID #:5954


                                      1         e.       “The House Next Door: Meet the Blacks 2” –
                                      2         thehousenextdoor.movie
                                      3         f.       “Supremacy” – supremacyfilm.com and supremacymovie.com
                                      4         g.       “Fear” - fear.movie and fearthemovie.com
                                      5
                                                h.       “Free Agents” - freeagantsmovie.com and freeagents.movie
                                      6
                                                i.       “Hoop 2” - hoop2film.com and hooptofilm.com
                                      7
                                      8
                                          AOne has been responsible for securing and/or managing the domains based on the
                                      9
                                          names of HEFG personnel including the following domains:
                                     10
                                                a.       Deon Taylor (co-founder) – deontaylor.com and
                                     11
                                                deontaylorfilms.com
                                     12
1801 Century Park East, 24th Floor




                                                b.       Roxanne Avent Taylor (co-founder) – Aventviii.com
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                                         AOne has been responsible for securing and/or managing the
         (310) 556-9663




                                     14
                                     15   domains related to HEFG initiatives including the following domains:

                                     16         a.       Climb – climborganization.org, climb.org and climb.network

                                     17         b.       factsnotpolitics.com/factsnotpolitics.org
                                     18         c.       blackhistoryintwominutes.com
                                     19         d.       bewoke.vote
                                     20         e.       2getherwesavelives.com, togetherwewillsavelives.com,
                                     21         togetherwewillsavelives.com, togetherwewillsavelives.org, and
                                     22         2getherwewillsavelives.com
                                     23         f.       blackchairshow.com and theblackchairshow.com.
                                     24 AOne has been responsible for securing and/or managing the domains for Hyper
                                     25         Engine including:
                                     26
                                                a.       hyperenginellc.com
                                     27
                                                b.       hyperengine.ai
                                     28
                                                23.      The foregoing domains were either registered by HEFG itself or
                                                                                     -13-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 14 of 186
                                                                           Page ID #:5955


                                      1   HEFG requested AOne to register them on HEFG’s behalf and in its name. By
                                      2   way of example, I secured the domain for meettheblacksthemovie.com. A true and
                                      3   correct copy of the email dated October 13, 2015 from GoDaddy to me confirming
                                      4   my set up of said domain is attached hereto as Exhibit 4. After I secured that
                                      5
                                          domain, I also created the credentials (log in username and password) for it. After
                                      6
                                          I created the domain and created the credentials, I provided that information to Mr.
                                      7
                                          Angelone. A true and correct of my email to Mr. Angelone dated October 13, 2015
                                      8
                                          is attached hereto as Exhibit 5. In said email, I provided to Mr. Angelone the
                                      9
                                          credentials for that domain so he could access the meettheblackthemovie.com
                                     10
                                          domain. By way of another example, on May 8, 2018 I had an email exchange
                                     11
                                          with Mr. Angelone asking him secure a website domain and associated social
                                     12
1801 Century Park East, 24th Floor




                                          media accounts for our use for our CLIMB Nonprofit initiative and to design the
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          CLIMB website. He secured those assets for HEFG and did the development work
         (310) 556-9663




                                     14
                                     15   at my request. In that same exchange he provided the passwords to me, which

                                     16   passwords he subsequently changed without anyone at HEFG’s authorization. A

                                     17   true and correct of my May 8, 2018 email exchange with Mr. Angelone is attached
                                     18   hereto as Exhibit 6.
                                     19         24.      In a separate email dated July 6, 2018, Mr. Angelone transmitted a
                                     20   spreadsheet with all of the HEFG related domain and social accounts and
                                     21   passwords to me and Deon. In that email he acknowledged that the HEFG domain
                                     22   and other domains in existence at the time (Meet the Blacks, Traffik and
                                     23   Supremacy) belonged to HEFG, not AOne. In that email, Mr. Angelone further
                                     24   acknowledged the harm that could occur to our business if “someone with access
                                     25   changes the passwords, email credentials, with malicious intent,” stating that in that
                                     26
                                          instance “there is almost nothing to be done to recover.” A true and correct copy
                                     27
                                          of said email exchange is attached hereto as Exhibit 7.
                                     28
                                                25.      Neither I, nor anyone else at HEFG, has ever agreed that Mr. Angelone
                                                                                     -14-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 15 of 186
                                                                           Page ID #:5956


                                      1   or AOne could own any of the foregoing domains and there has never been a
                                      2   transfer of ownership to either of those parties. In fact, HEFG has already paid for
                                      3   registering and maintaining (eg, payment of renewal fees) all of those domains.
                                      4   See, e.g., Exhibit 8.
                                      5
                                                26.       As described above, AOne used the company Namecheap to help
                                      6
                                          HEFG secure and maintain our domains. AOne’s process for securing and/or
                                      7
                                          maintaining the domains on HEFG’s behalf included AOne advancing the costs
                                      8
                                          owed to Namescheap for securing and maintaining the domains. After AOne
                                      9
                                          advanced those costs, it sent an invoice to HEFG seeking reimbursement of those
                                     10
                                          costs. A true and correct copy of invoices AOne sent to HEFG related to its securing
                                     11
                                          and maintaining the HEFG domains is attached collectively hereto as Exhibit 8.
                                     12
1801 Century Park East, 24th Floor




                                                27.       In 2018 Mr. Angelone provided marketing services to HEFG and
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          Lionsgate in connection with the release of our “Traffik” film. A dispute arose
         (310) 556-9663




                                     14
                                     15   between Lionsgate and AOne that implicated HEFG and required that all three

                                     16   parties enter into a settlement agreement. On July 19, 2018 I had an email exchange

                                     17   with Mr. Angelone concerning settlement of that matter. A true and correct copy
                                     18   of my July 19, 2018 email exchange with Mr. Angelone is attached hereto as
                                     19   Exhibit 9. During that exchange Mr. Angelone acknowledged that AOne was
                                     20   merely a vendor providing IT services to HEFG, stating as follows: “[m]oving
                                     21   forward, whether HEFG eventually brings other parties on to handle HEFG digital
                                     22   or not, AONE would require a monthly fee of $5,000 for the following services:
                                     23   •     Management and use of webservers for:
                                     24               o Supremacyfilm.com
                                     25               o    Meettheblacksmovie.com
                                     26
                                                      o Traffik.movie
                                     27
                                                      o Traffikmovie.com
                                     28
                                                      o Hiddenempirefilmgroup.com
                                                                                     -15-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR      Document 187-2    Filed 06/10/25    Page 16 of 186
                                                                      Page ID #:5957


                                      1          o News. Hiddenempirefilmgroup.com
                                      2          o Hyperengine.ai
                                      3   •   Media server and hosting of creative assets for HEFG
                                      4
                                          •   Management of HEFG google-suite applications
                                      5
                                          •   Management of the following social accounts (including a minimum of 50
                                      6
                                              posts per month):
                                      7
                                                 o ·      @hiddenempirefilmgroup          (IG)
                                      8
                                                 o ·      @meet_the_blacks                  (IG)
                                      9
                                                 o ·      @Traffikmovie                     (IG)
                                     10
                                                 o ·      @supremacy.movie                  (IG)
                                     11
                                                 o       @the.hustle.movie                  (IG)
                                     12
1801 Century Park East, 24th Floor




                                                 o       @akuma.movie                       (IG)
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                                 o ·      @traffikmovie                     (twitter)
         (310) 556-9663




                                     14
                                     15          o ·      @meettheblacks                    (twitter)

                                     16          o ·      @hiddenempirefg                   (twitter)

                                     17          o ·      @dtfilmtohoop                     (twitter)
                                     18          o ·      @hiddenempirefilmgroup            (FB)
                                     19          o ·      @meet_the_blacks                  (FB)
                                     20          o ·      @Traffikmovie                      (FB)
                                     21          o ·      @supremacy.movie                   (FB)
                                     22          o ·      @the.hustle.movie                  (FB)
                                     23          o ·      @akuma.movie                       (FB)
                                     24          o ·      @Deon Taylor                       (FB)
                                     25          o ·      @Roxanne Avent                     (FB)
                                     26
                                                 o ·      @hiddenempirefilmgroup             (Youtube)
                                     27
                                                 o ·      @meet_the_blacks                   (Youtube)
                                     28
                                                 o ·      @Traffikmovie                            (Youtube)
                                                                                -16-
                                                 ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 17 of 186
                                                                           Page ID #:5958


                                      1               o        @supremacy.movie                     (Youtube)”
                                      2         28.       In an April 22, 2022 email to me from Mr. Angelone discussing the
                                      3   marketing for our “Fear” film he again acknowledged that AOne has always served
                                      4   as a vendor to HEFG. In asking us to commit to engaging AOne for the digital
                                      5
                                          marketing for that film he stated “[w]e are not looking for a financial commitment
                                      6
                                          at this time and indeed HEFG has almost always engaged AONE when the time
                                      7
                                          came and we are very familiar with the processes of HEFG…we are only looking
                                      8
                                          for a commitment to be that vendor when the time comes for this project”
                                      9
                                          (emphasis added.) A true and correct copy of my April 22, 2022 email exchange
                                     10
                                          with Mr. Angelone is attached hereto as Exhibit 10.
                                     11
                                                29.       To my knowledge, AOne has sent invoices for all of the costs for
                                     12
1801 Century Park East, 24th Floor




                                          registering and maintaining (eg, renewal fees) it has advanced on HEFG’s behalf.
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          HEFG has paid in full all of the invoices it has received from AOne.
         (310) 556-9663




                                     14
                                     15        Mr. Angelone Has “Locked Out” HEFG, Hyper Engine And HEFG

                                     16                   Personnel From Being Able To Access The Domains

                                     17         30.       In early August, I discovered that Mr. Angelone “locked out” me and
                                     18   all of the other HEFG personnel from being able to access the foregoing domains.
                                     19   This has severely frustrated and damaged HEFG’s ability to conduct its business.
                                     20         31.       Beginning in or about August 2022, representatives of HEFG,
                                     21   including for example Deon and Quincy Newell, HEFG’s Chief Operating Officer,
                                     22   contacted Mr. Angelone and demanded that he not only “unlock” the domains to
                                     23   allow HEFG personnel to access them, but also that he turn over to HEFG the
                                     24   pertinent log in credentials for the domains that would allow HEFG to take over
                                     25   control of them. Mr. Angelone has refused to provide any of the log in credentials
                                     26
                                          to HEFG.
                                     27
                                            Mr. Angelone Managed All Of The Social Media Accounts Owned By HEFG,
                                     28
                                                                   Hyper Engine And HEFG Personnel
                                                                                     -17-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2     Filed 06/10/25   Page 18 of 186
                                                                           Page ID #:5959


                                      1         32.      In or around December 2014, Mr. Angelone suggested to me that
                                      2   HEFG should set up social media accounts for the HEFG films. On December 14,
                                      3   2014, Mr. Angelone sent an email to me in which he stated:
                                      4         If your distribution deals allow it… You guys should definitely set up
                                      5
                                                Facebook pages, Twitter and Instagram accounts in the name of ALL
                                      6
                                                the films you guys release. OWN them before someone else does (to
                                      7
                                                exploit your potential brand recognition).
                                      8
                                                And if you want to target the younger generation… We come up with
                                      9
                                                a cool marketing plan incorporating Snapchat! BAM < That’s GAME!
                                     10
                                          [Emphasis added.] A true and correct copy of said email is attached hereto as
                                     11
                                          Exhibit 11. Based on his email to us and the express terms of the 2012 Agreement
                                     12
1801 Century Park East, 24th Floor




                                          under which Mr. Angelone was providing services to HEFG, he was aware that the
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          HEFG related social media accounts would be owned by HEFG, and no one else,
         (310) 556-9663




                                     14
                                     15   including AOne.

                                     16         33.      I decided to have AOne create and manage all of the HEFG related

                                     17   social media pages, including the pages for HEFG itself, all of the HEFG films,
                                     18   and the HEFG initiatives. On October 22, 2015, I sent an email to Mr. Angelone
                                     19   attaching a document that included the credentials (log in username and password)
                                     20   for several social media accounts owned by HEFG. A true and correct copy of said
                                     21   email and document is attached hereto as Exhibit 12.
                                     22         34.      The following is a list of all of the social media accounts owned by
                                     23   HEFG and the identification of the specific accounts for each that exists (e.g.,
                                     24   Facebook, instagram, Twitter, Linkedin, Snapchat, YouTube and Tiktok):
                                     25                  a.    hiddenempirefilmgroup (related to the HEFG company name)–
                                     26
                                          Facebook, Instagram, twitter and Linkedin
                                     27
                                                         b.    Blackhistoryintwominutes (related to a HEFG production) –
                                     28
                                          [Facebook, Instagram, YouTube, Apple Podcast, twitter and Linkedin.
                                                                                     -18-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 19 of 186
                                                                           Page ID #:5960


                                      1                  c.    Be.Woke.Vote (related to a HEFG initiative) – Facebook,
                                      2   Instagram, YouTube, twitter.
                                      3                  d.    Climb.organization (related to a HEFG initiative) - Facebook,
                                      4
                                          Instagram, YouTube, twitter.
                                      5
                                                         e.    Fear.movie (related to a HEFG film) - Facebook, Instagram,
                                      6
                                          YouTube, twitter.
                                      7
                                                         f.    Fatalemovie (related to a HEFG film) - Facebook, Instagram,
                                      8
                                      9   YouTube, twitter.
                                     10                  g.    Meet_the_blacks (related to a HEFG film) - Facebook,
                                     11   Instagram, YouTube, twitter.
                                     12                  h.    Theintrudermovie (related to a HEFG film) - Facebook,
1801 Century Park East, 24th Floor




                                     13
    NEWELL LAW GROUP




                                          Instagram, YouTube, twitter.
     Los Angeles, CA 90067
         (310) 556-9663




                                     14
                                                         i.    Traffikmovie (related to a HEFG film) - Facebook, Instagram,
                                     15
                                          YouTube, twitter.
                                     16
                                                         j.    Supremacy.movie (related to a HEFG film) - Facebook,
                                     17
                                     18   Instagram, YouTube, twitter.
                                     19         35.      Each of the foregoing social media accounts have credentials (log in
                                     20   user name and password) as well as administrator rights credentials. HEFG has
                                     21   either provided to AOne or AOne has created all of the credentials necessary to
                                     22   access and control said social media accounts. See, e.g., Exhibit _7, Exhibit 12.
                                     23        Mr. Angelone Has “Locked Out” HEFG, Hyper Engine And HEFG
                                     24        Personnel From Being Able To Access The Social Media Accounts
                                     25         36.      At some point unknown to me, Mr. Angelone changed the log in
                                     26   credentials provided to him by HEFG. Neither Mr. Angleone or anyone else at
                                     27
                                          AOne has provided the current credentials for the social media accounts to me or
                                     28
                                          anyone else at HEFG. I, and other representatives of HEFG, including Deon and
                                                                                     -19-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR             Document 187-2    Filed 06/10/25   Page 20 of 186
                                                                             Page ID #:5961


                                      1   Mr. Newell, have asked Mr. Angelone to provide the current credentials of the
                                      2   social media accounts numerous times, but he has refused to do so.
                                      3   ///
                                      4    Mr. Angelone Has Used HEFG’s Social Media Accounts To Promote AOne
                                      5
                                                  37.      After we discovered Mr. Angelone had locked us out of our accounts
                                      6
                                          and requested our credentials back, I noticed that Mr. Angelone was posting content
                                      7
                                          to our social media pages liking posts from his AOne accounts and promoting his
                                      8
                                          “Fear” game. Once we engaged legal counsel to assist us with recovering our
                                      9
                                          assets, Mr. Angleone deleted his recent activity on our accounts, but his efforts
                                     10
                                          restarted on September 6, 2022. At that time, I noticed that Mr. Angelone changed
                                     11
                                          the authorized image on our HEFG Instagram account to an unauthorized one that
                                     12
1801 Century Park East, 24th Floor




                                          consisted of AOne’s logo and text just below the logo stating, “brought to you by,”
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          implying that AOne has an ownership interest in HEFG. He also reposted this
         (310) 556-9663




                                     14
                                     15   Instagram post on the HEFG Twitter account, and used his AOne Twitter account

                                     16   to like the post, again implying he has an ownership interest in HEFG. A true and

                                     17   correct copy of Mr. Angelone’s September 6, 2022 Instagram and Twitter posts on
                                     18   our HEFG pages are attached collectively as Exhibit 13.
                                     19         Mr. Angelone Created A Video Game Based On HEFG’s Film “Fear”
                                     20                                    Without Authorization
                                     21           38.      As stated above, HEFG produced a film called “Fear.” Fear was
                                     22   completed in or about July, 2020, with a copy of the film being “fixed” at that time.
                                     23   We released a teaser video in January, 2022 and the film will be released early next
                                     24   year.    Our “Fear” film introduces several unique characters; including “Rom”
                                     25   played by Joseph Sikora, “Benny,” played by Andrew Bachelor, “Russ,” played by
                                     26
                                          Terrence Jenkins, “Bianca,” played by Annie Ilonzeh, “Kim,” played by Tyler
                                     27
                                          Abron, “Michael,” played by Iddo Goldberg, “Meg,” played by Jessica Allain, and
                                     28
                                          “Serena,” played by Ruby Modine. A true and correct copy of an excerpt from a
                                                                                       -20-
                                                        ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 21 of 186
                                                                           Page ID #:5962


                                      1   marketing deck for the “Fear” film identifying these characters is attached as
                                      2   Exhibit 14. These unique characters and their relationships are the central feature
                                      3   of our film and these unique characters have not appeared in any other motion
                                      4   picture.
                                      5
                                                39.      In the Spring of this year, Mr. Angelone informed me and Deon that
                                      6
                                          he had created a mobile video game and NFT experience that is directly derived
                                      7
                                          from our “Fear” film ( the “Unauthorized Fear Game”). It is my understanding
                                      8
                                          that Mr. Angelone formed a company called On Chain Innovations LLC (“On
                                      9
                                          Chain Innovations”) for the Unauthorized “Fear” Game. I have reviewed the
                                     10
                                          fear.game website Mr. Angelone apparently created for the Unauthorized Fear
                                     11
                                          Game and that website indicates most of the characters in his game are exactly the
                                     12
1801 Century Park East, 24th Floor




                                          same as the characters in our film; “Rom,” “Serena,” “Benny,” “Lou,” “Meg,”
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          “Michael,” “Bianca,” “Russ,” and “Kim.” True and correct copies of screenshots
         (310) 556-9663




                                     14
                                     15   of the characters from the Fear.gamewebsite are attached as Exhibit 15.         Mr.

                                     16   Angelone also created his “Fear” characters to physically resemble the actors who

                                     17   play these roles, incorporating our film’s unique characters into the game. Id. In
                                     18   addition, the Unauthorized Fear Game directly incorporates scenes from our film.
                                     19   Mr. Angelone claims to have spent substantial sums of money to develop the game.
                                     20         40.      Neither I, nor any other HEFG representative, authorized Mr.
                                     21   Angelone or AOne to create the Unauthorized Fear Game. Moreover, neither I nor
                                     22   any other HEFG representative was aware that he was in the process of developing
                                     23   the Unauthorized Fear Game before it was completed. I first learned of the
                                     24   Unauthorized Fear Game after Mr. Angelone told me that he had already created
                                     25   it.
                                     26
                                                41.      On or about May 2, 2022, Mr. Angelone caused a press release about
                                     27
                                          the Unauthorized Fear Game to be released. Certain media outlets published
                                     28
                                          articles based on the press release. For example, on May 2, 2022, the Longview
                                                                                     -21-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 22 of 186
                                                                           Page ID #:5963


                                      1   News Journal published an article with the following heading: “On Chain
                                      2   Innovations Partners with Hidden Empire Film Group to Develop Mobile Gaming
                                      3   and P2E Interactive NFT Experience for Upcoming Horror Film Release ‘Fear’”
                                      4   (the “Fear Game Article”). A true and correct copy of the Fear Game Article is
                                      5
                                          attached hereto as Exhibit 16.
                                      6
                                                42.      The Fear Game Article states there is a partnership between HEFG
                                      7
                                          and On Chain Innovations LLC. There is not, and has never been, any such
                                      8
                                          partnership.
                                      9
                                                43.      The article states that Mr. Angelone is the Chief Executive Officer of
                                     10
                                          On Chain Innovations and that said company was started in 2022.
                                     11
                                                44.      The Fear Game Article includes a quote from Deon. Dean did not
                                     12
1801 Century Park East, 24th Floor




                                          provide that quote, and no representative of HEFG authorized Mr. Angelone or
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          anyone else to use that quote or any quote from Deon for this article or any other
         (310) 556-9663




                                     14
                                     15   purpose.

                                     16         45.      The Fear Game Article also states that the first product from On Chain

                                     17   Innovations is the Unauthorized Fear Game.
                                     18         46.      Mr. Angelone has promoted the Unauthorized Fear Game on his
                                     19   personal Instagram page. A true and correct copy of a printout of pages from Mr.
                                     20   Angelone’s Instagram page is attached hereto as Exhibit 17. Neither I, nor any
                                     21   other HEFG representative, authorized Mr. Angelone’s promotion of the
                                     22   Unauthorized Fear Game in any manner.
                                     23       Mr. Angelone is Using HEFG’s Confidential Email Communications
                                     24          Without Authorization And For His Own Economic Advantage
                                     25         47.      Based on communications between our counsel and Mr. Angelone’s
                                     26
                                          counsel and based on text messages sent to Deon by Mr. Angelone, I understand
                                     27
                                          that Mr. Angelone is refusing to turn over our intellectual property assets in an
                                     28
                                          attempt to force Deon to make him a partner in his Hyper Engine venture.
                                                                                     -22-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 23 of 186
                                                                           Page ID #:5964


                                      1         48.      Included in the text messages to Deon were links to (1) a November
                                      2   25, 2019 attorney client privileged email from one of our outside counsel,
                                      3   Stephanie Pottier, to my HEFG email account; and (2) a September 20, 2019 email
                                      4   message from Bank of the West to my HEFG email account transmitting a prepaid
                                      5
                                          debit card application. A true and correct copy of the non-privileged September
                                      6
                                          20, 2019 email message is attached hereto as Exhibit 18. Mr. Angelone was not
                                      7
                                          copied on either of these messages and no one within HEFG forwarded them to
                                      8
                                          him. Mr. Angelone has never been authorized to read any HEFG employee emails,
                                      9
                                          and the only way he could have obtained these messages was by reading through
                                     10
                                          our confidential emails. Mr. Angelone was also never authorized to access or
                                     11
                                          review attorney client privileged HEFG or Hyper Engine materials.
                                     12
1801 Century Park East, 24th Floor




                                          Mr. Angelone/AOne Have Caused HEFG Damages Through Their Conduct
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                                49.      As a result of the foregoing conduct by Mr. Angelone and AOne, the
         (310) 556-9663




                                     14
                                     15   Plaintiffs have incurred costs in excess of Ten Thousand Dollars ($10,000)

                                     16   investigating the matter. These costs relate to Plaintiffs’ retention of a private

                                     17   forensic consulting firm to conduct an investigation of the Defendants’ conduct as
                                     18   described herein regarding the Plaintiffs’ emails, domains, and social media
                                     19   accounts.     Costs for the completed investigation are expected to far exceed
                                     20   $100,000. We have also incurred significant attorneys’ fees in bringing this
                                     21   Application for a Temporary Restraining Order and in negotiating with Mr.
                                     22   Angelone’s counsel in attempt to secure the return of our intellectual property.
                                     23         50.      HEFG is also being damaged by Mr. Angelone’s unauthorized access
                                     24   to our email accounts and represnetations that he has an ownership interest in
                                     25   HEFG. Before Mr. Angelone locked us out of all HEFG email accounts HEFG
                                     26
                                          personnel regularly used email communications to transmit banking and other
                                     27
                                          financial information and other sensitive information regarding film projects in
                                     28
                                          development.      We also store important documents like financial records and
                                                                                     -23-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 24 of 186
                                                                           Page ID #:5965


                                      1   contracts for our film projects in our Google Account. As Mr. Angelone as recently
                                      2   as August 25, 2022 confirmed he is reading through HEFG personnel emails in an
                                      3   attempt to extract financial advantages for himself and AOne, and as recently as
                                      4   September 6, 2022 added content to HEFG’s Instagram account implying that he
                                      5
                                          has an ownership in HEFG, we are very concerned he will access the sensitive
                                      6
                                          information contained in HEFG personnel emails and create content on our social
                                      7
                                          media pages that will further harm HEFG. Mr. Angelone’s activity implying an
                                      8
                                          ownership interest in HEFG also damages our business interests, because we have
                                      9
                                          other legitimate investors who may question whether their financial interests are
                                     10
                                          being diluted.
                                     11
                                     12
1801 Century Park East, 24th Floor




                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067
         (310) 556-9663




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19         51.      I am the founder of Hyper Engine, LLC (“Hyper Engine”), a
                                     20   marketing and branding agency that specializes in reaching diverse audiences. My
                                     21   wife Roxanne manages its day-to-day operations. Hyper Engine serves as the
                                     22   marketing agency for HEFG as well as its films and initiatives. HEFG and Hyper
                                     23   Engine hold all the rights to prosecute the intellectual property claims discussed in
                                     24   this declaration.
                                     25         52.      The facts set forth in this declaration are based on my personal
                                     26
                                          knowledge, except where otherwise noted, and, if called to testify, I could and
                                     27
                                          would competently testify thereto.
                                     28
                                                53.      AOne Creative LLC, formerly AOne Entertainment LLC (“AOne”)
                                                                                     -24-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 25 of 186
                                                                           Page ID #:5966


                                      1   has provided a variety of services to HEFG and its films and initiatives and for me
                                      2   personally since 2012. The types of services it provided have included the
                                      3   following: hosting the domains of HEFGand Hyper Engine and making sure the
                                      4   domain registrations are current; design, development and maintenance of the
                                      5
                                          HEFG and Hyper Engine websites; maintaining and renewing the registrations for
                                      6
                                          the HEFG Google workspace accounts used for HEFG emails, contacts, calendars,
                                      7
                                          etc.; maintaining the servers that host the HEFG websites; creating social profiles
                                      8
                                          for, posting content on and managing the social media accounts (Instagram,
                                      9
                                          Facebook, Twitter, Linkedin) of HEFG, the HEFG initiatives and the personal
                                     10
                                          accounts of certain HEFG personnel; publishing Hyper Engine content on
                                     11
                                          YouTube and Facebook; copywriting; managing paid media campaigns; and
                                     12
1801 Century Park East, 24th Floor




                                          handling digital marketing campaigns for HEFG films.
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                                54.      Darrick Angelone is the founder and owner of AOne.
         (310) 556-9663




                                     14
                                     15         55.      By virtue of the types of services AOne provided, it has been in

                                     16   possession of the username and password credentials for all of the domain,

                                     17   GoDaddy, Google Workspace, website and social media accounts owned by
                                     18   HEFG, Hyper Engine and/or myself (the “Credentials”).
                                     19         56.      In or about July 2022, the HEFG team including but not limited to
                                     20   Roxanne and its COO, Quincy Newell, asked Mr. Angelone to provide the
                                     21   Credentials to HEFG. Mr. Angelone has refused to provide the credentials to
                                     22   HEFG.
                                     23         57.      On or about August 7, 2022, I noticed that Mr. Angelone had locked
                                     24   out HEFG and all of its personnel from being able to access the HEFG emails. In
                                     25   other words, neither I nor any of the other HEFG personnel could send emails or
                                     26
                                          see the emails that were received. This has been extremely disruptive to HEFG’s
                                     27
                                          ability to conduct business. My HEFG team and I access information about HEFG
                                     28
                                          accounts (eg, bank accounts), contracts, the status of HEFG projects and many
                                                                                     -25-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2     Filed 06/10/25   Page 26 of 186
                                                                           Page ID #:5967


                                      1   other matters in our Google Account and circulate those materials through email. I
                                      2   made numerous efforts to try to get Mr. Angelone’s cooperation to give HEFG
                                      3   access to its emails and other accounts.
                                      4         58.      For example, on August 11, 2022, I sent an email to Mr. Angelone and
                                      5
                                          his attorneys Mr. Fox and Mr. Thompson about the fact that Mr. Angelone locked
                                      6
                                          out HEFG and its personnel from its email, social media and website accounts. A
                                      7
                                          true and correct copy of said email is attached hereto as Exhibit 19.
                                      8
                                                59.      To date, Mr. Angelone and AOne have refused to provide us any
                                      9
                                          access to the subject accounts.
                                     10
                                                60.      Neither I, nor any other HEFG personnel, has given Mr. Angelone or
                                     11
                                          any other AOne personnel, authorization to review our HEFG emails. However, on
                                     12
1801 Century Park East, 24th Floor




                                          August 22, 2022, Mr. Angelone sent a series of texts to me evidencing that he had
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          been reviewing HEFG emails going back several years. Embedded in one of those
         (310) 556-9663




                                     14
                                     15   texts was a Business Debit Card Enrollment Form from Bank of the West that my

                                     16   wife Roxanne filled out in September 2019 and emailed back to Bank of the West

                                     17   from her HEFG email account. A true and correct copy of an excerpt from said
                                     18   text and the related form is attached hereto as Exhibit 20.
                                     19         61.      Mr. Angelone’s series of texts on that day also included private emails
                                     20   between Roxanne and HEFG’s accountants. A true and correct copy of said text
                                     21   excerpt and the related emails are attached hereto collectively as Exhibit 21.
                                     22         62.      The fact that Mr. Angelone sent Exhibits 20 and 21 to me evidences
                                     23   that Mr. Angelone had looked through Roxanne’s personal HEFG emails and found
                                     24   that form which he sent to me. Acknowledging that he had been looking through
                                     25   our private emails, Mr. Angelone stated in his series of text messages that: “Until
                                     26
                                          this deep dive I had not noticed how badly I was being gaslighted.” A true and
                                     27
                                          correct copy of said text excerpt is attached hereto as Exhibit 22. The “deep dive”
                                     28
                                          Mr. Angelone references was his looking through years worth of my and Roxanne’s
                                                                                     -26-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 27 of 186
                                                                           Page ID #:5968


                                      1   private emails without our authorization.
                                      2         63.      In that same series of text messages Mr. Angelone sent me a
                                      3   confidential and privileged draft of an operating agreement for Hyper Engine that
                                      4   was sent from our outside counsel to me and Roxanne by email to our HEFG email
                                      5
                                          accounts. Mr. Angelone did not have authorization to either look through HEFG
                                      6
                                          emails or access any privileged information. A true and correct copy of said text
                                      7
                                          excerpt is attached hereto as Exhibit 23.
                                      8
                                                64.      The paid in full status of AOne invoices was confirmed in
                                      9
                                          contemporaneous correspondence in August 2022 by Angelone’s attorney, Darrel
                                     10
                                          Thompson, who confirmed that all “prior balances” had either been paid or were
                                     11
                                          being paid. A true and correct copy of his correspondence is attached hereto as
                                     12
1801 Century Park East, 24th Floor




                                          Exhibit 24.
                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                                65.      Angelone’s actions have had a devastating effect on our business, as
         (310) 556-9663




                                     14
                                     15   it has been a struggle to recover from the loss of so much of our business

                                     16   information that the company accumulated over a decade. While Angelone was

                                     17   HEFG’s IT administrator, the company conducted much of its business by email
                                     18   and, to this day, the company continues to have difficulty with its ongoing
                                     19   operations because it is unable to find or retrieve information it needs pertaining to
                                     20   its films. It is extremely difficult to place a monetary figure on the substantial
                                     21   damages Plaintiffs have suffered, and will continue to suffer, as a result of
                                     22   Angelone’s complete destruction of all of Plaintiffs’ critical data and emails.
                                     23
                                     24         I declare under the penalty of perjury under the laws of the United States of
                                     25   America that the foregoing is true and correct.
                                     26
                                                         Executed on June 9, 2025 at Los Angeles, California
                                     27
                                     28
                                                                                  /s/ Roxanne Taylor
                                                                                     -27-
                                                      ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                     Case 2:22-cv-06515-MWF-AGR     Document 187-2    Filed 06/10/25   Page 28 of 186
                                                                     Page ID #:5969


                                      1                                      Roxanne Taylor
                                      2
                                      3
                                      4
                                      5
                                      6
                                      7
                                      8
                                      9
                                     10
                                     11
                                     12
1801 Century Park East, 24th Floor




                                     13
    NEWELL LAW GROUP

     Los Angeles, CA 90067
         (310) 556-9663




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                                                               -28-
                                                ROXANNE TAYLOR DEC. ISO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 29 of 186
                              Page ID #:5970
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 30 of 186
                              Page ID #:5971




                     EXHIBIT
                     EXHIBIT 11
Case 2:22-cv-06515-MWF-AGR                   Document 187-2             Filed 06/10/25          Page 31 of 186
                                              Page ID #:5972




                                                                            Entertainment LLC.,
   This AGREEMENT is dated and in effect as of April 26, 2012, between AOne               to as
                                                                                hereafter referred
   hereafter referred to as “Developer” and Hidden Empire Film Group, LLC
                                                                       ent  of Client's websites at domain
   "Client". This agreement is with respect to the design and developm                   hereinafter referred
                                                  www.Hid denEmpi refilmg  roup.co  m,
   names www.LMAOcomedysaries.com and
   to as the "Work" or the “services”

   Client wishes Developer to create the Work described more fully herein; and Whereas, Developer
                                                                                             and the mutual
   wishes to create such Work: Now, therefore, in consideration of the foregoing premises
                                                                 ions, the parties hereto agree as follows:
   covenants hereinafter set forth and other valuable considerat


  1. CONFIDENTIALITY:
   The Client and Developer may disclose confidential information one to the other to facilitate work under
   this Agreement. Such information shail be so identified in writing at the time of its transmiltal, and shall
   be safeguarded and not disclosed to third parties by the receiving party. Confidential information shail
   nat include information that:

     1.   is already known to the party to which it is disclosed;
     2.   is or becomes part of the public domain without breach of this Agreement,
     3    is obtained from third parties, which have no obligations lo keep confidential lo the parties to:this
          Agreement,


  2. DESCRIPTION OF WORK:
   ** A-separate Proposal/Addendum will describe the Work that is required of Developer for the Client

  3. PAYMENT SCHEDULE:
   The full length of this contract is as follows:

   Developer will start project immediately upon receipt of deposit and the estimated completion date is
   15st day of June, 2012 for the total amount nol more-than $22,500.00USD.

   Client shall pay Developer $15,000, as a deposit for project commencement.

   The balance ls due upon completion, and prior to file relinquishment, or upload and/or assembly of
   website on Client's web server,

  4. DUE DATES:
   Developer will make every effort to mest agreed upon due dates. The Client should be aware that
   failure to submit required information or materials may:cause subsequent delays in the production,
   Client delays could resul in significant delays in delivery of finished work,

  5. FEES & ADDITIONAL SERVICES:
   Changes in client input or direction or excessive changes will be charged at $200 per hour. Any work
    the Client wishes Developer to create, which ls not specified in the DESCRIPTION section af this
    agreement, or in the attached proposal will be considered an additional service, Such Work shall
    require a separate Agreement   and payment soparate from and above that specified in this Agreement:


                                                                                                      Page 1of 4
Case 2:22-cv-06515-MWF-AGR                      Document 187-2                 Filed 06/10/25          Page 32 of 186
                                                 Page ID #:5973




                                                                                        is payable on all
    All invoices are payable within 21 business days of receipt. A $50 service chergs
              balances for reissuing each invoice at 45, 60, 75 and 90 days from the  date  of original invaice
    overdue
    The grant of any license or right of copyright is conditioned an receipt af full payment


  6. ADDITIONAL EXPENSES:
        Client agrees to reimburse Developer for any of the-following expenses necessary in completion of the
        Work: (e.g, Fonts, Messengers, Proofs, Props, Research, Shipping, 3rd party Software, Stock —
        photography, Travel, Telephone Consultation). Reimbursable expenses must be approved by client
        prior,

  7. ASSIGNMENT OF WORK:
        Developer reserves the right to assign other designers or subcontractors to the Work to ensure quality
        and on-time completion but Developer shail remain ultimately responsible for timely delivery of the
        Work in accordance with the specifications provided by Client.


  8. RESERVATION OF RIGHTS:
        All rights: not expressly granted hereunder are reserved to Developar..

  9. PERMISSIONS AND RELEASES:
        The Client agrees to Indemnify and hold harmless Developer against any and ail claims, cosis, and
        expenses, including atterney’s fees, due to materials included in the Work al the request of the Client
        for which no copyright permission or previous release was requasted or uses which exceed the uses
        allowed pursuant to a permission or release. Developer agrees lo indemnify and hold harmless Client
        against any and all claims, costs, and expenses, including attorney's fees, resulting from materials
        provided to Client by Developer for which no permission/consent or previous release was received or
        uses which exceed the uses allowed pursuant to a permission/consent or release


  10. Non-Disparagement:

  Consultant will not at any time disparage, criticize, defame, or otherwise make any derogatory
  statements regarding the Company, its directors, officers, members, employees, or shareholders.


  11._Assignment of Discoveries and Intellectual Property Rights; No
  Transfer of or License to Rights:
  All      processes,   improvements,   formulations,   ideas,   inventions,    destans   and     discoveries,     whether
  patentabie or not (collectively “Discoveries") and all patents, copyrights, trademarks, and other intangible
  rights (collectively "Intellectual Property Rights") thal may be conceivad, developed, expressed, or stated
  by Developer, either alona or with others, during the term in connection with or related io Developer's
  performances of Sérvices hereunder shall be the sols property of the Client,                  Developer shall take all
  aotion and execute and deliver all agreements; assignments and other documents, including, without
  limitation, all patent, copyright, and trademark applications and assignments, requested by the Client to
  establish the Client's rights under this paragraph and to vest in the Client title to all Discoveries and
  Intellectual Property Rights which ere the property of the Client under this paragraph. The Client does not
  grant any license to Developer to the Clients technology and Confidential Information (as defined herein)

                                                                                                                 Page 20f4
Case 2:22-cv-06515-MWF-AGR                      Document 187-2               Filed 06/10/25           Page 33 of 186
                                                 Page ID #:5974




                                                                                                       that the Client
 or any of the Client's trademarks, copyrights, patents, or trade secrets, provided however
                                                 to  use the  Client's  registered     trademark  s   to   provide the
 grants to Developer a non-exclusive license
                              Developer  acknowled  ges  that  the  Cllent's   intellectual   property    remains    the
 services during the term.
                                      At no timé shall Developer own         or   register  for  its own     benefit  or
 exclusive property of the Client,
                       any     rights    in  the   domain    names               www maocomedvseries.com     or
 otherwise   acquire
 www. hiddenempirefilmar oup.com,     or any simulation s or related           domains thereto.  To the extent
                                                                                         technical contact, it shall
  Developer ls provided with access thereto or is designated as administrative or
  be for the benefit of Client hereunder and not for the benefit  of Developer   and any   such dasignations-shall
  be immediately returned or changed to     such individuals  or entities as are  designed   by Client upon Client
  making such demand.

  12.    Publicity:
                                                                                            the existence of this
  The Client shall have the right, in its sole discretion, to disclose to any third parties
  Agreement   and  the fact that Developer    has agreed   lo provide tha services  hereunder,   Dayeloper shall
  not discuss with any third party (he business of the Client, the existence of this Agreement, or the nature
  of the Services without the Client’s prior written consent,

  13. Arbitration:

  Any controversy, claim or dispute arising out of or relating to this Agreement, shall be settled solely and
  exclusively by binding arbitration in Los Angeles, California.   Such arbitration shail be conducted in
  accordance with the then prevailing commercial arbitration rules of the American Arnitration Association
  ("AAA"). The parties hereto agree to abide by all decisions and awards rendered in such proceedings.
  Such decisions and awards rendered by the arbitrator shall be final, conclusive and confidential. All such
  controversies, claims or disputes shall be settled in this mannar in lieu of any action at law or equity;
  provided    however,    that nothing     in this    paragraph     shall    be   construed    as    precluding the
  Company from    sesking   and obtaining injunctive relief to stop the   disclosure  or infringement,  or possibie
  disclosure   or infringement     of intellectual   property   owned    by the    Company, or any other       equitable
  rellef inciuding the right of specific performance. The arbitrator shall not have the right to award punitive
  damages or speculative damages to either party, and shall not have the powor to amend this Agreement,
  The arbitrator shall be required to follow applicable law.

  14. MODIFICATIONS:
  Modificallons of the terms of this contract must be written and authorized by both parties, involving ths
  implementation of a new version of the contract as a whole following standard procedures of
  documentation and approvai.
  15. TERMINATION:
     Either party may terminate this Agreement by giving 30 days written notice to the other of such
     termination. In the event that Work is postponed of terminated al the request of the Client, Developer
     shall have the right to bill pro rata for work completed through the date of that request, while reserving
     all rights under this Agreement. If additional payment is due, this shall be payable within thirty days of
     the Client's written notification to stop work. In the event of lermination, the Client shall also pay any
     expenses incurred by Developer and the Developer shall own all rights to the Work. The Client shall
     assume responsibility for all collection of legal! fees necessitated by default in payment.

     The Client and Developer are independent parties and nothing in this Agreement shall constitute either
     party as the employer, principalor partner of or joint venture with the other party, Neither the Client nor
     Developer has any authority to assume or create any obligation or liability, either express or implied, on
     behalf of the othar,


                                                                                                             Page 3 of 4
Case 2:22-cv-06515-MWF-AGR               Document 187-2              Filed 06/10/25       Page 34 of 186
                                          Page ID #:5975




   This Agreement shall be governed by and construed in accordance with the laws of the State of
   California exclusive of its choice of law rules.

   The undersigned agrees to the terms of this agreement on behalf of his or her organization or
   business.
                                Pg ]                             A




                              tf ys             ; /          y
   On behalf ot ihe Client:    AUK        are         AACE               bai




   On behalf of Developer:       De       { €&——_—.                     Date April 25, 2012
                                  Darrick Angelone




                                                                                              Pagedol4
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 35 of 186
                              Page ID #:5976




                     EXHIBIT
                     EXHIBIT 2
                             2
           Case 2:22-cv-06515-MWF-AGR               Document 187-2            Filed 06/10/25        Page 36 of 186
                                                     Page ID #:5977
Lawrence Hinkle
                                     ea               SE                   SENET                SFREMEESEE


From:                                Quincy Newell <quincy@twentyone14.com>
Sent:                                Friday, August 19, 2022 10:45 AM
To:                                  Stephanie Jones Nojima; Lawrence Hinkle
Subject:                             FW: FW: HiddenEmpire




From: Roxanne Taylor <roxanneavent@gmail.com>
Date: Friday, August 19, 2022 at 9:34 AM
To: Quincy Newell <quincy@twentyone14.com>
Subject: Fwd: FW: HiddenEmpire




Date: Tue, Oct 1, 2013 at 11:54 AM
Subject: FW: HiddenEmpire
To: Roxanne <roxanneavent@gmail.com>



This is the godaddy acct info | was sent for you guys (below). Perhaps it is what you are looking for.




From: Velma Sykes [mailto:sykesvi @yahoo.com]
Sent: Monday, December 03, 2012 2:18 PM
To: Darrick Angelone; ceontayior@att.blackberry.net; 'Roxanne Supremacy’; 'Valene Byrd’
Subject: Re: HiddenEmpire
           Case 2:22-cv-06515-MWF-AGR              Document 187-2         Filed 06/10/25     Page 37 of 186
                                                    Page ID #:5978
Piease see below:


Godaddy.com

Login: DTESITES
pw: Filmmaker2012




Velma Sykes

"Some succeed because they are destined to; most succeed because they are determined to."-Anatole France
   ES

== Please consider the environment before printing this e-mail

From: Darrick Angelone <d.angelone@aoneent.com>
To: deoniaylor@ait. blackberry.net; Roxanne Supremacy’ <ravent@hiddenempirefilmgroup.com>; 'Velma Sykes'
<sykesv1@vyahoo.com>; 'Valene Byrd' <vaicib@grmail.com>
Sent: Monday, December 3, 2012 1:29 PM
Subject: RE: HiddenEmpire

even if you can just change the password to something temporary and then you can change back once | am done. Please
and thank you.




d.angelone@aoneent.com


office: +1.323,205.6506




From: deontaylor@att.blackberry.net [mailto:deontaylor@att. blackberry.net]
Sent: Monday, December 03, 2012 1:24 PM
To: Darrick Angelone; Roxanne Supremacy; Velma Sykes; Valene Byrd
Subject: Re: HiddenEmpire




Velma can you or Valene please provide Darrick with this info right away.. Thanks so much.

Sent via BlackBerry by AT&T

From: “Darrick Angelone" <d.angelone@aoneent.com>
        Case 2:22-cv-06515-MWF-AGR                 Document 187-2          Filed 06/10/25       Page 38 of 186
                                                    Page ID #:5979
Date: Mon, 3 Dec 2012 11:04:08 -0800

To: ‘Roxanne Supremacy'<raventO hiddenempirefilmeroup.com>

Cc: <deontaylor@ati.biackberry.net>


Subject: HiddenEmpire




Hi Roxanne




| need to access the hosting account for Hiddenempire domain so | can work on the website design | have for it.
Everything you have set up currently would stay as is, but | need to add an A record pointing to my servers for the
development.




Can | please get that today?




Roxanne Taylor
         Case 2:22-cv-06515-MWF-AGR                Document 187-2          Filed 06/10/25      Page 39 of 186
                                                    Page ID #:5980




o       Forwarded message ---------
From: Darrick Angelone <d.angelone@aoneent.com>
Date: Wed, Dec 10, 2014 at 4:58 PM
Subject: RE: HEFG Site
To: Rox <roxanneavent@gmail.com>
Cc: Deon Taylor <deontaylor@me.com>



Well, | know there are people around you guys hoping and prodding for your failure (such is life for anyone doing
things). | can’t be convinced someone else in Sacramento has a film company, came up with the name HEFG and
conveniently it was available for them to registered it.




Going forward, you guys should have me manage all your domains etc.. | have my own servers and manage hundreds of
domain registrations. $100 per host (you would only need one or two) per year and $15 for registrations. Fortunately
Dumrobot is registered with me and hosted on our servers, so it can not be lost/hijacked.




Soooce, what will the domain be for HEFG if not that one?




Darrick Angelone

d.angeione   @aoneent.com


office: +1.323.205.6506
        Case 2:22-cv-06515-MWF-AGR                 Document 187-2            Filed 06/10/25    Page 40 of 186
                                                    Page ID #:5981
mobile; +1.323.989.2221

fax: +1.310.775.4445




From: Rox [mailto:roxanneavent@aqmail.com]
Sent: Thursday, December 11, 2014 1:50 AM
To: Darrick Angelone
Cc: Deon Taylor
Subject: Re: HEFG Site




i know. So weird. | just stopped receiving emails one day and | called and they told be it was canceled months ago and
someone else has it. They apologized. Thanks D



On Dec 10, 2014, at 4:43 PM, Darrick Angelone <d.angelone    @aoneent.com> wrote:

       There is no change of owner listed... In the morning { will see what ! can dig up. Who would want to
       register hiddenempirefilmgroup.com? its pretty specific name.. Not like film.com.




        Darrick Angelone

        d.angelone@aoneent.com


       office: +1.323.205.6506


       mobile; +1.323.989,2221


       fax: +1.310.775.4445




       From: Rox [mailto:roxanneaventOumail.com]
       Sent: Thursday, December 11, 2014 1:42 AM
       To: Darrick Angelone
       €c; Deon Taylor
       Subject: Re: HEFG Site




       No. | don't know who that is but looks like they are in Sacramento.



       On Dec 10, 2014, at 4:12 PM, Darrick Angelone <c.anzelone@aoneent.com> wrote:
Case 2:22-cv-06515-MWF-AGR                 Document 187-2        Filed 06/10/25   Page 41 of 186
                                            Page ID #:5982
     This is you guys right? | don’t see a transfer anywhere in the history:




     Domain Name: HIDDENEMPIREFILMGROUP.COM
     Registry Domain ID: 1666440836. DOMAIN_COM-VRSN
     Registrar WHOIS Server: whois.codaddy.com
     Registrar URL: htto:/Avww.godaddy.com
     Update Date: 2014-08-22 22:06:19
     Creation Date: 2011-07-11       19:30:25
     Registrar Registration Expiration Date: 2015-07-11 19:30:25
     Registrar: GoDaddy.com, LLC



     Registrant Name: nicolas ortega
     Registrant Organization:
     Registrant Street: 2615 H street
     Registrant Street: apt 9
     Registrant City: Sacramento
     Registrant State/Province: California
     Registrant Postal Code: 95816
     Registrant Country: United States
     Registrant Phone: +1.9168935641
     Registrant Email: newgamingiaptop@aqmail.com




    Admin Name: nicolas ortega
    Admin    Organization:
    Admin    Street: 2615 H street
    Admin    Street: apt 9
    Admin    City: Sacramento
    Admin    State/Province: California
    Admin Postal Code: 95816
    Admin Country: United States
    Admin Phone: +1.9168935641
    Admin Email: newgaminglactop@amail.com




    Tech Name: nicolas ortega
    Tech Organization:
    Tech Street: 2615 H street
    Tech Street: apt 9
    Tech   City: Sacramento
    Tech   State/Province: California
    Tech   Postal Code: 95816
    Tech   Country: United States
    Tech   Phone: +1.9168935641
Case 2:22-cv-06515-MWF-AGR            Document 187-2         Filed 06/10/25      Page 42 of 186
                                       Page ID #:5983
     Tech Email: newgamingalaptiopOamail.com
     Name   Server: NS67.DOMAINCONTROL.COM
     Name Server: NS68.DOMAINCONTROL.COM




     Darrick Angelone

     d.angelone@aoneent.com


     office: +1.323.205.6506

     mobile: +1.323.989.2221

     fax: +1.310.775.4445




    From: Rox [mailto:roxanneaventOamail.com]
    Sent: Thursday, December 11, 2014 1:07 AM
    To: Darrick Angelone
    Cc; Deon Taylor
    Subject: Re: HEFG Site




    It expired and | didn't know and someone else bought the domain




    On Dec 10, 2014, at 3:55 PM, Darrick Angelone <d_angelone   @aoneent.com>   wrote:


            The files should be on HEFG.com and hosted on that associated
            godaddy acct.




            | don’t understand what you mean by, “I don't have .com site anymore “
            please clarify.




            Darrick Angelone

            d.angelone@aoneent.com


            office: +1.323.205.6506
Case 2:22-cv-06515-MWF-AGR      Document 187-2           Filed 06/10/25   Page 43 of 186
                                 Page ID #:5984
                     version of the site as Deon wanted to
                     get it back up. There is a lot going on
                     and he wants a place for everyone to go
                     to. imay need a few things deleted or
                     what not. Is there a way you can send
                     me the file and | can upload it and make
                     changes?




                     Thanks a bunch


                     Roxanne




                     Roxanne Avent

                     Hidden Empire Film Group

                     PO BOX 6931

                     Folsom, CA 95763-6931
                     c. (916) 257-2475


                      sanas hid danamnirefimerni: ry
                     www. hiddenempirefiimsroup.com


                     NOTICE: This e-mail, the information
                     contained herein, and any attachments
                     transmitted with it: (i) are the property
                     of Hidden Empire Film Group, LLC., and
                     (ii) may contain confidential and/or
                     privileged material, and (iii) are
                     intended solely for the
                     addressee. Access to this e-mail, the
                     contents, or any attachments, by
                     anyone other than the intended
                     recipient is unauthorized. If you are not
                     the intended recipient, any disclosure,
                     copying, distribution or any action
                     taken or omitted to be taken in reliance
                     on it, is prohibited and may be
                     unlawful. If you have received this e-
                     mail in error, please notify the sender
                     by reply e-mail and delete the message
                     and any attachments. Any other use,
                     retention, dissemination, forwarding,
        Case 2:22-cv-06515-MWF-AGR      Document 187-2            Filed 06/10/25   Page 44 of 186
                                         Page ID #:5985
                              printing, or copying of this e-mail is
                              strictly prohibited.




Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 45 of 186
                              Page ID #:5986




                  EXHIBIT 3
Case 2:22-cv-06515-MWF-AGR               Document 187-2          Filed 06/10/25       Page 46 of 186
                                          Page ID #:5987


---------- Forwarded message ---------
From: Darrick Angelone <d.angelone@aoneent.com>
Date: Wed, Dec 10, 2014 at 4:58 PM
Subject: RE: HEFG Site
To: Rox <roxanneavent@gmail.com>
Cc: Deon Taylor <deontaylor@me.com>


Well, I know there are people around you guys hoping and prodding for your failure (such is life for
anyone doing things). I can’t be convinced someone else in Sacramento has a film company, came
up with the name HEFG and conveniently it was available for them to registered it.

Going forward, you guys should have me manage all your domains etc.. I have my own servers and
manage hundreds of domain registrations. $100 per host (you would only need one or two) per year
and $15 for registrations. Fortunately Dumrobot is registered with me and hosted on our servers, so
it can not be lost/hijacked.

Sooooo, what will the domain be for HEFG if not that one?


Darrick Angelone
d.angelone@aoneent.com
office: +1.323.205.6506
mobile: +1.323.989.2221
fax: +1.310.775.4445

From: Rox [mailto:roxanneavent@gmail.com]
Sent: Thursday, December 11, 2014 1:50 AM
To: Darrick Angelone
Cc: Deon Taylor
Subject: Re: HEFG Site

I know. So weird. I just stopped receiving emails one day and I called and they told be it was
canceled months ago and someone else has it. They apologized. Thanks D


On Dec 10, 2014, at 4:43 PM, Darrick Angelone <d.angelone@aoneent.com> wrote:

      There is no change of owner listed… In the morning I will see what I can dig up. Who
      would want to register hiddenempirefilmgroup.com? its pretty specific name.. Not like
      film.com.


      Darrick Angelone
      d.angelone@aoneent.com
      office: +1.323.205.6506
Case 2:22-cv-06515-MWF-AGR             Document 187-2           Filed 06/10/25       Page 47 of 186
                                        Page ID #:5988

     mobile: +1.323.989.2221
     fax: +1.310.775.4445

     From: Rox [mailto:roxanneavent@gmail.com]
     Sent: Thursday, December 11, 2014 1:42 AM
     To: Darrick Angelone
     Cc: Deon Taylor
     Subject: Re: HEFG Site

     No. I don't know who that is but looks like they are in Sacramento.


     On Dec 10, 2014, at 4:12 PM, Darrick Angelone <d.angelone@aoneent.com> wrote:

           This is you guys right? I don’t see a transfer anywhere in the history:

           Domain Name: HIDDENEMPIREFILMGROUP.COM
           Registry Domain ID: 1666440836_DOMAIN_COM-VRSN
           Registrar WHOIS Server: whois.godaddy.com
           Registrar URL: http://www.godaddy.com
           Update Date: 2014-08-22 22:06:19
           Creation Date: 2011-07-11 19:30:25
           Registrar Registration Expiration Date: 2015-07-11 19:30:25
           Registrar: GoDaddy.com, LLC


           Registrant Name: nicolas ortega
           Registrant Organization:
           Registrant Street: 2615 H street
           Registrant Street: apt 9
           Registrant City: Sacramento
           Registrant State/Province: California
           Registrant Postal Code: 95816
           Registrant Country: United States
           Registrant Phone: +1.9168935641
           Registrant Email: newgaminglaptop@gmail.com



           Admin Name: nicolas ortega
           Admin Organization:
           Admin Street: 2615 H street
           Admin Street: apt 9
           Admin City: Sacramento
           Admin State/Province: California
           Admin Postal Code: 95816
           Admin Country: United States
           Admin Phone: +1.9168935641
           Admin Email: newgaminglaptop@gmail.com
Case 2:22-cv-06515-MWF-AGR           Document 187-2      Filed 06/10/25    Page 48 of 186
                                      Page ID #:5989

         Tech Name: nicolas ortega
         Tech Organization:
         Tech Street: 2615 H street
         Tech Street: apt 9
         Tech City: Sacramento
         Tech State/Province: California
         Tech Postal Code: 95816
         Tech Country: United States
         Tech Phone: +1.9168935641

         Tech Email: newgaminglaptop@gmail.com
         Name Server: NS67.DOMAINCONTROL.COM
         Name Server: NS68.DOMAINCONTROL.COM




         Darrick Angelone
         d.angelone@aoneent.com
         office: +1.323.205.6506
         mobile: +1.323.989.2221
         fax: +1.310.775.4445

         From: Rox [mailto:roxanneavent@gmail.com]
         Sent: Thursday, December 11, 2014 1:07 AM
         To: Darrick Angelone
         Cc: Deon Taylor
         Subject: Re: HEFG Site

         It expired and I didn't know and someone else bought the domain




         On Dec 10, 2014, at 3:55 PM, Darrick Angelone
         <d.angelone@aoneent.com> wrote:

               The files should be on HEFG.com and hosted on that
               associated godaddy acct.

               I don’t understand what you mean by, “I don't have .com
               site anymore “ please clarify.


               Darrick Angelone
               d.angelone@aoneent.com
               office: +1.323.205.6506
               mobile: +1.323.989.2221
               fax: +1.310.775.4445
Case 2:22-cv-06515-MWF-AGR        Document 187-2             Filed 06/10/25   Page 49 of 186
                                   Page ID #:5990

              From: Rox [mailto:roxanneavent@gmail.com]
              Sent: Wednesday, December 10, 2014 11:50 PM
              To: Darrick Angelone
              Cc: Deon Taylor
              Subject: Re: HEFG Site

              Okay so I should be able to find the files on the go daddy
              site? I don't have .com site anymore




              On Dec 10, 2014, at 1:13 PM, Darrick Angelone
              <d.angelone@aoneent.com> wrote:

                    No that’s just a who.is search I ran…. Either way
                    the files should still be on your godaddy accct,
                    but someone forwarded the DNS or domain
                    from somewhere on yourside. Find that person
                    and they can answer this question.


                    Darrick Angelone
                    d.angelone@aoneent.com
                    office: +1.323.205.6506
                    mobile: +1.323.989.2221
                    fax: +1.310.775.4445

                    From: Rox [mailto:roxanneavent@gmail.com]
                    Sent: Wednesday, December 10, 2014 9:55 PM
                    To: Darrick Angelone
                    Cc: Deon Taylor
                    Subject: Re: HEFG Site

                    Got it. Is this what I need to access?




                    On Dec 10, 2014, at 12:26 PM, Darrick
                    Angelone <d.angelone@aoneent.com> wrote:

                           Domain Name:
                           HIDDENEMPIREFILMGROUP.CO
                           M
                           Registrar URL:
                           http://www.godaddy.com
                           Registrant Name: nicolas
                           ortega
                           Registrant
Case 2:22-cv-06515-MWF-AGR      Document 187-2        Filed 06/10/25   Page 50 of 186
                                 Page ID #:5991

                       Organization:
                       Name Server:
                       NS67.DOMAINCONTROL.COM
                       Name Server:
                       NS68.DOMAINCONTROL.COM
                       DNSSEC: unsigned



                       Darrick Angelone
                       d.angelone@aoneent.com
                       office: +1.323.205.6506
                       mobile: +1.323.989.2221
                       fax: +1.310.775.4445

                       From: Roxanne Avent
                       [mailto:roxanneavent@gmail.com]
                       Sent: Wednesday, December 10,
                       2014 8:57 PM
                       To: Darrick Angelone; Deon Taylor
                       Subject: HEFG Site

                       Hey D,

                       Hope all is well with you and your
                       family. I wanted to check in with
                       you to see if you can send me the
                       latest version of the site as Deon
                       wanted to get it back up. There is
                       a lot going on and he wants a
                       place for everyone to go to. I may
                       need a few things deleted or what
                       not. Is there a way you can send
                       me the file and I can upload it and
                       make changes?

                       Thanks a bunch
                       Roxanne

                       --
                       Roxanne Avent
                       Hidden Empire Film Group

                       PO BOX 6931
                       Folsom, CA 95763-6931
                       c. (916) 257-2475

                       www.hiddenempirefilmgroup.co
                       m
Case 2:22-cv-06515-MWF-AGR    Document 187-2         Filed 06/10/25   Page 51 of 186
                               Page ID #:5992

                       NOTICE: This e-mail, the
                       information contained herein, and
                       any attachments transmitted with
                       it: (i) are the property of Hidden
                       Empire Film Group, LLC., and (ii)
                       may contain confidential and/or
                       privileged material, and (iii) are
                       intended solely for the
                       addressee. Access to this e-mail,
                       the contents, or any attachments,
                       by anyone other than the
                       intended recipient is
                       unauthorized. If you are not the
                       intended recipient, any disclosure,
                       copying, distribution or any action
                       taken or omitted to be taken in
                       reliance on it, is prohibited and
                       may be unlawful. If you have
                       received this e-mail in error,
                       please notify the sender by reply
                       e-mail and delete the message
                       and any attachments. Any other
                       use, retention, dissemination,
                       forwarding, printing, or copying of
                       this e-mail is strictly prohibited.




--
Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 52 of 186
                              Page ID #:5993




                   EXHIBIT
                   EXHIBIT 4
                           4
         Case 2:22-cv-06515-MWF-AGR               Document 187-2             Filed 06/10/25   Page 53 of 186
                                                   Page ID #:5994




        Forwarded message: a
From: GoDaddy <d              j@godadd
Date: Tue, Oct 13, 2015 at   2: 16 PM
Subject:                          VIE.COM - Information You Req
                                                                uested
To: <roxanneave




       E                                                                     24/7 Support: (480) 505-8877
        => Goda                                                     Roxanne Avent — Customer Number: 22595375




                  Here's your
                  authorization                                         code
                  Here's the authorization code and domain information you requested:

                  Customer   Account: 22595375
                                         ————    ee   ae ot   Det
                  Domain Name: MEETTHEBLACKSTHEMOV
        Case 2:22-cv-06515-MWF-AGR               Document 187-2        Filed 06/10/25        Page 54 of 186
                                                  Page ID #:5995



                 Authorization Code: K0]9E18C8M]6460P

                 Your domain's still active and no action is required. No changes have been made to
                 your account. If you delete this email or simply don't use the code, your domain
                 status will remain as-is.

                 If you have questions, please contact customer support at (480) 505-8877.




—


Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR         Document 187-2             Filed 06/10/25   Page 55 of 186
                                    Page ID #:5996



                    MEETTHEBLACKSTHEMOVIE.COM - Oct.
                    23, 2015




                         UPDATE YOUR PAYMENT
                                         METHOD




                   We participate in account update services. As part
                   of Visa® and MasterCard® programs, banks may
                   notify us of credit card expiration date(s) and/or card
                   number(s). If you are a cardholder, we will
                   automatically update information on file and aitempt
                   to renew your domain(s) as scheduled. If paying
                   with American Express, auto-renewal on an
                   expired/re-assigned card may be automatically billed
                   by American Express using the new expiration date
                   and/or card number without notification to us. Similar
                   services may be supported by other card brands.

                   Please do not rely on these services to keep card
                   information up to date. The only way to ensure
                   successful domain renewal is to update your credit
                   card information now. lf you wish to cancel
                   automatic renewal, you can turn off this feature in
                   your GoDaddy account.

                   For certain ccTLDs, if renewals are not processed in
                   the proper respective time frame, redemption fees
                   may be applied and/or your domain name may be
                   placed on non-renewal status. You will only be abie
                   to renew the name by calling GoDaddy. Also, refer
                   to this helo article for more details.




                   Enjoy 20%* off new products
                   of $40.00 or more.
Case 2:22-cv-06515-MWF-AGR         Document 187-2              Filed 06/10/25   Page 56 of 186
                                    Page ID #:5997




                    Use promo code: gdbbm1030




                    NOTE: Our free product credit policy has been
                    updated — see Section 8 of our Universal Terms of

                    created in association with free credits from this
                    domain registration will expire 1 year from the
                    renewal of the domain name if they have been
                    activated. Credits that have not been activated will
                    expire and be removed ai the time the domain
                    renews. In the event that the Credit is redeemed,
                   after the initial free one year period, the free product
                   will automatically renew at the then-current renewal
                    price until cancelled. If you wish to cancel the
                    automatic renewal of the product, you may do so by
                   visiting your GoDaddy Account and turning off the
                   auto-renewal feature, or by contacting GoDaddy
                   customer service.




                   “Not applicable to ICANN fees, taxes, transfers,
                   premium domains, premium templates, cloud server
                   plans, Professional Design Service fees (including
                   Web Design, eCommerce Design, and Logo
                   Design), gift cards or Trademark Holders/Prority
                   Pre-registration or pre-registration fees. Ofer good
                   towards new product purchases only and cannot be
                   used on product renewals. Cannot be used in
                   conjunction with any other offer, sale, discount or
                   promotion. After the initial purchase term,
                   discounted products will renew at the then-current
                   renewal list price. Offer may be changed without
                   notice.

                   Please do not reply to this email. Emails sent to this
                   address will not be answered.

                   Copyright © 1999-2015 GoDaddy Operating
           Case 2:22-cv-06515-MWF-AGR                 Document 187-2             Filed 06/10/25   Page 57 of 186
                                                       Page ID #:5998
                                        Company, LLC. 14455 N_ Hayden Rd, Ste. 279,
                                        Scottsdale, AZ 85260. Ali rights reserved.




 Hidden Empire Film Group



 PO BOX 6931

 Folsom, CA 95763-6931
 c. (916) 257-2475

 e     Byte abe.     Pe   y |
 WWW, mMm:adenempiretims.com




 NOTICE:    This e-mail, the information contained herein, and any attachments transmitted with it: (i) are the property of
 Hidden Empire Film Group, LLC., and (ii) may contain confidential and/or privileged material, and (iii) are intended
 solely for the addressee. Access to this e-mail, the contents, or any attachments, by anyone other than the intended
 recipient is unauthorized. If you are not the intended recipient, any disclosure, copying, distribution or any action
 taken or omitted to be taken in reliance on it, is prohibited and may be unlawful. If you have received this e-mail in
 error, please notify the sender by reply e-mail and delete the message and any attachments. Any other use, retention,
 dissemination, forwarding, printing, or copying of this e-mail is strictly prohibited.




Hidden Empire Film Group



PO BOX 6931

Folsom, CA 95763-6931
c. (916) 257-2475
        Case 2:22-cv-06515-MWF-AGR                  Document 187-2         Filed 06/10/25        Page 58 of 186
                                                     Page ID #:5999
www. hiddenempirefilms.com



NOTICE: This e-mail, the information contained herein, and any attachments transmitted with it: (i) are the property of
Hidden Empire Film Group, LLC., and (ii) may contain confidential and/or privileged material, and (iii) are intended solely
for the addressee.   Access to this e-mail, the contents, or any attachments, by anyone other than the intended recipient
is unauthorized. If you are not the intended recipient, any disclosure, copying, distribution or any action taken or
omitted to be taken in reliance on it, is prohibited and may be unlawful. if you have received this e-mail in error, please
notify the sender by reply e-mail and delete the message and any attachments. Any other use, retention, dissemination,
forwarding, printing, or copying of this e-mail is strictly prohibited.




Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 59 of 186
                              Page ID #:6000




                   EXHIBIT
                   EXHIBIT 55
        Case 2:22-cv-06515-MWF-AGR                  Document 187-2    Filed 06/10/25   Page 60 of 186
                                                     Page ID #:6001




aoe     Forwarded message anne
                          ~
From: Darrick Angelone <<!       -kangeione@aoneent.com>
Date: Tue, Oct 13, 2015 at 12: 17 PM
Subject: RE: Action required: Update your payment   information
To: Roxanne Avent <roxanneaventO gmail.com>




From: Roxanne Avent [mailto:roxanneaventDemail.com]
Sent: Tuesday, October 13, 2015 12: 11 PM

sabjare Re: Action squid, Update yyour AUMENTE information
        Case 2:22-cv-06515-MWF-AGR               Document 187-2         Filed 06/10/25         Page 61 of 186
                                                  Page ID #:6002



On Tue, Oct 13, 2015 at 12:05 PM, Darrick Angelone <darrickancelone   @aoneent.com>   wrote:

 | will handle this now. Are you using the meettheblacks.com domain for email?




Darrick Angelone

darrickangelone@aoneent.com




m: +1,323.989.2221




From: Roxanne Avent [mailto:roxanneavent@gmail.com]
Sent: Tuesday, October 13, 2015 12:00 PM
To: Darrick Angelone <Darrickangelone@aoneent.cam>
Subject: Fwd: Action required: Update your payment information




Go Daddy




login: DTEsites

PW: Avent9224




o     -- Forwarded message ----------
From: GoDaddy <donotreply     @godaddy.com>
Date: Thu, Oct 8, 2015 at 7:43 AM
Subject: Action required: Update your payment information
To: roxanneaventOgmail.com

AAAELT RRM                                                                                              ZF

APARA
    A T
      ERO hes
          O   SOE ts Me
Case 2:22-cv-06515-MWF-AGR     Document 187-2       Filed 06/10/25   Page 62 of 186
                                Page ID #:6003




                                        2417 Support: (480)
                   $$                               505-8877
                    LoS   Goda                 Roxanne Avent —
                                              Customer Number:
                                                      22995375




                    Update your
                    payment
                    information




                   Roxanne, please update your credit card
                   information or add a payment method so you
                   don't lose your domain(s) and any
                   associated content or email addresses. The
                   following items will expire if you do not
                   updaie your payment information:
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 63 of 186
                              Page ID #:6004




                    EXHIBIT 6
Case 2:22-cv-06515-MWF-AGR                    Document 187-2     Filed 06/10/25       Page 64 of 186
                                               Page ID #:6005




---------- Forwarded message ---------
From: Darrick Angelone <darrick@hiddenempirefilmgroup.com>
Date: Tue, May 8, 2018 at 10:48 AM
Subject: RE: C.LI.M.B
To: Roxanne <roxanne@hiddenempirefilmgroup.com>
Cc: Nina <Nyajo82@gmail.com>


Password for IG and Tw is: highTOWER555

I will connect the facebook page to your profile because it’s not possible to ‘log into” a facebook
page.

      https://www.facebook.com/climb.network

      IG: @climb.organization
      TW: @climb_org
      FB: @climb.network
      www: http://climb.network




      Darrick Angelone
      Hidden Empire Film Group
      o: (323) 205-6506 | m: (310) 869-2354
      Hiddenempirefilmgroup.com


      From: Roxanne <roxanne@hiddenempirefilmgroup.com>
      Sent: Monday, May 7, 2018 12:03
      To: Darrick Angelone <darrick@hiddenempirefilmgroup.com>
      Cc: Roxanne Avent <roxanneavent@gmail.com>; Lifted PRInc <liftedpr@gmail.com>;
      Gregory Wise II <babybubb95660@gmail.com>; Velma Sykes <sykesv1@gmail.com>;
      gw@hiddenempirefilmgroup.com; Marian Kourieh <marian@aoneent.com>; Nina
Case 2:22-cv-06515-MWF-AGR                         Document 187-2    Filed 06/10/25   Page 65 of 186
                                                    Page ID #:6006

     <Nyajo82@gmail.com>
     Subject: Re: C.LI.M.B

     Thanks D

     Website can be flier for now but for future would have a page for each letter/definition
     and relating events under those banners.

     Nina please add to cheat sheet

     Greg artwork for the sticker wallet holder for phone would be as follows

     C. Community
     L. Learn
     I. Inspire
     M. Motivate
     B. Build

     Domains listed below. Suzanne please confirm dimensions

     For the flier please be creative. All needs to be done by 2pm.

     Let me know if doable.

     Roxanne
     916.257.2475

     On May 7, 2018, at 11:54 AM, Darrick Angelone
     <darrick@hiddenempirefilmgroup.com> wrote:

           I registered www.climb.network < so that’s going to be the domain. The
           website will be just the flyer artwork Greg sends and will be up once I get
           it.

           IG: @climb.organization
           TW: @climb_org
           FB: (TBD)

           Darrick Angelone
           Hidden Empire Film Group
           o: (323) 205-6506 | m: (310) 869-2354
           Hiddenempirefilmgroup.com


           From: Roxanne Avent <roxanneavent@gmail.com>
           Sent: Monday, May 7, 2018 11:35
           To: Darrick Angelone <darrick@hiddenempirefilmgroup.com>
Case 2:22-cv-06515-MWF-AGR                 Document 187-2    Filed 06/10/25   Page 66 of 186
                                            Page ID #:6007

         Cc: Lifted PRInc <liftedpr@gmail.com>; Roxanne
         <roxanne@hiddenempirefilmgroup.com>; Gregory Wise II
         <babybubb95660@gmail.com>; greg@hiddenempirefilmgroup.com;
         Velma Sykes <sykesv1@gmail.com>; gw@hiddenempirefilmgroup.com
         Subject: Re: C.LI.M.B

         Let me think. No on climb with Hefg

         Roxanne
         916.257.2475

         On May 7, 2018, at 11:23 AM, Darrick Angelone
         <darrick@hiddenempirefilmgroup.com> wrote:

               How do we feel about www.climbwithhefg.com or
               www.hashtagclimb.com or does anyone have a suggestion
               off hand?

               Darrick Angelone
               Hidden Empire Film Group
               o: (323) 205-6506 | m: (310) 869-2354
               Hiddenempirefilmgroup.com


               From: Roxanne Avent <roxanneavent@gmail.com>
               Sent: Monday, May 7, 2018 11:15
               To: Lifted PRInc <liftedpr@gmail.com>
               Cc: Roxanne <roxanne@hiddenempirefilmgroup.com>;
               Gregory Wise II <babybubb95660@gmail.com>;
               greg@hiddenempirefilmgroup.com; Darrick Angelone
               <darrick@hiddenempirefilmgroup.com>; Velma Sykes
               <sykesv1@gmail.com>; gw@hiddenempirefilmgroup.com
               Subject: Re: C.LI.M.B

               Greg looking for a two sided flyer with climb details. You
               have everything except handles.

               Open to how you design.

               Let me know if you are able to get some today.

               I will call you to discuss




               Roxanne
               916.257.2475
Case 2:22-cv-06515-MWF-AGR       Document 187-2             Filed 06/10/25   Page 67 of 186
                                  Page ID #:6008

              On May 7, 2018, at 11:09 AM, Roxanne Avent
              <roxanneavent@gmail.com> wrote:

                    Adding Greg right email.

                    Roxanne
                    916.257.2475

                    On May 7, 2018, at 11:03 AM, Roxanne Avent
                    <roxanneavent@gmail.com> wrote:

                          FYI. Darrick handles all social
                          media and URL’s.

                          Darrick were you able to secure
                          the handles. Once handles are
                          secured please email to team
                          attached.

                          Greg let me know when you have
                          a moment and we can call you to
                          go over.

                          Thank you everyone. This was a
                          last minute thing. Appreciate
                          everyone jumping in.

                          Roxanne
                          916.257.2475

                          On May 7, 2018, at 10:54 AM,
                          Lifted PRInc
                          <liftedpr@gmail.com> wrote:

                                 Hello---

                                 Darrick, can you
                                 please send the URL
                                 for the one page
                                 web site

                                 Greg, hello, can you
                                 please add social
                                 media handle/s to
                                 LOGO so I can order
                                 printed materials
Case 2:22-cv-06515-MWF-AGR   Document 187-2           Filed 06/10/25   Page 68 of 186
                              Page ID #:6009

                             TODAY?

                             Also, need two sided
                             glossy postcard, one
                             side has brief
                             summary of CLIMB
                             (see document
                             attached by Roxanne
                             in this thread), the
                             other side prompts
                             people to Follow Us
                             on Social Media, lists
                             all handles, lists web
                             site, asks to join our
                             movement on the
                             web site.

                             All of this is for an
                             incredible Mother's
                             Day Brunch on this
                             SATURDAY. We are
                             sponsoring a table.
                             Roxanne will give the
                             gift of a Mother's
                             Day brunch to 9
                             women who may be
                             survivors of
                             trafficking or
                             domestic abuse, etc.
                             Postcards and web
                             site and printed
                             materials will go in
                             gift bags to all
                             women in
                             attendance to soft
                             launch awareness of
                             CLIMB, as we move
                             toward more
                             activations.

                             Thanks guys!

                             Suzanne
                             818-385-7472
Case 2:22-cv-06515-MWF-AGR   Document 187-2        Filed 06/10/25   Page 69 of 186
                              Page ID #:6010

                             On Sat, May 5, 2018
                             at 8:33 PM, Roxanne
                             <roxanne@hiddene
                             mpirefilmgroup.com
                             > wrote:
                               Here is the logo

                               <image001.jpg>
                               <image002.png>
                               Roxanne
                               916.257.2475

                               On May 4, 2018,
                               at 3:47 PM,
                               Darrick Angelone
                               <darrick@hiddene
                               mpirefilmgroup.co
                               m> wrote:

                                     affir
                                     mati
                                     ve

                                     Darri
                                     ck
                                     Angel
                                     one
                                     Hidden
                                     Empire
                                     Film
                                     Group
                                     o: (323)
                                     205-
                                     6506 |
                                     m: (310)
                                     869-
                                     2354
                                     Hiddene
                                     mpirefil
                                     mgroup
                                     .com

                                     From
                                     :
                                     Lifte
                                     d
                                     PRIn
                                     c
                                     <lifte
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 70 of 186
                              Page ID #:6011

                                   dpr
                                   @gm
                                   ail.co
                                   m>
                                   Sent:
                                   Frida
                                   y,
                                   May
                                   4,
                                   2018
                                   15:3
                                   1
                                   To:
                                   Darri
                                   ck
                                   Ange
                                   lone
                                   <darr
                                   ick@
                                   hidd
                                   ene
                                   mpir
                                   efilm
                                   grou
                                   p.co
                                   m>
                                   Cc:
                                   Roxa
                                   nne
                                   <rox
                                   anne
                                   @hid
                                   dene
                                   mpir
                                   efilm
                                   grou
                                   p.co
                                   m>;
                                   Velm
                                   a
                                   Syke
                                   s
                                   <syk
                                   esv1
                                   @gm
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 71 of 186
                              Page ID #:6012

                                   ail.co
                                   m>
                                   Subj
                                   ect:
                                   Re:
                                   C.LI.
                                   M.B

                                   Ok,
                                   than
                                   ks.
                                   Velm
                                   a can
                                   you
                                   provi
                                   de
                                   the
                                   defin
                                   ition
                                   and
                                   missi
                                   on
                                   state
                                   ment
                                   for
                                   CLIM
                                   B?

                                   Darri
                                   ck,
                                   just
                                   need
                                   a url
                                   and
                                   1-3
                                   page
                                   site.
                                   A
                                   field
                                   to
                                   join
                                   our
                                   mov
                                   eme
                                   nt/st
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 72 of 186
                              Page ID #:6013

                                   ay in
                                   touc
                                   h
                                   with
                                   CLIM
                                   B
                                   (colle
                                   ct
                                   email
                                   addr
                                   esses
                                   )

                                   Missi
                                   on
                                   State
                                   ment

                                   Logo

                                   Join
                                   us
                                   field/
                                   email
                                   capt
                                   ure

                                   Book
                                   ing
                                   info/
                                   Cont
                                   act
                                   Us
                                   page
                                   to
                                   colle
                                   ct
                                   info

                                   We
                                   need
                                   FB/I
                                   G/Tw
                                   itter
                                   set
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 73 of 186
                              Page ID #:6014

                                   up
                                   befor
                                   e
                                   next
                                   Frida
                                   y.

                                   Can
                                   we
                                   do
                                   this?

                                   If
                                   yes,
                                   Rox/
                                   Velm
                                   a
                                   let's
                                   discu
                                   ss
                                   the
                                   spon
                                   sorsh
                                   ip,
                                   swag
                                   bag
                                   inser
                                   tion,
                                   print
                                   ed
                                   mate
                                   rials,
                                   red
                                   carp
                                   et
                                   inter
                                   view
                                   oppo
                                   rtuni
                                   ty.
                                   Etc.

                                   Than
                                   ks!
                                   Suza
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 74 of 186
                              Page ID #:6015

                                   nne

                                   On
                                   Fri,
                                   May
                                   4,
                                   2018
                                   ,
                                   1:37
                                   PM
                                   Darri
                                   ck
                                   Ange
                                   lone
                                   <darr
                                   ick@
                                   hidd
                                   ene
                                   mpir
                                   efilm
                                   grou
                                   p.co
                                   m>
                                   wrot
                                   e:
                                     Hi
                                     su
                                     za
                                     nn
                                     e..
                                     .
                                     th
                                     er
                                     e
                                     is
                                     no
                                     t
                                     rig
                                     ht
                                     no
                                     w.
                                     I
                                     ne
                                     ed
                                     a
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 75 of 186
                              Page ID #:6016

                                     litt
                                     le
                                     ba
                                     ck
                                     gr
                                     ou
                                     nd
                                     be
                                     ca
                                     us
                                     e
                                     cli
                                     m
                                     b
                                     is
                                     go
                                     in
                                     g
                                     to
                                     be
                                     ta
                                     ke
                                     n
                                     in
                                     m
                                     os
                                     t
                                     co
                                     nt
                                     ex
                                     ts


                                     Se
                                     nt
                                     on
                                     th
                                     e
                                     fly
                                     ....


                                     On
                                     Fri
                                     ,
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 76 of 186
                              Page ID #:6017

                                     M
                                     ay
                                     4,
                                     20
                                     18
                                     at
                                     1:
                                     08
                                     P
                                     M
                                     -0
                                     70
                                     0,
                                     "Li
                                     fte
                                     d
                                     PR
                                     Inc
                                     "
                                     <li
                                     fte
                                     dp
                                     r
                                     @
                                     g
                                     m
                                     ail.
                                     co
                                     m
                                     >
                                     wr
                                     ot
                                     e:

                                        A
                                        l
                                        s
                                        o
                                        i
                                        s
                                        t
                                        h
                                        e
                                        r
                                        e
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 77 of 186
                              Page ID #:6018

                                       a
                                       u
                                       r
                                       l
                                       ?

                                       H
                                       i
                                       D
                                       a
                                       r
                                       r
                                       i
                                       c
                                       k
                                       !

                                       O
                                       n
                                       F
                                       r
                                       i
                                       ,
                                       M
                                       a
                                       y
                                       4
                                       ,
                                       2
                                       0
                                       1
                                       8
                                       ,
                                       1
                                       2
                                       :
                                       2
                                       5
                                       P
                                       M
                                       R
                                       o
                                       x
                                       a
                                       n
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 78 of 186
                              Page ID #:6019

                                       n
                                       e
                                       <
                                       r
                                       o
                                       x
                                       a
                                       n
                                       n
                                       e
                                       @
                                       h
                                       i
                                       d
                                       d
                                       e
                                       n
                                       e
                                       m
                                       p
                                       i
                                       r
                                       e
                                       f
                                       i
                                       l
                                       m
                                       g
                                       r
                                       o
                                       u
                                       p
                                       .
                                       c
                                       o
                                       m
                                       >
                                       w
                                       r
                                       o
                                       t
                                       e
                                       :
                                           H
                                           e
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 79 of 186
                              Page ID #:6020

                                         y
                                         D
                                         ,


                                         C
                                         a
                                         n
                                         r
                                         e
                                         m
                                         e
                                         m
                                         b
                                         e
                                         r
                                         i
                                         f
                                         w
                                         e
                                         s
                                         e
                                         c
                                         u
                                         r
                                         e
                                         d
                                         t
                                         h
                                         e
                                         s
                                         o
                                         c
                                         i
                                         a
                                         l
                                         m
                                         e
                                         d
                                         i
                                         a
                                         p
                                         l
                                         a
                                         t
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 80 of 186
                              Page ID #:6021

                                         f
                                         o
                                         r
                                         m
                                         s
                                         f
                                         o
                                         r
                                         t
                                         h
                                         e
                                         a
                                         b
                                         o
                                         v
                                         e
                                         r
                                         e
                                         f
                                         e
                                         r
                                         e
                                         n
                                         c
                                         e
                                         d
                                         n
                                         o
                                         n
                                         p
                                         r
                                         o
                                         f
                                         i
                                         t
                                         .

                                         P
                                         l
                                         e
                                         a
                                         s
                                         e
                                         a
                                         d
Case 2:22-cv-06515-MWF-AGR   Document 187-2           Filed 06/10/25   Page 81 of 186
                              Page ID #:6022

                                               v
                                               i
                                               s
                                               e

                                               T
                                               h
                                               a
                                               n
                                               k
                                               y
                                               o
                                               u




                             --
                             Suzanne Summerville
                             Lifted PR
                             (818) 385-
                             7472 Mobile
                             (818) 851-0095 Office
                             LiftedPR@gmail.com
                             *Talent Relations
                             *TV, Film & Event
                             Producer
                             *Publicity & Brand
                             Extension
                             Follow us on Twitter &
                             IG:
                             @LiftedPRInc




--
Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 82 of 186
                              Page ID #:6023




                    EXHIBIT 7
Case 2:22-cv-06515-MWF-AGR                             Document 187-2    Filed 06/10/25   Page 83 of 186
                                                        Page ID #:6024




---------- Forwarded message ---------
From: Darrick Angelone <darrickangelone@aoneent.com>
Date: Mon, Jul 9, 2018 at 9:39 AM
Subject: updated hefg social account list
To: Deon Taylor <deontaylor@me com>
Cc: Roxanne <roxanne@hiddenempirefilmgroup com>


Attached.




PRIVATE&CONFIDENTIAL

Darrick Angelone
AOne Unlimited | CEO
o: (323) 205-6506 | m: (310) 869-2354
aoneunlimited.com


From: Deon Taylor <deontaylor@me com>
Sent: Sunday, July 8, 2018 19:48
To: Darrick Angelone <darrickangelone@aoneent.com>
Cc: Roxanne <roxanne@hiddenempirefilmgroup.com>
Subject: Re: HEFG social accts

Awe man!!

Ok , thanks D!




Sent from my iPhone
Case 2:22-cv-06515-MWF-AGR                                             Document 187-2                         Filed 06/10/25                      Page 84 of 186
                                                                        Page ID #:6025

DT
God Bless.

On Jul 8, 2018, at 7:02 PM, Darrick Angelone <darrickangelone@aoneent com> wrote:

      Thats a real bummer, hope rox is ok.

      Wrecked my back so im laid up, but cAn def get on the jack with you tonight if you have time.


      Sent on the fly....


      On Sun, Jul 8, 2018 at 5:57 PM -0700, "Deon Taylor" <deontaylor@me com> wrote:

        Thank you D,

        We’re coming up for air.. Rox grand father passed.. crazy last few months..

         Owe you a call.. you around tonight?

        Sent from my iPhone

        DT
        God Bless.

        On Jul 6, 2018, at 10:34 AM, Darrick Angelone <darrickangelone@aoneent.com> wrote:

                 Happy Friday!

                 Attached is a spread sheet with all the HEFG related social accts and passwords. Please please handle this info with extreme caution, if
                 someone with access changes the passwords email login credentials, with malicious intent, there is almost nothing to be done to recover. We
                 had this issue prior with some original accounts I created for you and passed over, only to be lost to the ether (think back to
                 hiddenempirefilms com). I can not guarantee the security to accounts/servers without controlling who has access. Within my company I have
                 safeguards which restrict the information and abilities of what my staff can perform.

                 The server information listed, must be accesses via SSH, which anyone handling web development or server administration should be very
                 familiar working with. The server login info is even MORE sensitive than the social account info. Keep that in mind also. The server currently
                 hosts the following domains:


                      1. HEFG
                      2. MTB
                      3. Traffik
                      4. Supremacy

                 Let me know if you need any clarification or further details.

                 With regards,

                 Darrick Angelone
                 AOne Unlimited | CEO
                 o: (323) 205-6506 | m: (310) 869-2354
                 aoneunlimited.com


                 <Social Media Handles.pdf>



--
Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 85 of 186
                              Page ID #:6026




                    EXHIBIT
                    EXHIBIT 88
   Case 2:22-cv-06515-MWF-AGR              Document 187-2 Filed 06/10/25 Page 86 of 186
                                            Page IDFriday,
                                                    #:6027 August 19, 2022 at 09:40:30 Paciﬁc Daylight Time


Subject:    Fwd: invoicing complete through 2021
Date:       Friday, January 14, 2022 at 7:04:13 PM Paciﬁc Standard Time
From:       Roxanne Taylor
To:         Quincy Newell
ACachments: INVOICE HEFG-APR2021-REIMBURSEMENTS.pdf, ATT00001.htm, INVOICE HEFG-OCT2021.pdf,
            ATT00002.htm, INVOICE HEFG-SEPT2021.pdf, ATT00003.htm, INVOICE HEFG-NOV2021.pdf,
            ATT00004.htm, INVOICE HEFG-DEC2021.pdf, ATT00005.htm, INVOICE FNP-DEC2021.pdf,
            ATT00006.htm, INVOICE BHITM-DEC2021.pdf, ATT00007.htm, INVOICE BHITM-NOV2021.pdf,
            ATT00008.htm, INVOICE HEFG-AUG2021.pdf, ATT00009.htm, INVOICE BHITM-
            UPDATES2021.pdf, ATT00010.htm, INVOICE FEAR-AUG2021.pdf, ATT00011.htm, INVOICE-
            THND-AUG.2021.pdf, ATT00012.htm, INVOICE HEFG-FEB2021 v2.pdf, ATT00013.htm, INVOICE
            HEFG- DEC2020.pdf, ATT00014.htm



Sent from my iPhone

Begin forwarded message:


      From: darrick@aone.la
      Date: January 12, 2022 at 9:32:44 AM PST
      To: Roxanne Taylor <roxanne@hiddenempireﬁlmgroup.com>
      Subject: invoicing complete through 2021



      Good morning Rox,

      AMached are the open invoices, whoever the new accountant is, I’m not sure of their mode, it
      seems random invoices are selected and paid, so while jan, march, April were paid, dec 2020,
      feb 2021 have not. So I’ve aMached the open invoices through the end of 2021, and will give a
      brief summary below. Thanks you.

      HEFG:
      Dec 2020
      Feb 2021
      Aug 2021
      Sep 2021
      Oct 2021
      Nov 2021
      Dec 2021
      Apr 2021 reimbursement receipt

      BHITM:
      Sep 2021
      Nov 2021
      Dec 2021

      FEAR:


                                                                                                      Page 1 of 2
Case 2:22-cv-06515-MWF-AGR            Document 187-2    Filed 06/10/25   Page 87 of 186
                                       Page ID #:6028

  Aug 2021

  THND:
  Aug 2021

  FactsnotpoliYcs
  Nov/Dec 2021 (one invoice)

  With regards,

  Darrick Angelone
  AOne Creative LLC.
  o: 323.205.6506 | m: 310.869.2354
  aone.la




                                                                                      Page 2 of 2
       Case 2:22-cv-06515-MWF-AGR               Document 187-2       Filed 06/10/25     Page 88 of 186
                                                 Page ID #:6029


KGXA
angelone   entertainment


                                                                                           INVOICE
                                                                              INVOICE BHITM-DEC2021
                                                                              TERM: December 1 - 31
                                                                               DATE: January 03, 2022

  Bill To:
  Black History in Two Minutes
  c/o Hyper Engine LLC



    Description                                                                                       Amount

    Encoding & Publishing 3x episode (Mamie Till Mobley, Clotilda, Segregated
    Travel)                                                                                        $2,250.00
    3 x @ $750 per episode - 3x Platforms
    Annual Hosting 3x episode ( Mamie Till Mobley, Clotilda, Segregated Travel )                        $150.00
    3 x @ $50 Per Episode Annual
    3 x Edit Promo Clips 3x episode (Mamie Till Mobley, Clotilda, Segregated
    Travel)                                                                                             $747.00
    3 hours @ $249 per hour
    Social Publishing Calendar & Scheduling
    3x platforms
    Community Management                                                                                $660.00
    6 hours @ $110 Per hour
    Copywriting
    2 hours @ $159.70 Per hour                                                                          $319.40


                                                                       Sub Total                 $4,126.40




                                                                         Total:                $4,126.40



Please remit payment via wire transfer or direct deposit to:

                                                          OR MAIL TO:
                                                          AONE
                                                          340 S. LEMON AVE
                                                          SUITE 3390
                                                          WALNUT, CA 91789
       Case 2:22-cv-06515-MWF-AGR               Document 187-2       Filed 06/10/25     Page 89 of 186
                                                 Page ID #:6030


KGXA
angelone   entertainment


                                                                                           INVOICE
                                                                              INVOICE BHITM-NOV2021
                                                                              TERM: November 1 - 30
                                                                               DATE: January 03, 2022

  Bill To:
  Black History in Two Minutes
  c/o Hyper Engine LLC



    Description                                                                                     Amount

    Encoding & Publishing 3x episode (History of the Black Soldier, 15th
    Amendment, Black Farmers)                                                                      $2,250.00
    3 x @ $750 per episode - 3x Platforms
    Annual Hosting 3x episode (History of the Black Soldier, 15th Amendment,
    Black Farmers)                                                                                      $150.00
    3 x @ $50 Per Episode Annual
    3 x Edit Promo Clips 3x episode (History of the Black Soldier, 15th
    Amendment,     Black Farmers)                                                                       $747.00
    3 hours @ $249 per hour
    Social Publishing Calendar & Scheduling
    3x platforms
    Community Management                                                                                $660.00
    6 hours @ $110 Per hour
    Copywriting
    2 hours @ $159.70 Per hour                                                                          $319.40


                                                                       Sub Total                 $4,126.40




                                                                         Total:                $4,126.40



Please remit payment via wire transfer or direct deposit to:

                                                          OR MAIL TO:
                                                          AONE
                                                          340 S. LEMON AVE
                                                          SUITE 3390
                                                          WALNUT, CA 91789
        Case 2:22-cv-06515-MWF-AGR                 Document 187-2            Filed 06/10/25     Page 90 of 186
                                                    Page ID #:6031



NEÑA
angelone   entertainment
                                                                                                               INVOICE
                                                                                                   INVOICE BHITM-UPDATES
                                                                                                  DATE: SEPTEMBER 7, 2021

  Bill To:
  Hidden Empire Film Group


     Description                                                                                             Amount

     Update/Create BHITM website pages per terakeet recommendations.
         e     https://blackhistoryintwominutes.com/
              https://blackhistoryintwominutes.com/episodes/
              https://blackhistoryintwominutes.com/about/
              https://blackhistoryintwominutes.com/teaching-quide/
              https://blackhistoryintwominutes.com/teaching-quide/introduction/                                $2,000
              https://blackhistoryintwominutes.com/teaching-quide/lessons/                                        ’
              https://blackhistoryintwominutes.com/teaching-quide/graphic-organizers/
              https://blackhistoryintwominutes.com/teaching-quide/text-dependent-questions/
              https://blackhistoryintwominutes.com/teaching-quide/plug-and-play-activities/
              https://blackhistoryintwominutes.com/subscribe-to-black-history-in-two-minutes-or-so/

     SEO optimize the following BHITM website pages:
         e     https://blackhistoryintwominutes.com/
              https://blackhistoryintwominutes.com/episodes/
              https://blackhistoryintwominutes.com/about/
              https://blackhistoryintwominutes.com/teaching-quide/
              https://blackhistoryintwominutes.com/teaching-guide/introduction/
                                                                                                                 $500
              https://blackhistoryintwominutes.com/teaching-quide/lessons/
              https://blackhistoryintwominutes.com/teaching-quide/graphic-organizers/
              https://blackhistoryintwominutes.com/teaching-quide/text-dependent-questions/
              https://blackhistoryintwominutes.com/teaching-quide/plug-and-play-activities/
              https://blackhistoryintwominutes.com/subscribe-to-black-history-in-two-minutes-or-so/


                                                                                  Sub Total:                   $2,500




                                                                                Total Due:                    $2,500


Please remit payment via wire transfer or direct deposit to:

                                                               Or mail to:
                                                               AONE
                                                               2529 Griffith Park Blvd
                                                               Los Angeles, CA 90039
        Case 2:22-cv-06515-MWF-AGR                            Document 187-2        Filed 06/10/25    Page 91 of 186
                                                               Page ID #:6032


KGXA
angelone       entertainment
                                                                                                                      INVOICE
                                                                                                          INVOICE FEAR-AUG2021
                                                                                                             TERM: AUGUST 1 - 31
                                                                                                       DATE: SEPTEMBER 3, 2021

  Bill To:
  Social Distance Movie LLC.



     Description                                                                                                   Amount

     FEAR Establish and skin social profiles                                                                         $2,500
     Facebook/IG/Twitter/Youtube/                                                                                      ’
     Fear.Movie Domain Registration (invoice below)
                      :           ;                                                                                  $29.16
           o    https://fear.movie
     Fear Mowe Develop landing page                                                                                  $1,000
        ttps://fear.movie
     Fear.Movie
                    o    Create database
                    o    plugin setup                                                                                  $500
                    o    database optimization
                      o      platform setup & configuration
     Fear.movie
           e     configure   facebook pixel tracking
           e     configure   google tag manager                                                                      $2,500
           e     configure   google analytics tracking
           e     configure   google console
     Social management & engagement
           e     Announcement Launch Amplification                                                                   $2,000
           e     Share with and amplify cast social posts                                                               ,
           e     Amplify press

                                                                                         Sub Total:               $8,529.16




                                                                                       Total Due:               $8,529.16


Please remit payment via wire transfer or direct deposit to:

                                                                      Or mail to:
                                                                      AONE
                                                                      2529 Griffith Park Blvd
                                                                      Los Angeles, CA 90039
        Case 2:22-cv-06515-MWF-AGR                      Document 187-2        Filed 06/10/25       Page 92 of 186
                                                         Page ID #:6033


KGXA
angelone       entertainment
                                                                                                                  INVOICE
                                                                                                        INVOICE FNP-DEC2021
                                                                                            TERM: NOVEMBER & DECEMBER 2021
                                                                                                       DATE: JANUARY 6, 2021

  Bill To:
  Hyper Engine


     Description                                                                                                Amount


     FNP Establish and skin social profiles
                                                                                                                  $2,500
     Facebook/IG/Twitter/Youtube/
     Factsnotpolitics.org Domain Registration (invoice below)
                                                                                                                   $9.06
           e     _https://factsnotpolitics
                                        org
     Factsnotpolitics.org Develop landing page
                                                                                                                  $1,000
          e    https://factsnotpolitics.or:
     Factsnotpolitics. org
          e    Create database
          e    plugin setup                                                                                         $500
          e    database optimization
           e _ platform setup € configuration
     Factsnotpolitics.org
          e    configure facebook pixel tracking
          e    configure google tag manager                                                                       $2,500
          e    configure google analytics tracking
           e  configure google console
     Social management & engagement
           e     Launch Amplification
                                                                                                                  $2,000
           e     Develop Audience
           e     Share with and amplify

                                                                                   Sub Total:                  $8,509.06


                                                                                 Total Due:                  $8,509.06


Please remit payment via wire transfer or direct deposit to:

                                                                Or mail to:
                                                                AONE
                                                                2529 Griffith Park Blvd
                                                                Los Angeles, CA 90039
       Case 2:22-cv-06515-MWF-AGR                           Document 187-2     Filed 06/10/25   Page 93 of 186
                                                             Page ID #:6034


KGXA
angelone        entertainment


                                                                                                  INVOICE
                                                                                        INVOICE HEFG-DEC2020
                                                                                        TERM: DECEMBER 1 - 31
                                                                                        DATE: FEBRUARY 3, 2021

  Bill To:
  Hidden Empire Film Group



    Description                                                                                          Amount

    Hefg social Postings (HEFG/MTB/traffik/intruder)
    Community management and engagement: All HEFG Socials                                                  $2,000
    Facebook/IG/Twitter/Youtube 20 + Social Profiles
    Fatale Theatrical Release:
           e      Influencer campaign
           e      Website configuration with Lionsgate digital                                             $5,000
           +.     Messaging amplification                                                                    ’
           e      paid media campaign management




                                                                                 Sub Total               $7,000

                                                                              Reduced Fee               -$2,000

                                                                         Total Balance:                 $5,000


Please remit payment via wire transfer or direct deposit to:

                                                   OR MAIL TO:
                                                   AONE
                                                   340 S. LEMON AVE
                                                   SUITE 3390
                                                   WALNUT, CA 91789
       Case 2:22-cv-06515-MWF-AGR               Document 187-2    Filed 06/10/25    Page 94 of 186
                                                 Page ID #:6035


KGXA
angelone     entertainment


                                                                                      INVOICE
                                                                             INVOICE HEFG-APR2021-RE
                                                                             REIMBUREMENT
                                                                             DATE: APRIL 3", 2021

  Bill To:
  Hidden Empire Film Group



    Description                                                                               Amount

    Google Suite November 1, 2020 — March 31, 2021
    (Reimbursement for invoices attached and already paid by aone)                            $764.50
    Paid Invoices below
    Domain Registrations November 1, 2020 - April 3, 2021
    (Reimbursement for invoices attached and already paid by aone)                            $446.00
    Paid Invoices below
    HEFG web server hosting November 1, 2020 - March 31, 2021
    (Reimbursement for invoices attached and already paid by aone)                            $206.80
    Paid Invoices below


                                                                     Sub Total             $1,417.30




                                                                       Total:             $1,417.30


Please remit payment via wire transfer or direct deposit to:

                                         OR MAIL TO:
                                         AONE
                                         340 S. LEMON AVE
                                         SUITE 3390
                                         WALNUT, CA 91789
          Case 2:22-cv-06515-MWF-AGR               Document 187-2            Filed 06/10/25           Page 95 of 186
                                                    Page ID #:6036

                                                                                                                    Google LLC
                                                                                                        1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                  Un ted States
 nvo ce number 3885239505                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Workspace
nvo ce number                    3885239505
nvo ce date                      Mar 31, 2021                Tota n USD                                           $215.61
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Mar 1, 2021 - Mar 31, 2021


                                                             Subtota n USD                                             $215 61
                                                             Tax (0%)                                                    $0 00
                                                             Tota n USD                                                $215 61



You w be automat ca y charged for any amount due




                                                                                                                    Page 1 of 2
      Case 2:22-cv-06515-MWF-AGR                          Document 187-2                    Filed 06/10/25       Page 96 of 186
                                                           Page ID #:6037
Google” invoice                                                                                                   nvo ce number   3885239505



Subscription                     Description                   Interval                                      Quantity              Amount($)

G Su te Bus ness                 Usage                         Mar 1 - Mar 16                                      17                  105 29
G Su te Bus ness                 Usage                         Mar 17 - Mar 31                                     19                  110 32
                                                                          Subtota    nUSD                                             $215 61
                                                                          Tax (0%)                                                      $0 00

                                                                          Tota   nUSD                                             $215.61


   Need help understanding the charges on your invoice? C ck here for deta ed exp anat ons
   https //support goog e com/a?p=gsu te-b     s-and-charges




                                                                                                                                   Page 2 of 2
          Case 2:22-cv-06515-MWF-AGR               Document 187-2            Filed 06/10/25           Page 97 of 186
                                                    Page ID #:6038

                                                                                                                    Google LLC
                                                                                                        1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                  Un ted States
 nvo ce number 3824695636                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Cloud - G Suite
nvo ce number                    3824695636
nvo ce date                      Nov 30, 2020                Tota n USD                                           $180.00
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Nov 1, 2020 - Nov 30, 2020


                                                             Subtota n USD                                             $180 00
                                                             Tax (0%)                                                    $0 00
                                                             Tota n USD                                                $180 00



You w be automat ca y charged for any amount due




                                                                                                                    Page 1 of 2
      Case 2:22-cv-06515-MWF-AGR                           Document 187-2              Filed 06/10/25   Page 98 of 186
                                                            Page ID #:6039
Go         gle       Invoice                                                                             nvo ce number   3824695636



Subscription                      Description                   Interval                            Quantity              Amount($)

G Su te Bus ness                  Usage                         Nov 1 - Nov 30                            15                  180 00

                                                                       Subtota n USD                                         $180 00
                                                                       Tax (0%)                                                 $0 00

                                                                       Tota nUSD                                         $180.00



   Need help understanding the charges on your invoice? C ck here for deta ed exp anat ons
   https //support goog e com/a?p=gsu te-b      s-and-charges




                                                                                                                          Page 2 of 2
          Case 2:22-cv-06515-MWF-AGR               Document 187-2            Filed 06/10/25           Page 99 of 186
                                                    Page ID #:6040

                                                                                                                    Google LLC
                                                                                                        1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                  Un ted States
 nvo ce number 3840838950                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Workspace
nvo ce number                    3840838950
nvo ce date                      Dec 31, 2020                Tota n USD                                           $188.50
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Dec 1, 2020 - Dec 31, 2020


                                                             Subtota n USD                                             $188 50
                                                             Tax (0%)                                                    $0 00
                                                             Tota n USD                                                $188 50



You w be automat ca y charged for any amount due




                                                                                                                    Page 1 of 2
     Case 2:22-cv-06515-MWF-AGR                          Document 187-2                     Filed 06/10/25      Page 100 of 186
                                                          Page ID #:6041
Google” invoice                                                                                                   nvo ce number   3840838950



Subscription                     Description                   Interval                                      Quantity              Amount($)

G Su te Bus ness                 Usage                         Dec 1 -Dec 9                                        15                   52 25
G Su te Bus ness                 Usage                         Dec 10 - Dec 31                                     16                  136 25
                                                                          Subtota    nUSD                                             $188 50
                                                                          Tax (0%)                                                      $0 00

                                                                          Tota   nUSD                                             $188.50


   Need help understanding the charges on your invoice? C ck here for deta_ed exp anat ons
   https //support goog e com/a?p=gsu te-b     s-and-charges




                                                                                                                                   Page 2 of 2
          Case 2:22-cv-06515-MWF-AGR               Document 187-2          Filed 06/10/25             Page 101 of 186
                                                    Page ID #:6042

                                                                                                                    Google LLC
                                                                                                         1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                   Un ted States
 nvo ce number 3853779214                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Workspace
nvo ce number                    3853779214
nvo ce date                      Jan 31, 2021                Tota n USD                                            $192.00
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Jan 1, 2021 - Jan 31, 2021


                                                             Subtota n USD                                              $192 00
                                                             Tax (0%)                                                     $0 00
                                                             Tota n USD                                                 $192 00



You w be automat ca y charged for any amount due




                                                                                                                     Page 1 of 2
     Case 2:22-cv-06515-MWF-AGR                           Document 187-2               Filed 06/10/25       Page 102 of 186
                                                           Page ID #:6043
Go         gle       Invoice                                                                                 nvo ce number 3853779214


Subscription                      Description                   Interval                                Quantity            Amount($)

G Su te Bus ness                  Usage                         Jan 1 - Jan 31                                16                192 00

                                                                       Subtota n USD                                           $192 00
                                                                       Tax (0%)                                                   $0 00

                                                                       Tota nUSD                                          $192.00



   Need help understanding the charges on your invoice? C ck here for deta ed exp anat ons
   https //support goog e com/a?p=gsu te-b      s-and-charges




                                                                                                                            Page 2 of 2
          Case 2:22-cv-06515-MWF-AGR               Document 187-2          Filed 06/10/25             Page 103 of 186
                                                    Page ID #:6044

                                                                                                                    Google LLC
                                                                                                         1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                   Un ted States
 nvo ce number 3872608960                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Workspace
nvo ce number                    3872608960
nvo ce date                      Feb 28, 2021                Tota n USD                                            $204.00
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Feb 1, 2021 - Feb 28, 2021


                                                             Subtota n USD                                              $204 00
                                                             Tax (0%)                                                     $0 00
                                                             Tota n USD                                                 $204 00



You w be automat ca y charged for any amount due




                                                                                                                     Page 1 of 2
     Case 2:22-cv-06515-MWF-AGR                           Document 187-2               Filed 06/10/25       Page 104 of 186
                                                           Page ID #:6045
Go         gle       Invoice                                                                                 nvo ce number 3872608960

Subscription                      Description                   Interval                                Quantity            Amount($)

G Su te Bus ness                  Usage                         Feb 1 - Feb 28                                17                204 00

                                                                       Subtota n USD                                           $204 00
                                                                       Tax (0%)                                                   $0 00

                                                                       Tota nUSD                                          $204.00



   Need help understanding the charges on your invoice? C ck here for deta ed exp anat ons
   https //support goog e com/a?p=gsu te-b      s-and-charges




                                                                                                                            Page 2 of 2
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 105 of 186
                                    Page ID #:6046
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 65714243      support@namecheap.com




Order Date          : 11/11/2020 1:07:26 AM   Payment Source        : CreditCard
Order Number        : 65714243                Initial Charge        : $39.48
Transaction ID      : 75097304                Final Cost            : $39.48
User Name           : aoneent
Address             : darrick angelone        Total Refund          : $0.00
                      manager                 Refund Transaction    : N/A
                      aone entertainment      ID
                      llc
                      340 S lemon ave         Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION       PRICE         SUB TOTAL
RENEW            RENEW whoisguard-       1    1 year           $0.00               $0.00
                 protect-one                                             ICANN Fee $0.00
                 for
                 hiddenempirefilms.com
RENEW            RENEW                   1    1 year            $12.98            $12.98
                 hiddenempirefilms.com                                   ICANN Fee $0.18
RENEW            RENEW whoisguard-       1    1 year             $0.00             $0.00
                 protect-one                                             ICANN Fee $0.00
                 for deontaylorfilms.com
RENEW            RENEW                   1    1 year            $12.98            $12.98
                 deontaylorfilms.com                                     ICANN Fee $0.18
RENEW            RENEW whoisguard-       1    1 year             $0.00             $0.00
                 protect-one                                             ICANN Fee $0.00
                 for deontaylor.com
RENEW            RENEW deontaylor.com 1       1 year            $12.98            $12.98
                                                                         ICANN Fee $0.18
                                                            Sub Total             $39.48
                                                              TOTAL               $39.48

Additional Transaction Details:
Order                  # bda0b3d4-a445-43b5-8097-16832f8b0008
Approval               # ch_1HmCULI2aKwfvOvn72Egqi6W
   Case 2:22-cv-06515-MWF-AGR       Document 187-2 Filed 06/10/25 Page 106 of 186
                                     Page ID #:6047
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 65974211      support@namecheap.com




Order Date          : 11/16/2020 1:46:59 AM    Payment Source        : CreditCard
Order Number        : 65974211                 Initial Charge        : $26.32
Transaction ID      : 75405434                 Final Cost            : $26.32
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION          PRICE       SUB TOTAL
RENEW             RENEW                  1    1 year             $12.98            $12.98
                  supremacyfilm.com                                       ICANN Fee $0.18
RENEW             RENEW                 1       1 year           $12.98            $12.98
                  meettheblacksmovie.co                                   ICANN Fee $0.18
                  m
                                                             Sub Total              $26.32
                                                               TOTAL                $26.32

Additional Transaction Details:
Order                  # 440308bc-9e85-4d92-a30e-fc172c15ac8d
Approval               # ch_1Ho1UMI2aKwfvOvnwVlPbJRx
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 107 of 186
                                    Page ID #:6048
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 67960859      support@namecheap.com




Order Date          : 1/1/2021 1:44:07 AM     Payment Source        : CreditCard
Order Number        : 67960859                Initial Charge        : $26.32
Transaction ID      : 77870887                Final Cost            : $26.32
User Name           : aoneent
Address             : darrick angelone        Total Refund          : $0.00
                      manager                 Refund Transaction    : N/A
                      aone entertainment      ID
                      llc
                      340 S lemon ave         Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE               NAME            QTY DURATION          PRICE         SUB TOTAL
RENEW            RENEW hooptofilm.com 1    1 year             $12.98              $12.98
                                                                         ICANN Fee $0.18
RENEW            RENEW hoop2film.com 1         1 year           $12.98            $12.98
                                                                         ICANN Fee $0.18
                                                            Sub Total             $26.32
                                                              TOTAL               $26.32

Additional Transaction Details:
Order                  # 68e0b692-411f-4980-b7a6-658e370247e7
Approval               # ch_1I4hMoI2aKwfvOvn5sAaQejW
   Case 2:22-cv-06515-MWF-AGR       Document 187-2 Filed 06/10/25 Page 108 of 186
                                     Page ID #:6049
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 68041851      support@namecheap.com




Order Date          : 1/3/2021 2:20:31 AM      Payment Source          : CreditCard
Order Number        : 68041851                 Initial Charge          : $13.16
Transaction ID      : 77965378                 Final Cost              : $13.16
User Name           : aoneent
Address             : darrick angelone         Total Refund            : $0.00
                      manager                  Refund Transaction      : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To             : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION          PRICE         SUB TOTAL
RENEW             RENEW                  1    1 year             $12.98              $12.98
                  supremacymovie.com                                        ICANN Fee $0.18
                                                                Sub Total            $13.16
                                                                  TOTAL              $13.16

Additional Transaction Details:
Order                  # 2bfae3ec-2465-4557-a4cf-963504b8a7cd
Approval               # ch_1I5Qt8I2aKwfvOvnjBPcftve
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 109 of 186
                                    Page ID #:6050
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                             RECEIPT              Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 68508634      support@namecheap.com




Order Date          : 1/13/2021 1:08:23 AM     Payment Source        : CreditCard
Order Number        : 68508634                 Initial Charge        : $15.16
Transaction ID      : 78526048                 Final Cost            : $15.16
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME              QTY DURATION        PRICE       SUB TOTAL
RENEW            RENEW whoisguard-         1    1 year            $0.00             $0.00
                 protect-one                                              ICANN Fee $0.00
                 for climborganization.org
RENEW            RENEW                     1    1 year           $14.98            $14.98
                 climborganization.org                                    ICANN Fee $0.18
                                                            Sub Total              $15.16
                                                              TOTAL                $15.16

Additional Transaction Details:
Order                  # b7dd4059-dce8-4da3-ab8c-4269f966dad7
Approval               # ch_1I92WoI2aKwfvOvneg2PPOtd
   Case 2:22-cv-06515-MWF-AGR       Document 187-2 Filed 06/10/25 Page 110 of 186
                                     Page ID #:6051
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 69439106      support@namecheap.com




Order Date          : 2/1/2021 1:47:30 AM      Payment Source          : CreditCard
Order Number        : 69439106                 Initial Charge          : $13.16
Transaction ID      : 79664210                 Final Cost              : $13.16
User Name           : aoneent
Address             : darrick angelone         Total Refund            : $0.00
                      manager                  Refund Transaction      : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To             : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME              QTY DURATION        PRICE         SUB TOTAL
RENEW             RENEW                    1    1 year           $12.98              $12.98
                  hyperenginellc.com                                        ICANN Fee $0.18
RENEW             RENEW whoisguard-        1    1 year             $0.00              $0.00
                  protect-one                                               ICANN Fee $0.00
                  for hyperenginellc.com
                                                                Sub Total             $13.16
                                                                  TOTAL               $13.16

Additional Transaction Details:
Order                  # dd973b9b-9b31-4fdb-a5cd-cb1b5830f7b8
Approval               # ch_1IFwC5I2aKwfvOvn92vk1UHb
    Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 111 of 186
                                     Page ID #:6052
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 69654769      support@namecheap.com




Order Date           : 2/4/2021 8:47:12 PM      Payment Source         : CreditCard
Order Number         : 69654769                 Initial Charge         : $9.06
Transaction ID       : 79939056                 Final Cost             : $9.06
User Name            : aoneent
Address              : darrick angelone         Total Refund           : $0.00
                       manager                  Refund Transaction     : N/A
                       aone entertainment       ID
                       llc
                       340 S lemon ave          Refunded To            : N/A
                       walnut
                       CA , 91789
                       US



    TYPE                 NAME              QTY DURATION         PRICE         SUB TOTAL
PURCHASE          Free WhoisGuard         1    1 year             $0.00                $0.00
                                                                                 Setup $0.00
REGISTER          Domain Registration     1     1 year             $8.88               $8.88
                  aventvii.com                                              ICANN Fee $0.18
                                                                Sub Total              $9.06
                                                                  TOTAL                $9.06

Additional Transaction Details:
Order                  # 23e10191-c8fe-4410-b4fd-9dcd9f6909c0
Approval               # ch_1IHJPfI2aKwfvOvnGmGVVnqO
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 112 of 186
                                    Page ID #:6053
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                             RECEIPT              Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 69762002      support@namecheap.com




Order Date          : 2/7/2021 4:56:09 AM      Payment Source        : CreditCard
Order Number        : 69762002                 Initial Charge        : $9.06
Transaction ID      : 80070347                 Final Cost            : $9.06
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                NAME              QTY DURATION          PRICE       SUB TOTAL
PURCHASE         Free WhoisGuard         1    1 year              $0.00              $0.00
                                                                               Setup $0.00
REGISTER         Domain Registration     1     1 year             $8.88              $8.88
                 aventviii.com                                            ICANN Fee $0.18
                                                            Sub Total                $9.06
                                                              TOTAL                  $9.06

Additional Transaction Details:
Order                  # 92292327-ebab-4c24-a51f-a82d8c873025
Approval               # ch_1II9zvI2aKwfvOvnLYepwLXB
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 113 of 186
                                    Page ID #:6054
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                             RECEIPT              Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 71627676      support@namecheap.com




Order Date          : 3/18/2021 1:54:12 AM     Payment Source        : CreditCard
Order Number        : 71627676                 Initial Charge        : $43.22
Transaction ID      : 82364717                 Final Cost            : $43.22
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION          PRICE       SUB TOTAL
RENEW            RENEW                   1    1 year             $29.88            $29.88
                 theblackchair.show                                       ICANN Fee $0.18
RENEW            RENEW                   1     1 year            $12.98            $12.98
                 blackchairshow.com                                       ICANN Fee $0.18
                                                            Sub Total              $43.22
                                                              TOTAL                $43.22

Additional Transaction Details:
Order                  # 0fbad02a-e445-490b-bbcb-c288645ac948
Approval               # ch_1IWEoAI2aKwfvOvnHVliJk3X
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 114 of 186
                                    Page ID #:6055
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 72488530      support@namecheap.com




Order Date          : 4/3/2021 3:45:11 AM     Payment Source          : CreditCard
Order Number        : 72488530                Initial Charge          : $251.06
Transaction ID      : 83480055                Final Cost              : $251.06
User Name           : aoneent
Address             : darrick angelone        Total Refund            : $0.00
                      manager                 Refund Transaction      : N/A
                      aone entertainment      ID
                      llc
                      340 S lemon ave         Refunded To             : N/A
                      walnut
                      CA , 91789
                      US



    TYPE               NAME               QTY DURATION          PRICE        SUB TOTAL
RENEW            RENEW traffik.movie     1    1 year             $250.88           $250.88
                                                                           ICANN Fee $0.18
                                                            Sub Total              $251.06
                                                              TOTAL                $251.06

Additional Transaction Details:
Order                  # b9f8eb6e-aa93-42ac-bd41-26ea2727e272
Approval               # ch_1Ic4AMI2aKwfvOvnkIu9MhrI
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 115 of 186
                                    Page ID #:6056
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 66448705      support@namecheap.com




Order Date          : 11/27/2020 5:30:51 AM   Payment Source        : CreditCard
Order Number        : 66448705                Initial Charge        : $40.76
Transaction ID      : 75997167                Final Cost            : $40.76
User Name           : aoneent
Address             : darrick angelone        Total Refund          : $0.00
                      manager                 Refund Transaction    : N/A
                      aone entertainment      ID
                      llc
                      walnut                  Refunded To           : N/A
                      S , 91789
                      US



    TYPE                      NAME            QTY DURATION   PRICE         SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH     $24.88              $24.88
                     for                                                 ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Nov 26 2020 - Dec
                     26 2020)
  Additional Backup Storage: None                               $0.00               $0.00
  Additional Traffic: None                                      $0.00               $0.00
  CXS license: No                                               $0.00               $0.00
  Dedicated IPs: None                                           $0.00               $0.00
  Disc space: Standard                                          $0.00               $0.00
  IP addresses by default: 2 IP addresses                       $0.00               $0.00
  Operating System: CentOS 7 cPanel 64 Bit                      $0.00               $0.00
  RAM: Standard                                                 $0.00               $0.00
  Server Management: Self-managed                               $0.00               $0.00
  Softaculous: no                                               $0.00               $0.00
  WHMCS - Hosting Billing CMS: No                               $0.00               $0.00
  cPanel control panel: cPanel VPS 30                          $15.88              $15.88
                                                             Sub Total             $40.76
                                                               TOTAL               $40.76

Additional Transaction Details:
Order                  # ch_1Hs4E2I2aKwfvOvn2ZJ7BOxk
Approval               # ch_1Hs4E2I2aKwfvOvn2ZJ7BOxk
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 116 of 186
                                    Page ID #:6057
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 67763314      support@namecheap.com




Order Date          : 12/27/2020 6:28:06 AM   Payment Source        : CreditCard
Order Number        : 67763314                Initial Charge        : $40.76
Transaction ID      : 77632124                Final Cost            : $40.76
User Name           : aoneent
Address             : darrick angelone        Total Refund          : $0.00
                      manager                 Refund Transaction    : N/A
                      aone entertainment      ID
                      llc
                      walnut                  Refunded To           : N/A
                      S , 91789
                      US



    TYPE                      NAME            QTY DURATION   PRICE         SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH     $24.88              $24.88
                     for                                                 ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Dec 26 2020 - Jan
                     26 2021)
  Additional Backup Storage: None                               $0.00               $0.00
  Additional Traffic: None                                      $0.00               $0.00
  CXS license: No                                               $0.00               $0.00
  Dedicated IPs: None                                           $0.00               $0.00
  Disc space: Standard                                          $0.00               $0.00
  IP addresses by default: 2 IP addresses                       $0.00               $0.00
  Operating System: CentOS 7 cPanel 64 Bit                      $0.00               $0.00
  RAM: Standard                                                 $0.00               $0.00
  Server Management: Self-managed                               $0.00               $0.00
  Softaculous: no                                               $0.00               $0.00
  WHMCS - Hosting Billing CMS: No                               $0.00               $0.00
  cPanel control panel: cPanel VPS 30                          $15.88              $15.88
                                                             Sub Total             $40.76
                                                               TOTAL               $40.76

Additional Transaction Details:
Order                  # ch_1I2xPsI2aKwfvOvnckTzzGlW
Approval               # ch_1I2xPsI2aKwfvOvnckTzzGlW
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 117 of 186
                                    Page ID #:6058
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 69185598      support@namecheap.com




Order Date          : 1/27/2021 5:53:55 AM    Payment Source        : CreditCard
Order Number        : 69185598                Initial Charge        : $41.76
Transaction ID      : 79327667                Final Cost            : $41.76
User Name           : aoneent
Address             : darrick angelone        Total Refund          : $0.00
                      manager                 Refund Transaction    : N/A
                      aone entertainment      ID
                      llc
                      walnut                  Refunded To           : N/A
                      S , 91789
                      US



    TYPE                      NAME            QTY DURATION   PRICE         SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH     $24.88              $24.88
                     for                                                 ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Jan 26 2021 - Feb
                     26 2021)
  Additional Backup Storage: None                               $0.00               $0.00
  Additional Traffic: None                                      $0.00               $0.00
  CXS license: No                                               $0.00               $0.00
  Dedicated IPs: None                                           $0.00               $0.00
  Disc space: Standard                                          $0.00               $0.00
  IP addresses by default: 2 IP addresses                       $0.00               $0.00
  Operating System: CentOS 7 cPanel 64 Bit                      $0.00               $0.00
  RAM: Standard                                                 $0.00               $0.00
  Server Management: Self-managed                               $0.00               $0.00
  Softaculous: no                                               $0.00               $0.00
  WHMCS - Hosting Billing CMS: No                               $0.00               $0.00
  cPanel control panel: cPanel VPS 30                          $16.88              $16.88
                                                             Sub Total             $41.76
                                                               TOTAL               $41.76

Additional Transaction Details:
Order                  # ch_1IEBenI2aKwfvOvnXZPWFzjp
Approval               # ch_1IEBenI2aKwfvOvnXZPWFzjp
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 118 of 186
                                    Page ID #:6059
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 70714531      support@namecheap.com




Order Date          : 2/27/2021 6:49:42 AM    Payment Source        : CreditCard
Order Number        : 70714531                Initial Charge        : $41.76
Transaction ID      : 81236366                Final Cost            : $41.76
User Name           : aoneent
Address             : darrick angelone        Total Refund          : $0.00
                      manager                 Refund Transaction    : N/A
                      aone entertainment      ID
                      llc
                      walnut                  Refunded To           : N/A
                      S , 91789
                      US



    TYPE                      NAME            QTY DURATION   PRICE         SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH     $24.88              $24.88
                     for                                                 ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Feb 26 2021 - Mar
                     26 2021)
  Additional Backup Storage: None                               $0.00               $0.00
  Additional Traffic: None                                      $0.00               $0.00
  CXS license: No                                               $0.00               $0.00
  Dedicated IPs: None                                           $0.00               $0.00
  Disc space: Standard                                          $0.00               $0.00
  IP addresses by default: 2 IP addresses                       $0.00               $0.00
  Operating System: CentOS 7 cPanel 64 Bit                      $0.00               $0.00
  RAM: Standard                                                 $0.00               $0.00
  Server Management: Self-managed                               $0.00               $0.00
  Softaculous: no                                               $0.00               $0.00
  WHMCS - Hosting Billing CMS: No                               $0.00               $0.00
  cPanel control panel: cPanel VPS 30                          $16.88              $16.88
                                                             Sub Total             $41.76
                                                               TOTAL               $41.76

Additional Transaction Details:
Order                  # ch_1IPRImI2aKwfvOvnNqFjLP8m
Approval               # ch_1IPRImI2aKwfvOvnNqFjLP8m
   Case 2:22-cv-06515-MWF-AGR       Document 187-2 Filed 06/10/25 Page 119 of 186
                                     Page ID #:6060
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 72084446      support@namecheap.com




Order Date          : 3/27/2021 6:44:00 AM     Payment Source       : CreditCard
Order Number        : 72084446                 Initial Charge       : $41.76
Transaction ID      : 82919584                 Final Cost           : $41.76
User Name           : aoneent
Address             : darrick angelone         Total Refund         : $0.00
                      manager                  Refund Transaction   : N/A
                      aone entertainment       ID
                      llc
                      walnut                   Refunded To          : N/A
                      S , 91789
                      US



    TYPE                      NAME            QTY DURATION    PRICE        SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH      $24.88             $24.88
                     for                                                 ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Mar 26 2021 - Apr
                     26 2021)
  Additional Backup Storage: None                               $0.00                $0.00
  Additional Traffic: None                                      $0.00                $0.00
  CXS license: No                                               $0.00                $0.00
  Dedicated IPs: None                                           $0.00                $0.00
  Disc space: Standard                                          $0.00                $0.00
  IP addresses by default: 2 IP addresses                       $0.00                $0.00
  Operating System: CentOS 7 cPanel 64 Bit                      $0.00                $0.00
  RAM: Standard                                                 $0.00                $0.00
  Server Management: Self-managed                               $0.00                $0.00
  Softaculous: no                                               $0.00                $0.00
  WHMCS - Hosting Billing CMS: No                               $0.00                $0.00
  cPanel control panel: cPanel VPS 30                          $16.88               $16.88
                                                             Sub Total              $41.76
                                                               TOTAL                $41.76

Additional Transaction Details:
Order                  # ch_1IZZcZI2aKwfvOvnsUzAiBoi
Approval               # ch_1IZZcZI2aKwfvOvnsUzAiBoi
       Case 2:22-cv-06515-MWF-AGR                         Document 187-2         Filed 06/10/25    Page 120 of 186
                                                           Page ID #:6061


KGXA
angelone   entertainment
                                                                                                                   INVOICE
                                                                                                       INVOICE HEFG-AUG2021
                                                                                                          TERM: AUGUST 1 - 31
                                                                                                     DATE: SEPTEMBER 3, 2021

  Bill To:
  Hidden Empire Film Group


     Description                                                                                                Amount

     Hefg social Postings (HEFG/Supremacy/traffik/intruder/Deon)
     Community management and engagement: All HEFG Socials
                                                                                                                  $3,000
     Facebook/IG/Twitter/Youtube/Tiktok/Snap/Linkedin
     20 + Social Profiles
     HEFG.com Hidden Empire Releasing page:
          o      https://hiddenempirefilmgroup.com/about/ (mock-up status)
     HEFG.com Hidden Empire Releasing Announcement Integration:
                                                                                                                  $2,000
          o     https://hiddenempirefilmgroup.com/ (live)
     HEFG.com FEAR Movie Announcement Integration:
          o     https://hiddenempirefilmgroup.com/ (live @ second slide)
     HEFG.com
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     CLIMB.com
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     hyperengine.ai
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     HEFG Server (paid invoice attached)                                                                          $41.76

     Google Gsuite Email server (paid invoice attached)                                                             $228


                                                                                      Sub Total:               $6,769.76



                                                                                    Total Due:                $6,769.76


Please remit payment via wire transfer or direct deposit to:

                                                                   Or mail to:
                                                                   AONE
                                                                   2529 Griffith Park Blvd
                                                                   Los Angeles, CA 90039
       Case 2:22-cv-06515-MWF-AGR                     Document 187-2              Filed 06/10/25    Page 121 of 186
                                                       Page ID #:6062


KGXA
angelone   entertainment
                                                                                                                   INVOICE
                                                                                                       INVOICE HEFG-DEC2021
                                                                                                       TERM: DECEMBER 1 - 31
                                                                                                       DATE: JANUARY 4, 2022

  Bill To:
  Hidden Empire Film Group


     Description                                                                                                Amount

     Hefg social Postings (HEFG/Supremacy/traffik/intruder/Deon/THND/Fear)
     Community management and engagement: All HEFG Socials                                                     $1,500.00
     Facebook/IG/Twitter/Youtube/Tiktok/Snap/Linkedin                                                             —
     20 + Social Profiles
     HEFG.com
                      o   database backups
                      o   plugin updates                                                                         $500.00
                      o   database optimization
                      o   platform updates
     CLIMB.com
                      o   database backups
                      o   plugin updates                                                                         $500.00
                      o   database optimization
                      o   platform updates
     hyperengine.ai
                      o   database backups
                      o   plugin updates                                                                         $500.00
                      o   database optimization
                      o   platform updates
     HEFG Server (paid invoice attached)                                                                          $41.76

     Google Gsuite Email server (paid invoices for reimbursement below)                                          $306.00

     Domain Registrations (paid invoices for reimbursement below)                                                     $0


                                                                                       Sub Total:              $3,347.76



                                                                                     Total Due:              $3,347.76


Please remit payment via wire transfer or direct deposit to:

                                                                    Or mail to:
                                                                    AONE
                                                                    2529 Griffith Park Blvd
                                                                    Los Angeles, CA 90039
    Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 122 of 186
                                     Page ID #:6063
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 86480398      support@namecheap.com




Order Date           : 12/27/2021 5:41:08 PM   Payment Source          : CreditCard
Order Number         : 86480398                Initial Charge          : $41.76
Transaction ID       : 100886041               Final Cost              : $41.76
User Name            : aoneent
Address              : darrick angelone        Total Refund            : $0.00
                       manager                 Refund Transaction      : N/A
                       aone entertainment      ID
                       llc
                       walnut                  Refunded To             : N/A
                       S , 91789
                       US



    TYPE                      NAME            QTY DURATION      PRICE         SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH        $24.88              $24.88
                     for                                                    ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Dec 26 2021 - Jan
                     26 2022)
  Additional Backup Storage: None                                  $0.00               $0.00
  Additional Traffic: None                                         $0.00               $0.00
  CXS license: No                                                  $0.00               $0.00
  Dedicated IPs: None                                              $0.00               $0.00
  Disc space: Standard                                             $0.00               $0.00
  IP addresses by default: 2 IP addresses                          $0.00               $0.00
  Operating System: CentOS 7 cPanel 64 Bit                         $0.00               $0.00
  RAM: Standard                                                    $0.00               $0.00
  Server Management: Self-managed                                  $0.00               $0.00
  Softaculous: no                                                  $0.00               $0.00
  WHMCS - Hosting Billing CMS: No                                  $0.00               $0.00
  cPanel control panel: cPanel VPS 30                             $16.88              $16.88
                                                                Sub Total             $41.76
                                                                  TOTAL               $41.76

Additional Transaction Details:
Order                  # ba789be4-da95-4f26-ae96-fa8faa17c745
Approval               # ch_3KBRsMI2aKwfvOvn1JknXUw0
Firefox                                                                                                               about:blank
          Case 2:22-cv-06515-MWF-AGR              Document 187-2        Filed 06/10/25     Page 123 of 186
                                                   Page ID #:6064




          Google
          Payments profile ID
          0642-8216-0923

          Business name
          hiddenempirefilmgroup.com

          Payments account nickname
          hiddenempirefilmgroup.com

          Summary created
          Jan 4, 2022




          Dec 1 - 31, 2021

                                                                                    Ending balance: $306.00


          Date                  Description                                                           Amount
                                                                                                        (USD)


          Dec 1 - 31, 2021      Google Workspace Business Plus: Commitment for 20 seats              $306.00


          Dec 2, 2021           Automatic payment: American Express «+++ 1002.                      -$306.00
                                A70679419752942160


                                                                                   Starting balance: $306.00




lofi                                                                                                            1/4/2022, 6:54 PM
       Case 2:22-cv-06515-MWF-AGR                  Document 187-2     Filed 06/10/25   Page 124 of 186
                                                    Page ID #:6065


KGXA
angelone          entertainment
                                                                                                      INVOICE
                                                                                          INVOICE HEFG-FEB2021
                                                                                          TERM: FEBRUARY 1 - 28
                                                                                            DATE: MARCH 3, 2021


  Bill To:
  Hidden Empire Film Group


     Description                                                                                  Amount

     Hefg social Postings (HEFG/MTB/traffik/intruder/Deon)
     Community management and engagement: All HEFG Socials
                                                                                                     $5,000
     Facebook/IG/Twitter/Youtube/Tiktok/Snap/Linkedin
     20 + Social Profiles
     Fatale FYC page: https://hiddenempirefilmgroup.com/fyc/                                       Inclusive

     Service BHITM to ReachTV x 60 episodes                                                        Inclusive

    HEFG.com
        o   database backups
        o   plugin updates                                                                            $500
        o   database optimization
        o   wordpress update
    THND.com
        o   database backups
        o   plugin updates                                                                            $500
        o   database optimization
        o   wordpress update
    Hyperengine.ai
            database backups
            plugin updates                                                                            $500
           0000




            database optimization
            wordpress update


                                                                          Sub Total:                 $6,500




                                                                          Total Due:                 $6,500


Please remit payment via wire transfer or direct deposit to:

                                                   Or mail to:
                                                   AONE
                                                   340 S. Lemon Ave
                                                   Suite 3390
                                                   Walnut, CA 91789
       Case 2:22-cv-06515-MWF-AGR                     Document 187-2              Filed 06/10/25    Page 125 of 186
                                                       Page ID #:6066


KGXA
angelone   entertainment
                                                                                                                   INVOICE
                                                                                                       INVOICE HEFG-NOV2021
                                                                                                        TERM: NOVEMBER 1 - 30
                                                                                                      DATE: DECEMBER 3, 2021

  Bill To:
  Hidden Empire Film Group


     Description                                                                                                Amount

     Hefg social Postings (HEFG/Supremacy/traffik/intruder/Deon/THND/Fear)
     Community management and engagement: All HEFG Socials                                                     $1,500.00
     Facebook/IG/Twitter/Youtube/Tiktok/Snap/Linkedin                                                             —
     20 + Social Profiles
     HEFG.com
                      o   database backups
                      o   plugin updates                                                                         $500.00
                      o   database optimization
                      o   platform updates
     CLIMB.com
                      o   database backups
                      o   plugin updates                                                                         $500.00
                      o   database optimization
                      o   platform updates
     hyperengine.ai
                      o   database backups
                      o   plugin updates                                                                         $500.00
                      o   database optimization
                      o   platform updates
     HEFG Server (paid invoice attached)                                                                          $41.76

     Google Gsuite Email server (paid invoices for reimbursement below)                                          $306.00

     Domain Registrations (paid invoices for reimbursement below)                                                 $70.80


                                                                                       Sub Total:              $3,418.56



                                                                                     Total Due:               $3,418.56


Please remit payment via wire transfer or direct deposit to:

                                                                    Or mail to:
                                                                    AONE
                                                                    2529 Griffith Park Blvd
                                                                    Los Angeles, CA 90039
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 126 of 186
                                    Page ID #:6067
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                             RECEIPT              Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 84871524      support@namecheap.com




Order Date          : 11/27/2021 6:38:40 PM    Payment Source        : CreditCard
Order Number        : 84871524                 Initial Charge        : $41.76
Transaction ID      : 98898555                 Final Cost            : $41.76
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      walnut                   Refunded To           : N/A
                      S , 91789
                      US



    TYPE                      NAME            QTY DURATION      PRICE       SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH        $24.88            $24.88
                     for                                                  ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Nov 26 2021 - Dec
                     26 2021)
  Additional Backup Storage: None                               $0.00                $0.00
  Additional Traffic: None                                      $0.00                $0.00
  CXS license: No                                               $0.00                $0.00
  Dedicated IPs: None                                           $0.00                $0.00
  Disc space: Standard                                          $0.00                $0.00
  IP addresses by default: 2 IP addresses                       $0.00                $0.00
  Operating System: CentOS 7 cPanel 64 Bit                      $0.00                $0.00
  RAM: Standard                                                 $0.00                $0.00
  Server Management: Self-managed                               $0.00                $0.00
  Softaculous: no                                               $0.00                $0.00
  WHMCS - Hosting Billing CMS: No                               $0.00                $0.00
  cPanel control panel: cPanel VPS 30                          $16.88               $16.88
                                                             Sub Total              $41.76
                                                               TOTAL                $41.76

Additional Transaction Details:
Order                  # fdbd20de-82dd-461c-8dd5-a98bc5b5aea7
Approval               # ch_3K0aTaI2aKwfvOvn0kUdhCyi
    Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 127 of 186
                                     Page ID #:6068
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 84229541      support@namecheap.com




Order Date           : 11/16/2021 2:26:31 AM   Payment Source          : CreditCard
Order Number         : 84229541                Initial Charge          : $28.32
Transaction ID       : 98094803                Final Cost              : $28.32
User Name            : aoneent
Address              : darrick angelone        Total Refund            : $0.00
                       manager                 Refund Transaction      : N/A
                       aone entertainment      ID
                       llc
                       340 S lemon ave         Refunded To             : N/A
                       walnut
                       CA , 91789
                       US



    TYPE                  NAME             QTY DURATION         PRICE         SUB TOTAL
RENEW             RENEW                   1    1 year            $13.98              $13.98
                  meettheblacksmovie.co                                     ICANN Fee $0.18
                  m
RENEW             RENEW                 1       1 year            $13.98             $13.98
                  supremacyfilm.com                                         ICANN Fee $0.18
                                                                Sub Total            $28.32
                                                                  TOTAL              $28.32

Additional Transaction Details:
Order                  # 7f2083c2-c207-4049-9789-e68afbb58fd9
Approval               # ch_3JwM3lI2aKwfvOvn16cpUB4w
   Case 2:22-cv-06515-MWF-AGR       Document 187-2 Filed 06/10/25 Page 128 of 186
                                     Page ID #:6069
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 83973246      support@namecheap.com




Order Date          : 11/11/2021 1:19:17 AM     Payment Source       : CreditCard
Order Number        : 83973246                  Initial Charge       : $42.48
Transaction ID      : 97772589                  Final Cost           : $42.48
User Name           : aoneent
Address             : darrick angelone          Total Refund         : $0.00
                      manager                   Refund Transaction   : N/A
                      aone entertainment        ID
                      llc
                      340 S lemon ave           Refunded To          : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                NAME            QTY DURATION            PRICE       SUB TOTAL
RENEW             RENEW deontaylor.com 1    1 year               $13.98            $13.98
                                                                          ICANN Fee $0.18
RENEW             RENEW whoisguard-         1   1 year            $0.00             $0.00
                  protect-one                                             ICANN Fee $0.00
                  for deontaylor.com
RENEW             RENEW                     1   1 year           $13.98            $13.98
                  deontaylorfilms.com                                     ICANN Fee $0.18
RENEW             RENEW whoisguard-         1   1 year            $0.00             $0.00
                  protect-one                                             ICANN Fee $0.00
                  for deontaylorfilms.com
RENEW             RENEW                     1   1 year           $13.98            $13.98
                  hiddenempirefilms.com                                   ICANN Fee $0.18
RENEW             RENEW whoisguard-         1   1 year            $0.00             $0.00
                  protect-one                                             ICANN Fee $0.00
                  for
                  hiddenempirefilms.com
                                                             Sub Total              $42.48
                                                               TOTAL                $42.48

Additional Transaction Details:
Order                  # 73ac0334-5461-41f1-b556-d433bba8266f
Approval               # ch_3JuWcxI2aKwfvOvn1OezdUUC
Firefox                                                       https://payments.google.com/payments/u/0/timelineview?cn=%24p_tl0i...
          Case 2:22-cv-06515-MWF-AGR             Document 187-2         Filed 06/10/25        Page 129 of 186
                                                  Page ID #:6070




          Google
          Payments profile ID
          0642-8216-0923

          Business name
          hiddenempirefilmgroup.com

          Payments account nickname
          hiddenempirefilmgroup.com

          Summary created
          Jan 4, 2022




          Nov 1 - 30, 2021

                                                                                      Ending balance: $306.00


          Date                  Description                                                                Amount
                                                                                                             (USD)


          Nov 1 - 30, 2021      Google Workspace Business Plus: Commitment for 20 seats                   $306.00


          Nov 2, 2021           Automatic payment: American Express ++++ 1002. A69764099195              -$306.00


                                                                                    Starting balance: $306.00




lofi                                                                                                                 1/4/2022, 6:54 PM
        Case 2:22-cv-06515-MWF-AGR                    Document 187-2              Filed 06/10/25   Page 130 of 186
                                                       Page ID #:6071


KGXA
angelone     entertainment
                                                                                                                   INVOICE
                                                                                                       INVOICE HEFG-OCT2021
                                                                                                         TERM: OCTOBER 1 - 31
                                                                                                     DATE: NOVEMBER 1, 2021

  Bill To:
  Hidden Empire Film Group


     Description                                                                                                Amount

     Hefg social Postings (HEFG/Supremacy/traffik/intruder/Deon/THND)
     Community management and engagement: All HEFG Socials                                                        $3,000
     Facebook/IG/Twitter/Youtube/Tiktok/Snap/Linkedin                                                                ’
     20 + Social Profiles
     HEFG.com
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     CLIMB.com
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     hyperengine.ai
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     HEFG Server (paid invoice attached)                                                                          $41.76

     Google Gsuite Email server (paid invoices for reimbursement below)                                             $306

     Domain Registrations (paid invoices for reimbursement below)                                               $1035.36


                                                                                      Sub Total:               $5,883.12



                                                                                     Total Due:              $5,883.12


Please remit payment via wire transfer or direct deposit to:

                                                                    Or mail to:
                                                                    AONE
                                                                    2529 Griffith Park Blvd
                                                                    Los Angeles, CA 90039
          Case 2:22-cv-06515-MWF-AGR               Document 187-2          Filed 06/10/25             Page 131 of 186
                                                    Page ID #:6072

                                                                                                                    Google LLC
                                                                                                         1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                   Un ted States
 nvo ce number 4009812839                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Workspace
nvo ce number                    4009812839
nvo ce date                      Oct 31, 2021                Tota n USD                                            $306.00
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Oct 1, 2021 - Oct 31, 2021


                                                             Subtota n USD                                              $306 00
                                                             Tax (0%)                                                     $0 00
                                                             Tota n USD                                                 $306 00



You w be automat ca y charged for any amount due




                                                                                                                     Page 1 of 2
     Case 2:22-cv-06515-MWF-AGR                        Document 187-2              Filed 06/10/25   Page 132 of 186
                                                        Page ID #:6073
Go         gle       Invoice                                                                         nvo ce number   4009812839



Subscription                                        Description             Interval                Quantity          Amount($)

Goog e Workspace Bus ness P us                      Comm tment              Oct 1 - Oct 31                20              306 00

                                                                   Subtota n USD                                         $306 00
                                                                   Tax (0%)                                                 $0 00

                                                                   Tota nUSD                                         $306.00



   Need help understanding the charges on your invoice? C ck here for deta ed exp anat ons
   https //support goog e com/a?p=gsu te-b   s-and-charges




                                                                                                                      Page 2 of 2
    Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 133 of 186
                                     Page ID #:6074
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 82412481      support@namecheap.com




Order Date           : 10/13/2021 2:40:46 AM    Payment Source         : CreditCard
Order Number         : 82412481                 Initial Charge         : $775.14
Transaction ID       : 95873346                 Final Cost             : $775.14
User Name            : aoneent
Address              : darrick angelone         Total Refund           : $0.00
                       manager                  Refund Transaction     : N/A
                       aone entertainment       ID
                       llc
                       340 S lemon ave          Refunded To            : N/A
                       walnut
                       CA , 91789
                       US



    TYPE                NAME               QTY DURATION         PRICE         SUB TOTAL
RENEW             RENEW fatale.movie      1    1 year            $250.98            $250.98
                                                                            ICANN Fee $0.18
RENEW             RENEW whoisguard-       1     1 year             $0.00              $0.00
                  protect-one                                               ICANN Fee $0.00
                  for fatale.movie
RENEW             RENEW                   1     1 year           $250.98            $250.98
                  freeagents.movie                                          ICANN Fee $0.18
RENEW             RENEW                   1     1 year            $10.65             $10.65
                  freeagentsmovie.com                                       ICANN Fee $0.18
RENEW             RENEW                   1     1 year            $10.65             $10.65
                  qaddafispointguard.com                                    ICANN Fee $0.18
RENEW             RENEW                   1     1 year           $250.98            $250.98
                  qaddafispointguard.movi                                   ICANN Fee $0.18
                  e
                                                                Sub Total             $775.14
                                                                  TOTAL               $775.14

Additional Transaction Details:
Order                  # f9e3116b-7ae1-4bfb-adf9-c02e0376fb24
Approval               # ch_3Jk18rI2aKwfvOvn1Gx9FCxX
   Case 2:22-cv-06515-MWF-AGR       Document 187-2 Filed 06/10/25 Page 134 of 186
                                     Page ID #:6075
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 82447743      support@namecheap.com




Order Date          : 10/13/2021 2:50:04 PM    Payment Source        : CreditCard
Order Number        : 82447743                 Initial Charge        : $9.06
Transaction ID      : 95917789                 Final Cost            : $9.06
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION          PRICE       SUB TOTAL
PURCHASE          Free Domain Privacy    1    1 year              $0.00              $0.00
                                                                               Setup $0.00
REGISTER          Domain Registration    1      1 year            $8.88              $8.88
                  factsnotpolitics.org                                    ICANN Fee $0.18
                                                             Sub Total               $9.06
                                                               TOTAL                 $9.06

Additional Transaction Details:
Order                  # 35ec19a9-e7ea-4f69-abea-f5829d9be45e
Approval               # ch_3JkCWcI2aKwfvOvn1VbhRCKi
        Case 2:22-cv-06515-MWF-AGR                    Document 187-2              Filed 06/10/25   Page 135 of 186
                                                       Page ID #:6076


KGXA
angelone     entertainment
                                                                                                                  INVOICE
                                                                                                      INVOICE HEFG-SEPT2021
                                                                                                      TERM: SEPTEMBER 1 - 30
                                                                                                       DATE: OCTOBER 3, 2021

  Bill To:
  Hidden Empire Film Group


     Description                                                                                                Amount

     Hefg social Postings (HEFG/Supremacy/traffik/intruder/Deon/THND)
     Community management and engagement: All HEFG Socials                                                        $3,000
     Facebook/IG/Twitter/Youtube/Tiktok/Snap/Linkedin                                                                ’
     20 + Social Profiles
     HEFG.com
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     CLIMB.com
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     hyperengine.ai
                      o   database backups
                      o   plugin updates                                                                            $500
                      o   database optimization
                      o   platform updates
     HEFG Server (paid invoice attached)                                                                          $41.76

     Google Gsuite Email server (paid invoices for reimbursement below)                                             $306

     Domain Registrations (paid invoices for reimbursement below)                                                 $27.32


                                                                                      Sub Total:               $4,875.08



                                                                                     Total Due:              $4,875.08


Please remit payment via wire transfer or direct deposit to:

                                                                    Or mail to:
                                                                    AONE
                                                                    2529 Griffith Park Blvd
                                                                    Los Angeles, CA 90039
          Case 2:22-cv-06515-MWF-AGR               Document 187-2          Filed 06/10/25             Page 136 of 186
                                                    Page ID #:6077

                                                                                                                    Google LLC
                                                                                                         1600 Amph theatre Pkwy


Invoice                                                                                                 Mounta n V ew, CA 94043
                                                                                                                   Un ted States
 nvo ce number 3994156783                                                                              Federa Tax D XX-XXXXXXX



Bill to
Darr ck Ange one
h ddenemp refi mgroup com
340 s emon ave
#3390
wa nut, CA 91789
Un ted States


Details                                                      Google Workspace
nvo ce number                    3994156783
nvo ce date                      Sep 30, 2021                Tota n USD                                            $306.00
B ng D                           0642-8216-0923
Doma n name                      h ddenemp refi mgroup com
                                                             Summary for Sep 1, 2021 - Sep 30, 2021


                                                             Subtota n USD                                              $306 00
                                                             Tax (0%)                                                     $0 00
                                                             Tota n USD                                                 $306 00



You w be automat ca y charged for any amount due




                                                                                                                     Page 1 of 2
     Case 2:22-cv-06515-MWF-AGR                        Document 187-2                    Filed 06/10/25   Page 137 of 186
                                                        Page ID #:6078
Google” invoice                                                                                           nvo ce number   3994156783



Subscription                                        Description               Interval                    Quantity         Amount($)

Goog e Workspace Bus ness P us                      Comm tment                Sep 1 - Sep 30                    20             306 00

                                                                   Subtota     nUSD                                           $306 00
                                                                   Tax (0%)                                                     $0 00

                                                                   Tota   nUSD                                            $306.00


   Need help understanding the charges on your invoice? C ck here for deta ed exp anat ons
   https //support goog e com/a?p=gsu te-b   s-and-charges




                                                                                                                           Page 2 of 2
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 138 of 186
                                    Page ID #:6079
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                             RECEIPT              Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 80838216      support@namecheap.com




Order Date          : 9/13/2021 2:38:42 AM     Payment Source        : CreditCard
Order Number        : 80838216                 Initial Charge        : $13.66
Transaction ID      : 93925792                 Final Cost            : $13.66
User Name           : aoneent
Address             : darrick angelone         Total Refund          : $0.00
                      manager                  Refund Transaction    : N/A
                      aone entertainment       ID
                      llc
                      340 S lemon ave          Refunded To           : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION          PRICE       SUB TOTAL
RENEW            RENEW                   1    1 year             $13.48            $13.48
                 hiddenempirefilmgroup.c                                  ICANN Fee $0.18
                 om
RENEW            RENEW whoisguard-       1     1 year             $0.00             $0.00
                 protect-one                                              ICANN Fee $0.00
                 for
                 hiddenempirefilmgroup.c
                 om
                                                            Sub Total               $13.66
                                                              TOTAL                 $13.66

Additional Transaction Details:
Order                  # 1d08642c-37c9-483e-88fb-7d75d9665146
Approval               # ch_3JZ8oPI2aKwfvOvn1ZdrQy3n
   Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 139 of 186
                                    Page ID #:6080
                                                  Namecheap, Inc.
                                                  4600 East Washington Street. Suite 305,
                            RECEIPT               Phoenix, AZ 85034
                                                  USA
 www.namecheap.com         Order # 81367127      support@namecheap.com




Order Date          : 9/23/2021 3:15:54 AM    Payment Source       : CreditCard
Order Number        : 81367127                Initial Charge       : $13.66
Transaction ID      : 94580854                Final Cost           : $13.66
User Name           : aoneent
Address             : darrick angelone        Total Refund         : $0.00
                      manager                 Refund Transaction   : N/A
                      aone entertainment      ID
                      llc
                      340 S lemon ave         Refunded To          : N/A
                      walnut
                      CA , 91789
                      US



    TYPE                  NAME            QTY DURATION       PRICE        SUB TOTAL
RENEW            RENEW                   1    1 year          $13.48             $13.48
                 meettheblacksthemovie.                                 ICANN Fee $0.18
                 com
RENEW            RENEW whoisguard-      1      1 year           $0.00             $0.00
                 protect-one                                            ICANN Fee $0.00
                 for
                 meettheblacksthemovie.
                 com
                                                            Sub Total              $13.66
                                                              TOTAL                $13.66

Additional Transaction Details:
Order                  # a6b1d13e-cd6e-487d-a933-5e08ccb42396
Approval               # ch_3Jcm9sI2aKwfvOvn109vfSC3
    Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 140 of 186
                                     Page ID #:6081
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 81598570      support@namecheap.com




Order Date           : 9/27/2021 6:07:47 PM     Payment Source         : CreditCard
Order Number         : 81598570                 Initial Charge         : $41.76
Transaction ID       : 94869432                 Final Cost             : $41.76
User Name            : aoneent
Address              : darrick angelone         Total Refund           : $0.00
                       manager                  Refund Transaction     : N/A
                       aone entertainment       ID
                       llc
                       walnut                   Refunded To            : N/A
                       S , 91789
                       US



    TYPE                      NAME            QTY DURATION      PRICE         SUB TOTAL
RENEW                VPS Quasar              1    1 MONTH        $24.88              $24.88
                     for                                                    ICANN Fee $0.00
                     hiddenempirefilmgroup.c
                     om (Sep 26 2021 - Oct
                     26 2021)
  Additional Backup Storage: None                                  $0.00               $0.00
  Additional Traffic: None                                         $0.00               $0.00
  CXS license: No                                                  $0.00               $0.00
  Dedicated IPs: None                                              $0.00               $0.00
  Disc space: Standard                                             $0.00               $0.00
  IP addresses by default: 2 IP addresses                          $0.00               $0.00
  Operating System: CentOS 7 cPanel 64 Bit                         $0.00               $0.00
  RAM: Standard                                                    $0.00               $0.00
  Server Management: Self-managed                                  $0.00               $0.00
  Softaculous: no                                                  $0.00               $0.00
  WHMCS - Hosting Billing CMS: No                                  $0.00               $0.00
  cPanel control panel: cPanel VPS 30                             $16.88              $16.88
                                                                Sub Total             $41.76
                                                                  TOTAL               $41.76

Additional Transaction Details:
Order                  # 4f87353c-b49f-4d2b-89df-2874dccbcf9d
Approval               # ch_3JeRzBI2aKwfvOvn0tvbzFjT
    Case 2:22-cv-06515-MWF-AGR      Document 187-2 Filed 06/10/25 Page 141 of 186
                                     Page ID #:6082
                                                   Namecheap, Inc.
                                                   4600 East Washington Street. Suite 305,
                             RECEIPT               Phoenix, AZ 85034
                                                   USA
 www.namecheap.com          Order # 82673599      support@namecheap.com




Order Date           : 10/18/2021 3:56:11 AM    Payment Source         : CreditCard
Order Number         : 82673599                 Initial Charge         : $251.16
Transaction ID       : 96192722                 Final Cost             : $251.16
User Name            : aoneent
Address              : darrick angelone         Total Refund           : $0.00
                       manager                  Refund Transaction     : N/A
                       aone entertainment       ID
                       llc
                       340 S lemon ave          Refunded To            : N/A
                       walnut
                       CA , 91789
                       US



    TYPE                  NAME              QTY DURATION        PRICE         SUB TOTAL
RENEW             RENEW                    1    1 year           $250.98            $250.98
                  thehousenextdoor.movie                                    ICANN Fee $0.18
                                                                Sub Total           $251.16
                                                                  TOTAL             $251.16

Additional Transaction Details:
Order                  # d1f472fb-8aa7-4a6d-9616-319df247728f
Approval               # ch_3JlqhZI2aKwfvOvn04lF0r9T
      Case 2:22-cv-06515-MWF-AGR                    Document 187-2        Filed 06/10/25     Page 142 of 186
                                                     Page ID #:6083


KGXA
angelone     entertainment
                                                                                                              INVOICE
                                                                                        INVOICE: THND-AUGUST-2021
                                                                                        TERM: AUGUST 1 — 31, 2021
                                                                                        DATE: SEPTEMBER 03, 2021

  Bill To:
  The House Next Door LLC



    Description                                                                                           Amount

    THND social media mgmt. postings & audience engagement
    DVD & Streaming launch August 10%                                                                     $5,000.00
    Execute LG plan

     Update mobile & desktop websites with ‘where to watch’ CTAs                                           Inclusive

    Amplify Press coverage                                                                                 Inclusive




                                                                            Sub Total                   $5,000.00



                                                                               Total:                  $5,000.00




       Please remit payment via wire transfer or direct deposit to:

                                               Or mail to:
                                               AONE
                                               2529 Griffith Park Blvd.
                                               Los Angeles, CA 90039
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 143 of 186
                              Page ID #:6084




                     EXHIBIT 9
Case 2:22-cv-06515-MWF-AGR              Document 187-2         Filed 06/10/25       Page 144 of 186
                                         Page ID #:6085




 ---------- Forwarded message ---------
 From: Darrick Angelone <darrickangelone@aoneent.com>
 Date: Thu, Jul 19, 2018 at 10:41 AM
 Subject: FW: release of claims against Lionsgate
 To: <deontaylor@me.com>, Roxanne <roxanne@hiddenempirefilmgroup.com>
 Cc: <allen@thefriedfirm.com>


 Good afternoon,

 Roxane, this is a recap what Deon and I discussed and agreed to do so that my attorneys can
 withdraw the demand made to Lionsgate re Traffik….. I know I am beating a dead horse Roxanne,
 but my attorneys had to detail the work AOne did for Traffik in order to connect it to Jeff as the
 REASON I was left out to dry not to claim or infer in anyway that you, deon or hefg wronged me in
 anyway. I am very sorry it played out the way it did, and as I told deon, I would understand and
 would harbor no hard feeling if you did not retain my services moving forward.

 With that said; as I told deon, upon consultation with my attorney, who advised that in order for us
 to withdraw the demand, we would need to formally settle it and that could be with Lionsgate or
 directly with HEFG. I therefore proposed to deon that we could do a settlement amongst ourselves
 instead of dealing with Lionsgate, I sent the attached paperwork last month. Due to the extenuating
 circumstances of the last month (im sorry) we are just addressing now. The settlement my attorneys
 were discussing with Lionsgate is in the range of $100,000 and included the invoice Jeff ignored.
 Since this would just be passed down to HEFG, I told deon I would not purse this and we could settle
 amongst ourselves for just the current and outstanding invoices between Aone & hefg, which
 currently totals $59,000 and is enumerated by the following invoices, which are also attached:


    1. $12,000                 MTB-1004 (August 21, 2016)
    2. $16,000                 HEFG-MAR2018 (March 22, 2018
    3. $16,000                 HEFG-APR2018 (May 2, 2018)
    4. $11,000                 HEFG-MAY2018 (June 6, 2018)
    5. $ 4,000                 HEFG-JUNE2018

 AOne will waive the $20,000 invoice Jeff failed to pay (paragraph #4)
 Aone will forever release Lionsgate/Traffik/hefg from any claims (paragraph #4).
 Aone will indemnify HEFG/TRAFFIK per the terms of the attached settlement agreement.
Case 2:22-cv-06515-MWF-AGR                       Document 187-2                     Filed 06/10/25   Page 145 of 186
                                                  Page ID #:6086

 The accountant for AONE notified me that they received payment for the March invoice (listed
 above), so for simplicities sake, we will apply to this settlement as an initial payment leaving a
 balance of $43,000 payable asap.

 Moving forward, whether HEFG eventually brings other parties on to handle HEFG digital or not,
 AONE would require a monthly fee of $5,000 for the following services:


       Management and use of webservers for:

                     ·        Supremacyfilm.com

                     ·        Meettheblacksmovie.com

                     ·        Traffik.movie

                     ·        Hiddenempirefilmgroup.com

                     ·        News. Hiddenempirefilmgroup.com

                     ·        Hyperengine.ai

       Media server and hosting of creative assets for HEFG
       Management of HEFG google-suite applications
       Management of the following social accounts (including a minimum of 50 posts per month):

                     ·        @hiddenempirefilmgroup           (IG)

                     ·        @meet_the_blacks                        (IG)

                     ·        @Traffikmovie                                  (IG)

                     ·        @supremacy.movie                       (IG)

                     ·        @the.hustle.movie                         (IG)       

                     ·        @akuma.movie                                (IG)

                     ·        @traffikmovie                                   (twitter)

                     ·        @meettheblacks                             (twitter)

                     ·        @hiddenempirefg                           (twitter)

                     ·        @dtfilmtohoop                                 (twitter)

                     ·        @hiddenempirefilmgroup           (FB)

                     ·        @meet_the_blacks                        (FB)

                     ·        @Traffikmovie                                  (FB)
Case 2:22-cv-06515-MWF-AGR                              Document 187-2                      Filed 06/10/25   Page 146 of 186
                                                         Page ID #:6087

                            ·        @supremacy.movie                       (FB)

                            ·        @the.hustle.movie                         (FB)

                            ·        @akuma.movie                                (FB)

                            ·        @Deon Taylor                                    (FB)

                            ·        @Roxanne Avent                             (FB)

                            ·        @hiddenempirefilmgroup           (Youtube)

                            ·        @meet_the_blacks                        (Youtube)

                            ·        @Traffikmovie                                  (Youtube)

                            ·        @supremacy.movie                       (Youtube)



 Overall, aside from infrastructure, this would entail about 50 hours per month. I can not continue to
 keep providing the targeting tools and algorithms as the overhead on that system for us to maintain
 is over $20,000 per month, which I built and carried forward over two years, hoping we would
 mutually engage on Hyper Engine and begin to start pitching projects in order to bring in revenue to
 cover these costs and subsidize applying the tools on HEFG brands for below cost. You guys are
 running a movie studio, I understand you do not have the time to simultaneously develop and
 launch a new marketing company.

 We can evaluate projects on a case by case budget and make agreements accordingly.

 I know you guys are busy, I hope you get a chance to review this ASAP and that we can discuss,
 finalize and release the claims against Lionsgate so we can all move forward.

 Kindly,

 Darrick Angelone
 AOne Unlimited | CEO
 o: (323) 205-6506 | m: (310) 869-2354
 aoneunlimited.com




 --
 Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 147 of 186
                              Page ID #:6088




                   EXHIBIT 10
Case 2:22-cv-06515-MWF-AGR             Document 187-2        Filed 06/10/25      Page 148 of 186
                                        Page ID #:6089




 ---------- Forwarded message ---------
 From: <darrick@aone.la>
 Date: Fri, Apr 22, 2022 at 10:16 AM
 Subject: RE: Fear digital marketing
 To: Roxanne Taylor <roxanne@hiddenempirefilmgroup.com>, Quincy Newell
 <quincy@hiddenempirefilmgroup.com>
 Cc: deon taylor <deon@hiddenempirefilmgroup.com>, Darrell Thompson <dtlaw5@gmail.com>


 Thank you Roxanne. Please find attached again here. Of course it is fluid to updated messaging,
 creative direction and your final decision as to the budget allocations. We are not looking for a
 financial commitment at this time and indeed HEFG has almost always engaged AONE when the time
 came and we are very familiar with the processes of HEFG. Because a considerable amount more
 work and financial investment by AONE has gone into this strategy versus previous collaborations
 between aone/hefg, we are only looking for a commitment to be that vendor when the time comes
Case 2:22-cv-06515-MWF-AGR                Document 187-2          Filed 06/10/25       Page 149 of 186
                                           Page ID #:6090

 for this project. That time is quickly approaching and this will help satisfy any concerns my partners
 have about formalizing while we are in a state of limbo as to what happens. There is also potential
 that if a 3rd party was to take the film in these last days of HEFG planning to self release, the package
 becomes that much more enticing with a complete marketing strategy developed in close
 consultation with studio marketing veteran, Damon Wolf, attached to it. Everyone at AONE would
 like to see this plan executed to high success by whomever releases the film. I am positive we can
 come to some agreeable terms. I appreciate all the consideration.

 Warm regards,

 Darrick Angelone
 AOne Creative LLC.
 o: 323.205.6506 | m: 310.869.2354
 aone la




 From: Roxanne Taylor <roxanne@hiddenempirefilmgroup.com>
 Sent: Friday, April 22, 2022 9:54 AM
 To: Quincy Newell <quincy@hiddenempirefilmgroup.com>
 Cc: Darrick@aone.la; deon taylor <deon@hiddenempirefilmgroup.com>; Darrell Thompson
 <dtlaw5@gmail.com>
 Subject: Re: Fear digital marketing

 Thanks Quincy, nothing attached on my end. Please resend. Although I have seen and discussed the
 original proposal, I want to be sure this is what indeed was the final outcome. Also, until we have an
 approved P& A spend we cannot confirm any third party agreements but as we have done with all of
 our films we will absolutely engage Aone to continue the support.

 Happy Friday!

 On Thu, Apr 21, 2022 at 6:36 PM Quincy Newell <quincy@hiddenempirefilmgroup.com> wrote:
    Hey Darrick,

    Received. Will discuss with Deon and Roxanne.

    Daryl, please feel free to send a draft of the proposed vendor services agreement when you are
    ready. We may want to consider making the contractor agreement more of an MSA to cover all
    services currently provided by AOne to HEFG. Let’s discuss.

    In the meantime, can you please send over the updated list of admin logins and passwords for all
    Hidden Empire owned social media accounts for our files? Thanks.

    Best regards,
Case 2:22-cv-06515-MWF-AGR                     Document 187-2     Filed 06/10/25       Page 150 of 186
                                                Page ID #:6091


      Quincy

      QUINCY C. NEWELL | HIDDEN EMPIRE FILM GROUP | COO | cell: 818.455.6398 | email:
      quincy@hiddenempirefilmgroup.com | hiddenempirefilmgroup.com


           On Apr 21, 2022, at 2:49 PM, darrick@aone.la wrote:


           Hi Quincy,
           In my conversation with Deon before my holiday (cc’d on this email) we discussed
           tabling the hyper engine conversation to continue at a later date. We will come to
           an agreement on terms such as or similar to the following: should HEFG (or any of its
           affiliates) release the Fear movie theatrically themselves, Aone will be contracted for
           the digital strategy and execution thereof. Aone will be paid market rates. The
           current plan is already laid out in the strategy deck previously approved by Damon
           whom we worked in close consultation in developing such strategy. I have
           reattached the plan and budget here for your reference. Please work with Darrell to
           put the terms into a contractor's agreement (also cc’d here). As the marketing
           window for the Fear release is quickly approaching, let's wrap this up expeditiously.
           Thank you.
           Warm regards,

           Darrick Angelone
           AOne Creative LLC.
           o: 323 205.6506 | m: 310.869 2354
           aone.la




 --
 Roxanne Taylor
 916.257.2475

 Hidden Empire Film Group
 5410 Wilshire Blvd, 10th Floor
 LA, Ca 90036




 --
Case 2:22-cv-06515-MWF-AGR           Document 187-2    Filed 06/10/25   Page 151 of 186
                                      Page ID #:6092

 Roxanne Taylor
 323.613.7120 ext.104

 Hidden Empire Film Group
 1669 12th Street
 Santa Monica, CA 90404

 roxanne@hiddenempirefilmgroup.com
 www.hiddenempirefilmgroup.com




 --
 Roxanne Taylor
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 152 of 186
                              Page ID #:6093




                   EXHIBIT 11
Case 2:22-cv-06515-MWF-AGR           Document 187-2         Filed 06/10/25       Page 153 of 186
                                      Page ID #:6094

 Roxanne Taylor

 Begin forwarded message:

      From: Roxanne Taylor <roxanneavent@gmail.com>
      Date: August 19, 2022 at 8:55:15 AM PDT
      To: Roxanne Taylor <roxanneavent@gmail.com>
      Subject: Fwd: social media accounts



      Roxanne Taylor

      Begin forwarded message:

            From: Rox <roxanneavent@gmail.com>
            Date: December 15, 2014 at 3:43:28 PM PST
            To: Darrick Angelone <d.angelone@aoneent.com>
            Cc: Deon Taylor <deontaylor@me.com>
            Subject: Re: social media accounts


            Hey D

            Here is the info for Meet the Blacks. Let's get to work. I'm here.
            Ready to go! ;)

                                  Twitter: Meet_the_Blacks
                                 Instagram: Meet_the_Blacks
                                  Facebook: Meet the Blacks

                                 Password: aven9224
            Email roxanneavent@gmail.com




            On Dec 11, 2014, at 11:44 AM, Darrick Angelone
            <d.angelone@aoneent.com> wrote:

                  Yep… and you’re not missing out on anything!


                  Darrick Angelone
                  d.angelone@aoneent.com
                  office: +1.323.205.6506
                  mobile: +1.323.989.2221
Case 2:22-cv-06515-MWF-AGR       Document 187-2          Filed 06/10/25   Page 154 of 186
                                  Page ID #:6095

               fax: +1.310.775.4445

               From: Rox [mailto:roxanneavent@gmail.com]
               Sent: Thursday, December 11, 2014 8:40 PM
               To: Darrick Angelone
               Cc: Deon Taylor
               Subject: Re: social media accounts

               So I guess we need to set a Facebook account up as I
               don't even have one. Lol



               On Dec 11, 2014, at 11:38 AM, Darrick Angelone
               <d.angelone@aoneent.com> wrote:

                     https://www.facebook.com/angelonedarrick

                     I only use that facebook account for business
                     my other is super private and super lame!


                     Darrick Angelone
                     d.angelone@aoneent.com
                     office: +1.323.205.6506
                     mobile: +1.323.989.2221
                     fax: +1.310.775.4445

                     From: Roxanne Avent
                     [mailto:roxanneavent@gmail.com]
                     Sent: Thursday, December 11, 2014 8:30 PM
                     To: Darrick Angelone
                     Cc: Deon Taylor
                     Subject: Re: social media accounts

                     Should we do it for the old films or the ones
                     moving forward

                     On Thu, Dec 11, 2014 at 11:25 AM, Darrick
                     Angelone <d.angelone@aoneent.com>
                     wrote:
                     If your distribution deals allow it… You
                     guys should definitely set up Facebook
                     pages, Twitter and Instagram accounts in the
                     name of ALL the films you guys release.
                     OWN them before someone else does (to
                     exploit your potential brand recognition).

                     And if you want to target younger
                     generation… We come up with a cool
Case 2:22-cv-06515-MWF-AGR     Document 187-2         Filed 06/10/25   Page 155 of 186
                                Page ID #:6096

                   marketing plan incorporating Snapchat!
                   BAM < That’s GAME!


                   Darrick Angelone
                   d.angelone@aoneent.com
                   office: +1.323.205.6506
                   mobile: +1.323.989.2221
                   fax: +1.310.775.4445




                   --
                   Roxanne Avent
                   Hidden Empire Film Group

                   PO BOX 6931
                   Folsom, CA 95763-6931
                   c. (916) 257-2475

                   www.hiddenempirefilmgroup.com

                   NOTICE: This e-mail, the information
                   contained herein, and any attachments
                   transmitted with it: (i) are the property of
                   Hidden Empire Film Group, LLC., and (ii)
                   may contain confidential and/or privileged
                   material, and (iii) are intended solely for the
                   addressee. Access to this e-mail, the
                   contents, or any attachments, by anyone
                   other than the intended recipient is
                   unauthorized. If you are not the intended
                   recipient, any disclosure, copying,
                   distribution or any action taken or omitted to
                   be taken in reliance on it, is prohibited and
                   may be unlawful. If you have received this
                   e-mail in error, please notify the sender by
                   reply e-mail and delete the message and any
                   attachments. Any other use, retention,
                   dissemination, forwarding, printing, or
                   copying of this e-mail is strictly prohibited.
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 156 of 186
                              Page ID #:6097




                 EXHIBIT 12
 Case 2:22-cv-06515-MWF-AGR           Document 187-2     Filed 06/10/25    Page 157 of 186
                                       Page ID #:6098

Supremacy                                        User name: Hustle the Movie or
                                                 @hustle_movie
Instagram: Have requested password reset so
                                                 Password: aven9224
should arrive in your email as below
                                                 Email used: roxanne.avent@gmail.com
User name: Supremacy_The_Movie
Password: aven9224
                                                 Night Tales
Email used: roxanne@hiddenempirefilms.com
                                                 Instagram:
Twitter:                                         User name: nite_tales_the_movie
User name: Supremacy_Movie                       Password: aven9224
Password: aven9224                               Email used: r.oxanneavent@gmail.com
Email used: roxanneavent@icloud.com
                                                 Twitter:
Facebook: Is live but cannot access the back     User name: Nite Tales the Movie or @nite_tales
end.                                             Password: aven9224
Address:                                         Email used: r.oxanneavent@gmail.com
https://www.facebook.com/SupremacyFilm
None of the email addresses for Roxanne          Tommy’s Little Girl
match to begin login in, Facebook will only
                                                 Instagram:
accept email or phone number.
                                                 User name: tommys_little_girl
                                                 Password: aven9224
Meet the Blacks
                                                 Email used: rox.anneavent@gmail.com
Instagram: Have requested password reset so
should arrive in your email as below             Twitter:
User name: Meet_the_Blacks                       User name: Tommy’s Little Girl or
Password: AVEN9224                               @TLG_the_movie
Email used: ROXANNEAVENT@GMAIL.COM               Password: aven9224
                                                 Email used: roxanneavent.@gmail.com
Twitter:
User name: Meet_the_Blacks                       Free Agents
Password: aven9224
                                                 Instagram:
Email used: ROXANNEAVENT@GMAIL.COM
                                                 User name: free_agents_the_movie
                                                 Password: aven9224
Facebook:
                                                 Email used: ro.xanneavent@gmail.com
User name: Meet Blacks
Password: milan1904
                                                 Twitter:
Email used: ROXANNEAVENT@GMAIL.COM
                                                 User name: Free Agents Movie or
                                                 @_free_agents
Chain Letter
                                                 Password: aven9224
Instagram:                                       Email used: rox.anneavent@gmail.com
User name: chain_letter_movie
Password: aven9224                               Akuma
Email used: roxanneavent@icloud.com
                                                 Instagram:
                                                 User name: akuma_the_movie
Twitter:
                                                 Password: aven9224
User name: Chain Letter Movie or
                                                 Email used: roxanneaven.t@gmail.com
@_chain_letter
Password: aven9224
                                                 Twitter:
Email used: roxanne@hiddenempirefilms.com
                                                 User name: Akuma the Movie or
                                                 @akuma_movie
Hustle
                                                 Password: aven9224
Instagram:                                       Email used: roxanneaven.t@gmail.com
User name: hustle_movie
Password: aven9224
Email used: roxanne.avent@gmail.com

Twitter:
Case 2:22-cv-06515-MWF-AGR              Document 187-2    Filed 06/10/25   Page 158 of 186
                                         Page ID #:6099


Hidden Empire Film Group

Gmail Email Address:
hiddenempirefilmgroup@gmail.com
Password: aven9224

Youtube:
User name: Hidden Empire Film Group
Password: aven9224
Email used:
hiddenempirefilmgroup@gmail.com
Need to create a channel but unable to at
present

LinkedIn:
Password: aven9224
Email used:
hiddenempirefilmgroup@gmail.com
Apparently you can’t create a company
page until 7 days have passed from initial sign
up.
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 159 of 186
                              Page ID #:6100




                   EXHIBIT
                   EXHIBIT 13
                           13
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25    Page 160 of 186
         10:33 4              Page ID #:6101                —
                                                       af   > Wo?»
           € Search

           <      A                       EMG... Follow

           g      hiddenempirefilmgroup




          ¡A
           9   QV                                               W
           41 likes
           hiddenempirefilmgroup brought to
           you by!! @&
           View all 5 comments
           2 days ago

          aa     hiddenempirefilmgroup
        mM              Qa         86          oO           Oo
Case 2:22-cv-06515-MWF-AGR        Document 187-2     Filed 06/10/25    Page 161 of 186
                  10:34 4          Page ID #:6102                      =,
              <¢ Search


              E                        Tweet

                   EA      Hidden Empire Film Group
               “Y          OHiddenEmpireFG


              brought to you by!! «
                              Hidden Empire Film Group
              MN              (@hiddenempirefilmgroup...
                              instagram.com

            | 9:19 AM - 9/6/22               Instagram

              2 Likes

                       O          Td            Y,             mr




        _         Tweet your reply
                  gf         aq         og           &                E9
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 162 of 186
                              Page ID #:6103




                   EXHIBIT
                   EXHIBIT 14
                           14
Page 163 of 186




                               SOCIAL OVERVIEW / CAST INFLUENCE
Filed 06/10/25




                                                                  (0)   2.2M followers
 Page ID #:6104




                                                                                                                                H
Document 187-2




                                                                                                                                e
                             JOSEPH       SIKORA
                               Actor / Writer / Director
                                                                                           Known   for: Power, Ozark, Ghost World, Jack Reacher,   Shutter Island
                                                                  Y     207.5K followers   Cast for Golden   Globe-nominated   Norma/ and went on
                                              “ROM”                                        to star in multiple well-known television series, such as
                                                                  cS 20M followers
                                                                                           Law 8 Order: Special Victims Unit, The Heart, She Haller,
                                                                                           Power, and Ozark.                o
                                                                  ER 224,463 followers
Case 2:22-cv-06515-MWF-AGR




                                                                                                                        y!
Page 164 of 186




                                       SOCIAL OVERVIEW / CAST INFLUENCE
Filed 06/10/25
 Page ID #:6105
Document 187-2




                                                                                                                                                         Was previously a co-host of one of BET's #1 hip-hop and
                                                          “RUSS”       |   he                                                   ww   1.7Mfollowers       R&B music   video programs. Was labeled by Forbes as “one
                                                                                                                                                         of the most respected on-air personalities in pop culture” in
                                                                                                                                                         VER
                                                                                                                                E    683,292 followers
Case 2:22-cv-06515-MWF-AGR




                                                                                          ROADMAP   | PRIVATE 8, CONFIDENTIAL                                                                         © 2022 AONE Creative   LLC. All nights reserved.
                             FEAR THEATRICAL RELEASE   | DIGITAL, CTV 8 SOCIAL CAMPAIGN
Page 165 of 186




                              SOCIAL OVERVIEW / CAST INFLUENCE
Filed 06/10/25




                                                                 (0) 175K followers
 Page ID #:6106
Document 187-2




                                                                                      Known for:   Peppermint, Person of Interest, He's Just Not That
                             ANNIE    ILONZEH                                         Into You
                                                                 WV 14.2K followers
                                             Actress
                                                                                      Played guest and supporting roles in a number of films
                                                                                      throughout the years, including Hes Just Not That Into Youand
                                       “BIANCA”                                       Percy Jackson £ The Olympians: The Lightning Thief. A few
                                                                 co} 22.1Kfollowers   shows include Switched at Birthand CW's Beautyand     the
                                                                                      Beast. She uses her Instagram as a major platform to take a
                                                                                      stand on major human rights issues.
                                                                 E 319 followers
Case 2:22-cv-06515-MWF-AGR
Page 166 of 186




                                       SOCIAL OVERVIEW / CAST INFLUENCE
Filed 06/10/25




                                                                                              (0)   20.2M followers
 Page ID #:6107
Document 187-2




                                                                                                                       Known for: When We First Met, The Babysitter,   To Al'the Boys
                                   ANDREW              BACHELOR                                                        I've Loved Before, Rim of the World
                                                                                              W     2.5Mfollowers
                                    Actor / Director / Writer / Producer
                                                                                                                       Known for major upcoming on Vine and YouTube channel
                                                            “BENNY”                                                    BachelorsPadTV. Having risen by internet fame, he has now
                                                                                              cS 20Mfallowers          starred in a countless number of well-known films/and
                                                                                                                       continues to dominate through comedic content.
                                                                                              ES 9,223,225 followers
Case 2:22-cv-06515-MWF-AGR




                             FEAR THEATRICAL   RELEA   E | DIGITAL, CTV    8 SOCI   DENTIAL
Page 167 of 186




                                                         TYLERABRON                      ”                   (0) 514K followers
                                                                                                                                       Known for: Are You The One?, The Family Business,
                                                                                                                                       Breaks
                                                                                                                                                                                                       The
                                                                           Actress           ”
                                                                                     e            4
                                                                                                             Y      31.3Kfollovers     Starring in upcoming        Hidden Empire films and is well known
                                                                           “KIM”
                                                                                                                                       for her TikToks      and affiliation   with the Bang   brand.
                                                                                                             ot 9.óktolloners
Filed 06/10/25




                                                                                                                                       Known for: Peaky Blinders, The Zookeeper's Wife,
                                                  IDDO GOLDBERG                                                                        Salem
                                                       Actor / Director / Producer
                                                                                                            (3      29.1Kfollowers
                                                                                                                                       Also    known for his photography        and short films posted       to his
                                                                  “MICHAEL”                                  W      8,858 followers    Tumblr page. Appeared in the music video of a Disclosure
                                                                                                                                       song alongside Lorde. Uses his Instagram as a platform to
 Page ID #:6108
Document 187-2




                                                                                                                                       showcase      his stylized and intimate      photography skills.
                                                   JESSICA ALLAIN                                                                       Known     for:    7he Laundromat,     The Thriller, The Honor
                                                                           Actress                            (0)    12.1K followers    List
                                                                         “MEG”                                Y      25 fdlovers        Started her career as a model when she was 16. Has starred
                                                                                                                                        in a few known movies, along with the upcoming reboot film
                                                                                                                                        The Texas Chainsaw Massacre. She uses her Instagram as a
                                                                                                              E]     263 page likes     major platform to take a stand on major human rightspissues.
Case 2:22-cv-06515-MWF-AGR




                                                       RUBY MODINE                                                                     Known for: Shameless, Happy Death Day, Satanic
                                                                          Actress                                                      Panic
                                                                 “SERENA”                                     (0) 138K followers       Nominated         for Best Supporting Actress in Satanic Panic,
                                                                                                                                       which was also nominated for Best Film and the Catalonian
                                                                                                                                       International Film Festival. Best known for her role in Season                 7
                                                                                                                                       of Shameless.
                             FEAR THEATRICAL RELEASE    | DIGITAL, CTV   & SOCIAL CAMPAIGN       ROADMAP   | PRIVATE & CONFIDENTIAL                                                                                       C.. All rights   reserved.
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 168 of 186
                              Page ID #:6109




                       EXHIBIT
                       EXHIBIT 15
                               15
                               9/7/22, 11:59 AM
                                 e
                                                  +                                                    Fear Game | Mobile Gaming and P2E NET Experience
                                                                                                                  y
                                                                                                                                                           H               :
                                                                                                                                                       d                   4                                                          4
                                                                                                                                                       4                                   F                                          :
Page 169 of 186




                                                                                                                                                       Hi                  a                                                           7
                                                                                                                                                       3               °                                                          E
                                                                                                                                                       ¢               L                                                          L
                                                                                                                                                       3                                       i
                                                                                                                                                       a
                                                      [   “ROADMAP                                                                                                     h                                                 '}       :
                                                                     Z   GAME   REWARD   MECHAN                                  PRES: 2
                                                                                                                                                   A
                                                                                                                                                       i                                           7       j
                                                                                                                                                       '                                       Lo,         ‘             5
                                                                                                  AS




                                                                                                                                                       j               E                                                          i
                                                                                                                                                   i                           h
Filed 06/10/25




                                                                                                                                                                                                                              a
                                                                                                                                                                   e
 Page ID #:6110
Document 187-2




                                                                                                                                               A
                                                                                                                                                               1
Case 2:22-cv-06515-MWF-AGR




                                                                                                                                           y                                                                         3
                                                                                                                                                                   >                                                          »
                                                                                                                                                                                                       i
                                                                                                                                                                                                       y
                                                                                                                                       4                                                                            3
                                                                                                                                       +                                                                           $
                                                                                                                                       i
                                                                                                                                      A                                                :
                                                                                                                                      4
                                                                                                                                                                                                               3
                                                                                                                                                                                                                +
                                                                                                                                      ji                                           ‘                            i;
                                                                                                                                      ¿                                                                        3
                                                                                                                                      {                                                                        1
                                                                                                                                      $
                                                                                                                                                                                                               4
                             https://fear.game
                                                                                                                                                                                                                                           111
                                                 9/7/22, 12:02 PM
                                                                                                                                                                                                                       i   Fear Game                            | Mobile Gaming and P2E NFT Experience                                            :
                                                                    $                                                                                      AS                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                        }
                       ;                                                                                                                                   Ñ
                                                                                                                                                                                                                                                                                         y                                                        i
                                                                                                                                                                                                                                                                                                                                                                                                                             by
                                                                                                                                                                                                                                                                                                                                                  A                                                                              >
                     ,                                 i                                                                                                   i
                    5                                                                                                                                                                                                                                   ;                    ?
                Page 170 of 186




                                                                                                                       E                                   3                                                                                                                                                                  F                   +                                                 4
                                                                                                                   i                              ¿                                                                                             :
                                                                                                                                                                                                                                                        3                                                                     2                   3
                                                                                                                                                                                                                                                                                                                                                                                                                                 ‘
                                                                                                                                                  i                                                                                                                                                                           i           :
                                                                                                                                                                                                                                                                                                                                                                                                   hl
                                                                                                                                                                                                                                                                                                                                                                                                    i                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                 z
                                                            i
                                                                                                                                                  2
                                                                                                                                                                                  i                                                                 i                            í                                                        :                                                                                  i
                 El                                             :                                                                                      :                     ie
                                                                                                                                                                                                                                                “                                                                                                         i
                                                                                                                       ;                          z                                                                                                     :                            :                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                        k                    sE
                                                                                        ABOUT
                                                                                                                                                                                                                                                A
                                                                                                                                                                                                                                                                                                                                          5
                                                                                                                                                                                                                                                                                                                                                                                                   4
                                                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                           ROADMAP’                             #   GAME REWARD MECHANICS         +                & MEET THE
                                                                                                                                                                                                                                                                                                                                                                                                                             3
                                                                                                                                                  ;                                                                                             TEAM                 O       FAQ                 i]   PRESS
                                                            7                       y
                                                                                                                                                                                                                                                 :                                                                                                                                                 q
                                                           whey                                                   4
                                                                                                                   +                              :                                                                                                                                                                                       E                   :                        ‘
                                                                                                                                                   7                     t    Z       y                                                         :
                                                                                                                                                                                                                                                 p                       Ñ       7           y                }                               =
                                                                                                                                                                                                                                                                                                                                                                                                   4
                                                                                                                                                                                                                                                                                                                                      <                   72      y                    4           t$
            a
                Filed 06/10/25




                                                                                                                                                                                                                   ;                        A
        4                                                                       i                                                                                                                                                                                                                                             4       z
                                                                                                                                                                                                                                                                                                                                                                                                                         ,
        >
                                                                                                                                              *
                                                                                                                                                                                                                                                                                                                                  E                                                i                                     :
                                                                                                                                                                                                                                            *
                                                                                                                                                                                                                                                                                                                                      *
                                                                                                                                                                                                                                                                                                                                                                                                                         »
    y
    z                                                                                                                                         ‘
                                                                                                                                          X=
                                                                                                                                                                                                                                        =
                                                                                                                                                                                                                                            Ñ                                                                                     y
                                                                                                                                                                                                                                                                                                                                  z                                                                                  3
                                                                                                                                                                                                                                                                                                                                                                                                                     +
                                                                                                                                                                                                                                        é
                                                                                                                                                                                                                                        E
                 Page ID #:6111
                Document 187-2




                                                                                                                                                                                                                                        z
                                                                                                                                          y
                                                                                                                                          es                                                                                            y
                                                                                                                                          x
                                                                                                                                                                                                                                                                                                                                                                                                                     ‘
                                                                                                                                                                                                                                                                                                                                                                                                                 E
                                                                                                    men
                                                                                                e             4
                                                                                                                                                                                                                                                                                 a
                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                                            by
                                                                                                                                                                                                                                                                                                                                                                                                                 ,
4
                                                                                                                                      A
                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                                                                                                                                                                 A
                Case 2:22-cv-06515-MWF-AGR




                                                                                                                                  :                                                                                             +
                                                                                                          ¥                                                                                                                                                                                               :
                                                                                                                                                                                                               H                                                                                          |                                                                                                 =
                                                                                                                                                                                                                                                                                                                                                                                                            =
                                                                            ;
                                                                            ,                                                                                                                                                                                                                                                                                                  ‘
                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                                                                                                                           $
                                                                                                                                                                                                           j
                                                                                                                                                                                                           i                                                                                                              ;
                                                                                                                                                                                                                                                                                                                      ‘
                                                                                                                                                                                                                                                                                                                                                                                               ;
                                                                        4
                                                                                                                                                                     >                    a
                                                                                                                                                                                                                                                                 E                                a
                                                                                                                                                                                                                                                                                                                                                      .               ‘4
                                             .                                                        ;
                                                                                                      5                                                                                                ;                                                    .                                                     i
                                                                                                                                                                                                      ;                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                                                           i
                                     https://fear.game
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 171 of 186
                              Page ID #:6112




                   EXHIBIT
                   EXHIBIT 16
                           16
       Case 2:22-cv-06515-MWF-AGR          Document 187-2       Filed 06/10/25    Page 172 of 186
                                            Page ID #:6113
https://curated.tncontentexchange.com/partners/pr_newswire/subject/licensing
                                                          marketing agreements/on-
chain-innovations-partners-with-hidden-empire-film-group-to-develop-mobile-gaming-and-
p2e/article_dfd9bc8d-222d-57ed-b076-e2aee53e795d.htmi


ON CHAIN INNOVATIONS PARTNERS WITH HIDDEN EMPIRE
FILM GROUP TO DEVELOP MOBILE GAMING AND P2E
INTERACTIVE NFT EXPERIENCE FOR UPCOMING HORROR
FILM RELEASE 'FEAR'
By The Firm LA, Hidden Empire Film Group
May 2, 2022


LOS ANGELES, May 2, 2022 /PRNewswire/ -- On Chain Innovations LLC. has teamed
up with Hidden Empire Film Group LP. to give fans an interactive experience and
first look at the 2022 film release, 'FEAR.' On Chain Innovations alongside Deon
Taylor and Roxanne Avent Taylor's Hidden Empire Film Group (HEFG) developed
and will launch this pixel-art running mobile game and NFT experience, developed
for IOS and Android. The cross integration of film and P2E gaming has not been
successfully done before. FEAR the game is based on their film titled 'FEAR' which
was directed by Deon Taylor (The Intruder, Black and Blue, Fatale) and stars Joseph
Sikora (Power, Ozarks) in the leading role.

 ON    CHAIN   INNOVATIONS       According to Fear director, Deon Taylor; "The Fear game
 PARTNERS    WITH   HIDDEN       allows us to naturally develop audience affinity for
 SEVELOP OR E          GAMING characters and a story they may not be familiar with yet.
 AND P2E INTERACTIVE ner Hidden Empire Film Group films are made for the
 EXPERIENCE                      excitement of a diverse demographic. This partnership
                                 allows us to create a community directly with those of our
Gen Z and Millennial audiences."


Around The Web                                                                                  C
         Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25         Page 173 of 186
                                       Page ID #:6114




Fighting Diabetes? Try This                                  Have Diabetes? Try This
Trick (Watch)                                                immediately (Watch)
Diabetes Secret                                              Diabetes Secret




A.
Top Surgeon: Try This to Help                                Toenail Fungus? Do This To
Shrink an Enlarged Prostate                                  Flush it Away At Home
(Watch Now)                                                  (Watch)
Gorilla Prostate                                             Frontline Health News




                                                                                                 oo



These Are the Top Financial                                      r s If You Have Toenail |
Advisors in Los Angeles                                      Fungus (Try Tonight)
SmartAsset                                                   Frontline Health News




Part of the draw for the "Fear" game is the engagement of the NFT holders who are
literally vested in the project. On Chain Innovations will mint 10,000 NFT
membership passes in August 2022. They will be minted and sold over four separate
periods, the first coinciding with the release of the film. The details of this can be
found on the project's roadmap.
     Case 2:22-cv-06515-MWF-AGR     Document 187-2    Filed 06/10/25   Page 174 of 186
                                     Page ID #:6115
No one has successfully integrated blockchain utility with film, "The NFT space is
exploding with so much innovation and we've spent the last few years
experimenting with smart-contracts and blockchain technologies, developing a way
that we could engage our audiences with more than the traditional film marketing
campaign,” said Darrick Angelone, CEO of On Chain Innovations.

A first look beta version of the game will be available on the Apple and Google app
stores in early May and will be available to play by invitation only. Invitations will
be given away for free by the studio and Fear movie cast. The final game will be
available to everyone in July 2022 and the P2E version launch will coincide with the
black carpet premiere of Fear, in theaters on August 26% 2022.

ABOUT HIDDEN EMPIRE FILM GROUP

Hidden Empire Film Group ("HEFG”), founded by Black filmmaking team Deon
Taylor and Roxanne Avent Taylor in partnership with investor and philanthropist
Robert F. Smith, is a next generation film production, distribution and marketing
company. HEFG has partnered with major distributors including LIONSGATE on
movies including FATALE starring Michael Ealy & two-time Academy Award 9
winner Hilary Swank, as well as SONY SCREEN GEMS on the movies BLACK & BLUE
starring Academy Award® nominee Naomie Harris, Tyrese Gibson, Mike Colter and
Frank Grillo and the thriller THE INTRUDER starring Michael Ealy, Meagan Good
and Dennis Quaid. Upcoming projects include the John Lewis biopic FREEDOM
RIDE.

ABOUT       HAIN INNOVATIONS

On Chain Innovations started in 2022 as a vehicle for Hollywood to be able to
explore the blockchain and the infinite possibilities it holds for brands and their
audiences. The first product from On Chain Innovations will be the Fear mobile
gaming and NFT experience.

Learn more by visiting https://fear.game

Related Links:

Website: https://fear.game
       Case 2:22-cv-06515-MWF-AGR                Document 187-2    Filed 06/10/25    Page 175 of 186
                                                  Page ID #:6116
Discord: https://discord.g¢/fear-game

Twitter: https://twitter.com/fearnftgame

Instagram: https://www.instagram.com/fearnftgame/


¢ View original content:https://www.proewswire.com/news-releases/on-chain-
innovations-partners-with-hidden-empire-film-group-to-develop-mobile-gaming-
and-p2e-interactive-nft-experience-for-upcoming-horror-film-release-fear-
301537150.html

SOURCE The Firm LA




Originally published on the TownNews Content Exchange.




                    qe   -      y        i   €    ES

                A                       Omaha Steaks
 1.9 L Kettle with C Handle             Omaha Steaks Classic Grill        Monique Stripe Throw
 and Trim Band                          Pack + Steak Lovers Duo           Blanket
 $39.99                                 $303.91                           $31.99
 Shop Now                               Shop Now                          Shop Now




      EE       Food World |
      New Zealand Grass Fed Beef Rib Eye Steaks

      $45.90                                                                                           ta
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 176 of 186
                              Page ID #:6117




                   EXHIBIT
                   EXHIBIT 17
                           17
Case 2:22-cv-06515-MWF-AGR         Document 187-2              Filed 06/10/25          Page 177 of 186
                9:24 9              Page ID #:6118
            € Search



            FEAR       FEAR      GAME              Ow




                            FEAR                               THE GAME
                                  mobile gaming and NFT experience




                              #1 WHAT IS THIS ABOUT?
                        Fear game is a pixel-art running game developed for
                        105 and Android mobile platforms and is inspired by
                        the 2023 Deon Taylor directed movie, "Fear™ Starring
                        Joseph Sikora, Ruby Moding, iddo Goldberg; Andrew
                        Bachelor, Annie   llonzeh, Ti, Tyler Abron, Jessica   Allain
                        & Terrence J,




                                   @ FEAR.GAME
                                VOLUME     100%




              Send message
Case 2:22-cv-06515-MWF-AGR     Document 187-2    Filed 06/10/25   Page 178 of 186
                   9:23 y       Page ID #:6119
                <¢ Search

           <                peg             HONE         Follow

           G            darrickangelone

                                                                       :
                                                 START       GAME



                                            LEADERBOARD   &
                                       aa            STATS
                                                          ABDUT
                                                                  NY


           VAY                                                    W
                63 views
            darrickangelone Coming Soon!
           #feargame
           View all 3 comments
           May 24

                   _ darrickangelone
            2         The Webby Awards
Case 2:22-cv-06515-MWF-AGR    Document 187-2    Filed 06/10/25     Page 179 of 186
                9:22 7         Page ID #:6120
                                                         al   os   um.
            <¢ Search

        A                DARRICKANGELONE
                                 Posts                   Follow
            y       Jarrickangelone
            a       darrickafigsiong


                        TOURNAMENT
                              AUGUST 10" ~ 23°°
                                                     E   Me




                        1ST PRIZE - $500
                        2ND   PRIZE =$250
                        3RD PRIZE - $100
Case 2:22-cv-06515-MWF-AGR   Document 187-2    Filed 06/10/25   Page 180 of 186
                              Page ID #:6121




                EXHIBIT 18
Case 2:22-cv-06515-MWF-AGR             Document 187-2       Filed 06/10/25   Page 181 of 186
                                        Page ID #:6122

 From:          HE
 To:            info@hiddenempirefilmgroup.com
 Subject:       Fwd: HYPER ENGINE LLC
 Date:          Saturday, September 21, 2019 8:48:03 AM
 Attachments:   image001.png
                WIRE INSTRUCTIONS Bank of The West.docx
                HYPER ENGINE SIGNATURE CARD DOCUMENTS.pdf
                darrick debit card enrollment.pdf




 ---------- Forwarded message ---------
 From: Patel, Monica (Elk Grove) <Monica.Patel@bankofthewest.com>
 Date: Fri, Sep 20, 2019 at 16:30
 Subject: RE: HYPER ENGINE LLC
 To: Roxanne Taylor <roxanne@hiddenempirefilmgroup.com>



 Hi Roxanne,



 I have opened the operating account for Hyper Engine LLC #                   and the
 account for Darrick Angelone’s debit card;                The debits cards for you and
 Deon are linked to the operating account each with limits of $10,000. Darrick
 Angelone’s card will be delivered to your address. It will have a limit of $3000 on the
 card. To fund his debit card, you would need to transfer funds from operating A/C as
 you prefer.



 Attached please find the wiring instructions for the operating account if you need.



 Would you and Deon please sign the signature card documents and the debit card
 enrollment form in the spaces I have marked “X” and return to me via email? I will
 need these by Tuesday to be in compliance.



 You should be able to add these accounts to your online banking under “Link
 Accounts”. I may need to send you the paperwork to add these to your web direct.
 They’re all out today so I’ll take care of that Monday, if I don’t get called in to jury
 duty. Let me know if you need anything else or if I missed something.



 Have a great weekend.   
Case 2:22-cv-06515-MWF-AGR          Document 187-2        Filed 06/10/25   Page 182 of 186
                                     Page ID #:6123


 Monica Patel
 Vice President, Branch Manager

 NMLS# 570590
 _____________________________
 8426 Elk Grove Florin Rd
 Elk Grove, CA 95624
 T 916.682.3166    D 916.509.3750

 monica.patel@bankofthewest.com




              




 From: Roxanne Taylor [mailto:roxanne@hiddenempirefilmgroup.com]
 Sent: Friday, September 20, 2019 3:43 PM
 To: Patel, Monica (Elk Grove) <Monica.Patel@bankofthewest.com>
 Subject: Re: HYPER ENGINE LLC



 That would be great!!

 Roxanne Taylor

 916.257.2475




 On Sep 20, 2019, at 3:41 PM, Patel, Monica (Elk Grove)
 <Monica.Patel@bankofthewest.com> wrote:
Case 2:22-cv-06515-MWF-AGR              Document 187-2     Filed 06/10/25   Page 183 of 186
                                         Page ID #:6124


     I can open the account today. I might be able to hold off my back office
     until it shows active again. Shall I open the account today?



     Monica Patel
     Vice President, Branch Manager

     NMLS# 570590
     _____________________________
     8426 Elk Grove Florin Rd
     Elk Grove, CA 95624
     T 916.682.3166    D 916.509.3750

     monica.patel@bankofthewest.com




                  




     From: Roxanne Taylor [mailto:roxanne@hiddenempirefilmgroup.com]
     Sent: Friday, September 20, 2019 3:28 PM
     To: Patel, Monica (Elk Grove) <Monica.Patel@bankofthewest.com>
     Subject: Re: HYPER ENGINE LLC



     I needed it last week. Didn’t know it was suspended

     Roxanne Taylor

     916.257.2475
Case 2:22-cv-06515-MWF-AGR              Document 187-2    Filed 06/10/25   Page 184 of 186
                                         Page ID #:6125



     On Sep 20, 2019, at 3:14 PM, Patel, Monica (Elk Grove)
     <Monica.Patel@bankofthewest.com> wrote:

          Hi Roxanne,



          When do you absolutely need the account opened by? Then I
          can open it close to that time and stay within compliance if it’s
          a few days out.



          Monica Patel
          Vice President, Branch Manager

          NMLS# 570590
          _____________________________
          8426 Elk Grove Florin Rd
          Elk Grove, CA 95624
          T 916.682.3166    D 916.509.3750

          monica.patel@bankofthewest.com




                       




          From: Roxanne Taylor
          [mailto:roxanne@hiddenempirefilmgroup.com]
          Sent: Friday, September 20, 2019 2:52 PM
          To: Patel, Monica (Elk Grove) <Monica.Patel@bankofthewest.com>
          Subject: Re: HYPER ENGINE LLC
Case 2:22-cv-06515-MWF-AGR             Document 187-2    Filed 06/10/25   Page 185 of 186
                                        Page ID #:6126


          Hey Monica



          They said it’s going to take up to 14 days.

          Roxanne Taylor

          916.257.2475




          On Sep 16, 2019, at 1:44 PM, Patel, Monica (Elk Grove)
          <Monica.Patel@bankofthewest.com> wrote:

                Hi Roxanne,



                I looked up the entity on the Secretary of State
                website and it is still showing suspended so I have
                not been able to open this account still. Just
                wanted to update you on where I was with this.



                Monica Patel
                Vice President, Branch Manager

                NMLS# 570590
                _____________________________
                8426 Elk Grove Florin Rd
                Elk Grove, CA 95624
                T 916.682.3166    D 916.509.3750

                monica.patel@bankofthewest.com




                             
Case 2:22-cv-06515-MWF-AGR          Document 187-2       Filed 06/10/25     Page 186 of 186
                                     Page ID #:6127




                   IMPORTANT NOTICE: This message is intended
                   only for the addressee and may contain confidential,
                   privileged information. If you are not the intended
                   recipient, you may not use, copy or disclose any
                   information contained in the message. If you have
                   received this message in error, please notify the
                   sender by reply e-mail and delete the message.



             IMPORTANT NOTICE: This message is intended only for the
             addressee and may contain confidential, privileged information.
             If you are not the intended recipient, you may not use, copy or
             disclose any information contained in the message. If you have
             received this message in error, please notify the sender by reply
             e-mail and delete the message.



       IMPORTANT NOTICE: This message is intended only for the addressee
       and may contain confidential, privileged information. If you are not the
       intended recipient, you may not use, copy or disclose any information
       contained in the message. If you have received this message in error, please
       notify the sender by reply e-mail and delete the message.



 IMPORTANT NOTICE: This message is intended only for the addressee and may
 contain confidential, privileged information. If you are not the intended recipient, you
 may not use, copy or disclose any information contained in the message. If you have
 received this message in error, please notify the sender by reply e-mail and delete the
 message.
